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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                        Case No. 18-cv-21365-CIV-WILLIAMS/TORRES


   ST. LOUIS CONDOMINIUM
   ASSOCIATION, INC.

          Plaintiff,

   vs.

   ROCKHILL INSURANCE COMPANY,

        Defendant.
   _______________________________/

                          DECLARATION OF MICHAEL R. MYERS

          I, MICHAEL R. MYERS, declare under penalty of perjury pursuant to 28 U.S.C.

   §1746 that to the best of my knowledge, the following is true and correct:

          1.       I am a Senior Claim Examiner employed by State Auto Insurance

   Companies. I am over the age of eighteen (18) and sui juris, and competent to give this

   Declaration.

          2.      I understand that this Declaration may be used by Defendant, Rockhill

   Insurance Company ("Rockhill"), in conjunction with pleadings and motions in the above

   lawsuit.

          3.      I have personal knowledge of the information set forth herein based on my

   review of the claim file materials associated with the underlying claim at issue in this

   litigation. I also served as the Senior Claim Examiner for the instant claim from January

   11, 2018 to present.




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         4.        Commercial Policy No. CPW001437-00 (the "Policy") indicates that

   Rockhill issued the Policy to Plaintiff, St. Louis Condominium Association, Inc.

   ("Plaintiff") for the effective period of December 31, 2016 to December 31, 2017. The

   Policy provided coverage, subject to its terms, conditions, exclusions, endorsements

   and limitations, which speak for themselves, relative to the property located at 800

   Claughton Island Drive, Miami, Florida 33131 (the "Insured Property"). The Policy

   provides primary coverage to the Insured Property up to a Twenty Million Dollar

   ($20,000,000.00) limit of liability. A true and correct copy of the Policy is marked as

   Exhibit "1", attached to this Declaration and incorporated by reference.

         5.        Rockhill received first notice of claim from Plaintiff's authorized

   representative, public adjusting firm, Globalpro Recovery, Inc. ("GlobalPro"), on or

   about September 13, 2017. The initial claim documentation which Rockhill received

   included, among other things: (1) the electronic correspondence dated September 13,

   2017 of Executive Administrative Assistant, Farra Beltran, of GlobalPro, to Catalytic

   Risk Managers, stating that, among other things, "the building has sustained damages

   from Hurricane Irma/Flood"; (2) the September 13, 2017 letter of Public Adjuster and

   President of GlobalPro, Daniel Odess, wherein he represented that "as documentation

   becomes available, it will be promptly submitted to you"; and (3) the September 13,

   2018 Primary and Third-Party Claims Representation Contract & Assignment wherein

   the President and Vice President of Plaintiff authorized GlobalPro to pursue its claim in

   exchange for a ten percent (10%) share of any recovery. The Initial Claim

   Documentation is marked as Exhibit "2", attached to this Declaration and incorporated

   by reference.



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          6.       Rockhill promptly began investigating the alleged loss, retained an

   Independent Adjuster, Stephan Pesak, of Engle Martin & Associates who contacted

   GlobalPro to arrange for an inspection of the Insured Property. A Public Adjuster from

   GlobalPro, August Forte, and Plaintiff's Property Manager, Nelly Nickerson guided the

   Independent Adjuster through an inspection of a small portion of damages alleged by

   St. Louis at the Insured Property on September 20, 2017 ("the September 20, 2017

   Inspection").

          7.       During the September 20, 2017 Inspection, Mr. Forte and Ms. Nickerson

   showed the Mr. Pesak:

          (a)      The roof, which was water tight, and sustained no visible damage;

          (b)      Twenty-Two (22) Units at the Insured Property, which sustained
                   minor damage such as water staining; and

          (c)      Minimal exterior damage to the Insured Property apparently caused
                   by flying debris.

          8.       At the conclusion of the September 20, 2017 Inspection, Ms. Nickerson

   and Mr. Forte advised Mr. Pesak that St. Louis would be retaining a building engineer to

   further inspect the property for damage. Mr. Forte agreed to coordinate any future

   inspections with Mr. Pesak who, on Rockhill's behalf, would engage an engineering

   consultant to assist with adjustment of this claim. Mr. Odess had also promised, in his

   September 13, 2017 letter, that GlobalPro would promptly share any report with Rockhill

   that related to the Claim.

          9.       The Insured Property had a total insured value of $31,511,400.00. The

   Policy contains a deductible of 3% of the total insured value or $945,342.00. The

   damages which Plaintiff disclosed to Rockhill on September 20, 2017, were well below



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   the Policy's deductible of $945,342.00. The November 14, 2017 electronic

   correspondence of Mr. Pesak, sent to both Mr. Forte and Mr. Odess, inquiring as

   Plaintiff's intent to pursue the claim, went unanswered. In fact, there was no

   correspondence from GlobalPro to Mr. Pesak from September 13, 2017 to January 4,

   2018.

           10.   By electronic correspondence dated January 4, 2018, Allison Freidin, Esq.

   of GlobalPro provided Mr. Pesak with:

           (a)   the October 27, 2017 Building Restoration Estimate Summary of
                 DLT Building Advisors ("the October 27, 2017 Building Restoration
                 Estimate") which purported to detail an estimate of in excess of
                 Sixteen Million Dollars ($16,000,000.00) in repairs of which nearly
                 Nine Million Dollars ($9,000,000.00) consisted of window glass and
                 glazing replacement, sliding glass doors and related hardware; and

           (b)   the November 21, 2017 Post Hurricane Irma Engineering
                 Evaluation of Engineering, Architecture & Energy Consultants, The
                 Falcon Group, ("the November 21, 2017 Falcon Report") which
                 stated, among other things, that the glass windows and doors of
                 Insured Property had been racked, requiring replacement and
                 which identified forty (40) units at St. Louis that had sustained
                 damages.

   The January 4, 2018 electronic correspondence of Ms. Freiden, the October 27, 2017

   Building Restoration Estimate, and the November 21, 2017 Falcon Report are marked

   as Exhibit "3", Exhibit "4" and Exhibit "5", respectively, attached to this Declaration

   and incorporated by reference. In the January 4, 2018 electronic correspondence, Ms.

   Freidin stated: "Please advise when the insured can expect to receive payment as it has

   been over 90 days since the date of loss."

           11.   The overwhelming majority of the alleged damages identified by the

   Plaintiff in the documents which GlobalPro provided on January 4, 2018 were not

   previously shared with Rockhill.   GlobalPro initially only provided Rockhill with until

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   January 31, 2018 to complete any requested inspections. This was unreasonable for

   two reasons. First, Plaintiff had only provided Rockhill with its claimed damages on

   January 4, 2018. Second, given the magnitude of the damages sought, Rockhill

   required the time to retain reputable building and engineering consultants to inspect the

   Insured Property. The logistics of this claim were difficult because construction-related

   professionals were busy after Hurricane Irma and the schedules of multiple individuals

   needed to be coordinated.

         12.    Rockhill's consultants, including structural engineer, Bert Davis, and

   general contractor, Paul Millard, partially inspected the Insured Property on January 31,

   2018. However, two additional days would ultimately be required in order for them to

   complete their inspection.

         13.    By letter dated February 13, 2018, Mr. Odess provided Mr. Pesak with an

   unsolicited February 7, 2018 Sworn Statement in Proof of Loss ("February 7, 2018

   SSIPOL") claiming damages of $16,113,648.88 which recognized a deductible of

   $945,342.00, for a total amount claimed of $15,168,306.88. The February 7, 2018

   SSIPOL is marked as Exhibit "6", attached to this Declaration and incorporated by

   reference. With the February 7, 2018 SSIPOL, Globalpro also provided Rockhill with

   over $75,000.00 in repair bills dating back to September of 2017.

         14.    By letter to Daniel Odess of Globalpro dated February 20, 2018 (the

   "February 20, 2018 Reservation of Rights Letter"), I notified Plaintiff that Rockhill was

   reserving its rights under the language of the Policy which appeared potentially

   applicable given the available information. Rockhill also requested cooperation in order

   to complete its investigation. Rockhill asked for access to several Units at the Insured



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   Property for further inspection, scheduled for February 28, 2018 and March 1, 2018.

   Finally, Rockhill requested production of specific documents required by its consultants

   in order to guide Rockhill. The February 20, 2018 Reservation of Rights Letter is

   marked as Exhibit "7", attached hereto and incorporated by reference.

          15.     Plaintiff, through GlobalPro, provided some of the information which I

   requested in the February 20, 2018 Reservation of Rights Letter but other

   documentation specifically requested, but not provided, included: (a) all records

   pertaining to prior maintenance and repair of the aluminum window and sliding glass

   door units; (b) copies of all meeting minutes for the Association for the last 5 years,

   dating back to 2013; and (c) the date and name of the painting contractor who last

   painted the building exterior. See Exhibit "7". The minutes of meetings of Plaintiff's

   Board of Directors should have contained probative information concerning the

   condition of the Insured Property, prior maintenance projects and any large-scale

   painting projects that Plaintiff conducted in the past 5 years.           Plaintiff ultimately

   produced only a fraction of the meeting minutes to Rockhill on December 10, 2018 -

   after over 8 months of litigation and after the fact witness discovery cut off.

          16.    Rockhill's consultants, accompanied by, among others, Philip Ambrose,

   Rockhill's Independent Adjuster from Engle Martin & Associates, who is local to Florida

   and available for inspection of February 28, 2018, continued their inspection on

   February 28, 2018 and March 1, 2018.

          17.    Based upon the three (3) day inspection of the Insured Property on

   January 31, 2018, February 28, 2018 and March 1, 2018, Rockhill determined that

   further inspection of the Insured Property by a façade consultant who specializes in



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   sliding glass doors and windows, which comprised up to $9,000,000.00 of Plaintiff's

   alleged damages of over $16,000,000.00, was required.

          18.    Plaintiff filed suit with the Miami-Dade County Circuit Court on March 5,

   2018 before Rockhill had completed its investigation or made a coverage decision.

   Thereafter, Plaintiff refused Rockhill's March 9, 2018 request to permit further inspection

   of the Insured Property. Plaintiff served Rockhill with process on March 20, 2018.

          19.     Plaintiff's failure to permit Rockhill to have the property inspected by a

   façade expert specializing in Sliding Glass Doors and Windows materially prejudiced its

   investigation. Rockhill was unable to complete its investigation as to the Plaintiff's claim

   that its glass windows, sliding glass doors and related hardware required replacement in

   the amount of nearly $9,000,000.00. Plaintiff also failed to provide Rockhill with

   documents which Rockhill specifically requested in writing in the February 20, 2018

   Reservation of Rights Letter including: (a) the minutes of the meetings of Plaintiff's

   Board of Directors; (b) the identity and date of the painting contractor who last painted

   the Insured Property; and (c) records of prior maintenance and repair of the aluminum

   and sliding glass door units. Therefore, Plaintiff filed suit before complying with all of the

   provisions of the Policy.

          20.    Finally, by letter dated December 21, 2018, Rockhill notified Plaintiff that it

   was not eligible for the damages it sought under the Policy. The December 21, 2018

   Denial Letter is marked as Exhibit "8", attached to this Declaration and incorporated by

   reference. Rockhill had determined, after careful consideration of the information it had

   obtained to date, that there was no coverage for the claim. Rockhill also denied the

   claim based upon Plaintiff's failure to comply with the Policy's Duties of the Named



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                            EXHIBIT "1"
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                                 Commercial
                                Property Policy

       Prepared exclusively for: St. Louis Condominium Association, Inc.
                        Contract Number: CTW000685




          CHICAGO                            LOS ANGELES                      SAN DIEGO
 1560 Sherman Ave., Ste. 1350        2381 Rosecrans Ave., Ste. 330     350 10th Avenue Ste. 1450
   Evanston, IL 60201-4899            El Segundo, CA 90245-4917          San Diego, CA 92101
    00+1 (847) 864-9999                  00+1 (424) 236-4300             00+1 (619) 659-7166
   CA License No. 0I67798               CA License No. 0I67798           License No. 0I67798
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                                                      DECLARATIONS PAGE
                                                                                        Contract Number:    CTW000685
1.       Name and Address of the Assured:
         St. Louis Condominium Association, Inc..
         800 Claughton Island Drive
         Miami, FL 33131

2.       Effective from:     12/31/2016         to:       12/31/2017
         Effective from 12:01 a.m. Standard Time at the Mailing Address of the Insured
3.       Insurance is effective with certain insurer(s) outlined in the Participation Schedule on CAT7101, Participation Page.


4.   Amount:                  Per Participation Page                         Rate: Agreed          Property Premium:           $75,000.00
     Part of                  Per Participation Page                                               TRIA Premium:                 Rejected
     Excess of:               Per Participation Page                                               Equipment Breakdown:                N/A
                                                                                                   State tax:     (Producer Responsibility)
                                                                                                   Stamping fee: (Producer Responsibility)
     Amount is excess of deductibles(s) and is per occurrence and annual aggregate as applicable   Catastrophe Fee:                  $0.00
     Total Insured Value:     $31,511,400                                                          Inspection Fee:                   $0.00
     Perils:                  Windstorm Or Hail Causes of Loss Excluding Flood and Earth
                              Movement
     Coinsurance:             NIL                                                             Total:                           $75,000.00
     Coverage:                Building(s), Business Personal Property, Ordinance or Law, Schedule of Sublimits


5.       Forms attached hereto and special conditions: See schedule of forms attached
         Situate: As per Schedule of Values on file with Insurer(s)
         Valuation: Replacement Cost
         Primary deductible(s) or Underlying Limits:
         See CAT7068 for Hurricane or Hail Deductible.


6.       Service of Suit may be made upon: As per forms attached

7.       In the event of a claim, please notify the following:         Catalytic Risk Managers
                                                                       Attn: Claims Department
                                                                       350 10th Avenue, Suite 1450
                                                                       San Diego, CA 92101

                                                                       claims@catalyticrisk.com – email notification
                                                                       (800) 208-1806 – phone notification
                                                                       Website: http://www.catalyticrisk.com/Claims/Home




                                                                                                                          CAT7000 (01/16)
                                                                                                                          NMA2868 SLC-3
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                                                                                                 IL P 001 01 04

   U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
               ASSETS CONTROL ("OFAC")
          ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
    Foreign agents;
    Front organizations;
    Terrorists;
    Terrorist organizations; and
    Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
Treasury's web site – http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




IL P 001 01 04                            © ISO Properties, Inc., 2004                              Page 1 of 1
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                                                     PARTICIPATION PAGE

 In consideration of the premium charged, the subscribers hereto, hereinafter referred to as the Underwriter(s) and/or
 Company(ies), do severally, but not jointly, agree to indemnify the Insured for the amount recoverable in accordance with
 the terms and conditions of the Policy.
 Provided that:
 1. The collective liability of Insurers shall not exceed the Limit of Liability or any appropriate Sublimit of Liability or any
    Annual Aggregate limit.
 2. The liability of each of the Insurers shall not exceed the Participation Limit set against its name with the exception of
    loss adjustment expense which cost shall be 100% assumed by the Insurers on each applicable layer of insurance.


 Contract Number: CTW000685


 Insured:          St. Louis Condominium Association, Inc.


 Policy Period: 12/31/2016 to 12/31/2017
 Nothing herein contained shall be held to vary, alter, waive or change any of the terms, limits or conditions of the policy
 except as herein above set forth.

                         Agreement /                           Participation                                            TRIA
    Insurer                                                                                            Premium
                          Policy #               (excess of deductibles per primary layer)                            Coverage
                                                     Limit             Part of          Excess of

   Rockhill
  Insurance            CPW001437-00             $20,000,000         $20,000,000           $0          $49,500.00       Rejected
Company (A- XII)


Underwriters at
Lloyd's, London      #B0429BA1603149/            $7,000,000         $11,511,400      $20,000,000      $15,506.00       Rejected
    (A XV)              LWH000557



Underwriters at
Lloyd's, London      #B0429BA1503201/            $2,653,765         $11,511,400      $20,000,000       $5,879.00       Rejected
    (A XV)              LWH000557


Underwriters at
Lloyd's, London       #B0429BA1501148/           $1,857,635         $11,511,400      $20,000,000       $4,115.00       Rejected
    (A XV)              LWH000557


                                                                                           Total
                               Total Limit:     $31,511,400                                           $75,000.00
                                                                                       Premium:




                                                                                                               CAT7101 (01/16)
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            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  ROCKHILL AMENDATORY ENDORSEMENT


It is hereby agreed and understood that the following carrier-specific policy language applies to this policy:


1. Notices
    a. Except as otherwise indicated in this policy, all notices to the Company required by this policy from any
       insured shall be given in writing, delivered, by prepaid express courier, or by certified mail to:
                                          Catalytic Risk Managers
                                          350 10th Avenue, Suite 1450
                                          San Diego, CA 92101

    b. If we must give to you any notice under this policy, and the time period or method of delivery provided for
       such notice is established by controlling law as a different period or method of delivery than that set forth in
       this policy, then the period or method of delivery set forth in this policy shall be deemed to be amended so as
       to be equal to the minimum period of limitation or method of delivery established by the controlling law.

2. Claims Reporting
    Except as otherwise indicated in this policy, all notices to the Company required by this policy from any insured
    shall be given in writing, delivered, by prepaid express courier, or by certified mail to:
                                          Catalytic Risk Managers
                                          Attention: Property Claims
                                          350 10th Avenue, Suite 1450
                                          San Diego, CA 92101

                                          claims@catalyticrisk.com - email notification
                                          (800) 208-1806 – phone notification
                                          Website: http://www.catalyticrisk.com/Claims/Home


3. Notice of Service of Suit
    In the event you feel that we have failed to pay a claim according to the terms of the policy, you may start “suit”
    against us. We will obey the order of any Court of competent jurisdiction within the United States and will comply
    with all requirements necessary to give the Court jurisdiction, and all such matters shall be determined according
    to the law and practice of the Court.

    In any “suit” brought against us concerning your policy, we will abide by the final decision of the Court, including
    any appellate Court in the event of the appeal.

    Service of Suit may be made upon the General Counsel of Rockhill Insurance Company, 700 W. 47th Street, Suite
    350, Kansas City, MO 64112. He is authorized and directed to accept Service of Suit on our behalf and/or
    provide written notice that we will appear in Court, if “suit” is instituted.

    If required by your state statutes, we hereby designate the Commissioner of Insurance, or any other officer
    specified by the statute, or his successors in office, as our true and lawful attorney for Service of Suit instituted by
    you, or on your behalf or on behalf of your beneficiary, in regard to your policy, and designated that such process
    should be mailed to the General Counsel of Rockhill Insurance Company at our address shown above.



CATAMEND-RW (01/16)                    Includes Copyrighted Material of Insurance Services Office, Inc     Page 1 of 1
                                                   with its permission
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


            UNDERWRITERS AT LLOYD’S AMENDATORY ENDORSEMENT

It is hereby agreed and understood that the following carrier-specific policy language applies to this policy:

1. Notices
    a. Except as otherwise indicated in this policy, all notices to the Company required by this policy from any
       insured shall be given in writing, delivered, by prepaid express courier, or by certified mail to:

                                          Catalytic Risk Managers
                                          350 10th Avenue, Suite 1450
                                          San Diego, CA 92101

    b. If we must give to you any notice under this policy, and the time period or method of delivery provided for
       such notice is established by controlling law as a different period or method of delivery than that set forth in
       this policy, then the period or method of delivery set forth in this policy shall be deemed to be amended so as
       to be equal to the minimum period of limitation or method of delivery established by the controlling law.
2. Claims Reporting
    Except as otherwise indicated in this policy, all notices to the Company required by this policy from any insured
    shall be given in writing, delivered, by prepaid express courier, or by certified mail to:
                                          Catalytic Risk Managers
                                          350 10th Avenue, Suite 1450
                                          San Diego, CA 92101
                                          Office: (800) 208-1806
                                          Claims@catalyticrisk.com

3. Notice of Service of Suit

This Service of Suit Clause will not be read to conflict with or override the obligations of the parties to arbitrate their
disputes as provided for in any Arbitration provision within this Policy. This Clause is intended as an aid to compelling
arbitration or enforcing such arbitration or arbitral award, not as an alternative to such Arbitration provision for
resolving disputes arising out of this contract of insurance (or reinsurance).

It is agreed that in the event of the failure of the underwriters hereon to pay any amount claimed to be due hereunder,
the underwriters hereon, at the request of the insured, will submit to the jurisdiction of a court of competent jurisdiction
within the United States. Nothing in this clause constitutes or should be understood to constitute a waiver of
underwriters’ rights to commence an action in any court of competent jurisdiction in the United States, to remove an
action to a United States district court, or to seek a transfer of a case to another court as permitted by the laws of the
United States or of any state in the United States. It is further agreed that service of process in such suit may be
made upon Mendes & Mount, 750 Seventh Avenue, New York, NY 10019-6829 U.S.A., and that in any suit instituted
against any one of them upon this contract. Underwriters will abide by the final decision of such court or of any
appellate court in the event of an appeal.

The above-named are authorized and directed to accept service of process on behalf of underwriters in any such suit
and/or upon the request of the insured to give a written undertaking to the insured that they will enter a general
appearance upon underwriters’ behalf in the event such a suit shall be instituted.




CATAMEND-LW (01/16)                                                                                   Page 1 of 2
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Further, pursuant to any statute of any state, territory, or district of the United States which makes provision therefore,
underwriters hereon hereby designate the superintendent, commissioner or director of insurance or other officer
specified for that purpose in the statute, or his successor or successors in office, as their true and lawful attorney
upon whom may be served any lawful procession any action, suit or proceeding instituted by or on behalf of the
insured or any beneficiary hereunder arising out of this contract of insurance, and hereby designate the above-named
as the person to whom the said officer is authorized to mail such process or a true copy thereof.

In respect of California Business:
Service of Suit Clause (USA) naming FLWA Service Corp.
FLWA Service Corp,
c/o Foley & Lardner LLP.
555 California Street, Suite 1700
San Francisco, CA 94104-1520

4. Several Liability Notice

The subscribing underwriters’ obligations under contracts of insurance to which they subscribe are several and not
joint and are limited solely to the extent of their individual subscriptions. The subscribing underwriters are not
responsible for the subscription of any co- subscribing underwriter who for any reason does not satisfy all or part of its
obligations.

5. Applicable Law

This insurance shall be subject to the applicable state law to be determined by the court of competent jurisdiction as
determined by the provisions of the service of suite clause (U.S.A.)




CATAMEND-LW (01/16)                                                                                   Page 2 of 2
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                                               SCHEDULE OF FORMS



 In consideration of the premium charged, it is hereby understood and agreed that the following forms and
 endorsements are attached and made a part of this policy:

 CAT7000 - Declarations Page
 IL P 001 - US Treasury Notice OFAC
 CAT7101 - Participation Page
 CATAMEND-RW - Rockhill Amendatory Endorsement
 CATAMEND-LW - Lloyds Amendatory Endorsement
 CAT7107 - Schedule of Forms
 CAT7068 - Hurricane or Hail Deductible
 CAT7073 - Calendar Year Hurricane Deductible
 CP 00 17 - Condominium Association Coverage Form
 CAT7007 - Causes of Loss Windstorm or Hail Only
 CAT7074 - Accounts Receivable Coverage Form
 CAT7031 - Additional Conditions
 CAT7061 - Amendment of Cancellation Provisions
 CAT7005 - Asbestos Material Endorsement
 CAT7010 - Coinsurance
 CAT7011 - Common Policy Conditions
 CAT7106 - Cyber Risk Exclusion
 CAT7034 - Earth Movement Exclusion
 CAT7015 - EIFS or Dryvit Exclusion
 CAT7103 - Electronic Data Endorsement B
 CAT7014 - Electronic Date Recognition Exclusion
 CAT7043 - Equipment Breakdown Exclusion
 IL 09 35 - Exclusion of Certain Computer Related Losses
 IL 09 53 - Exclusion of Certified Acts of Terrorism
 CP 01 40 - Exclusion of Loss Due to Virus or Bacteria
 CAT7035 - Flood Exclusion
 CP 01 91 - Florida Changes-Residential Condominium Associations
 CAT7070 - Limited Fungi, Wet or Dry Rot, or Bacteria Coverage
 CAT7016 - Minimum Earned Premium
 CP 81 33 - Nuclear Biological Chemical and Radiological Hazards Exclusion
 CAT7019 - Occurrence Limit of Liability
 CAT7052 - Ordinance or Law Coverage
 CAT7021 - Permission for Excess
 CAT7022 - Pre-Existing Damage Exclusion
 CAT7102 - Seepage Pollution and Contamination Exclusion
 CAT7095 - Sublimits Endorsement - Condominium Associations
 CAT7053 - Toxic Drywall Exclusion
 CAT7032 - Toxic Materials

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                                             SCHEDULE OF FORMS



 In consideration of the premium charged, it is hereby understood and agreed that the following forms and
 endorsements are attached and made a part of this policy:

 CAT7075 - Valuable Papers Coverage
 CAT7104 - War and Civil War Exclusion Clause




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  HURRICANE OR HAIL DEDUCTIBLE




      Hurricane Deductible Amount: 3% of Total Insured Values per building, per Calendar Year,
      subject to a minimum $25,000 per occurrence.

      All Other Windstorm/Hail Deductible Amount: $25,000 per occurrence.
      or N/A% of Total Insured Values N/A, subject to a minimum $N/A per occurrence.


      The Hurricane Deductible, as shown above, applies to direct physical damage or loss to covered
      property by a Hurricane, regardless of any other cause or event that contributes concurrently or in
      any consequence to the damage or loss.

      The All Other Windstorm/Hail Deductible, as shown above, applies to direct physical damage or
      loss to covered property by non-hurricane windstorm or hail, regardless of any other cause or
      event that contributes concurrently or in any consequence to the damage or loss.


      Deductible Clause:

      A deductible amount is calculated and applied based on the amount or percentage as shown
      above

          A. If the deductible is on a per building basis, the deductible is applied to the sum of
             building, personal property and business income value of that building.

          B. If the deductible is on a per location basis, the deductible is applied to all insured
             buildings, personal contents and business incomes at the location affected by loss or
             damage.

          C. If the deductible is on a TIV basis, the deductible is applied to the Total Insured Values,
             as contained in the Statement of Values on file with the Company.

      In any one occurrence of loss or damage (hereinafter referred to as loss), we will first reduce the
      amount of loss if required by the Coinsurance Condition or the Agreed Value Optional Coverage.
      If the adjusted amount of loss is less than or equal to the Deductible, we will not pay for that loss.
      If the adjusted amount of loss exceeds the Deductible, we will then subtract the Deductible from
      the adjusted amount of loss, and will pay the resulting amount or the Limit of Insurance,
      whichever is less.


      “Hurricane: A storm system that has been declared to be a hurricane by the National Hurricane
      Center of the National Weather Service (hereafter referred to as NHC). The Hurricane occurrence
      begins at the time a hurricane watch or hurricane warning is issued by the NHC, and ends 72
      hours after the termination of the last hurricane watch or hurricane warning issued for by the
      NHC.”



      All other terms and conditions of this policy remain unchanged.


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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        CALENDAR YEAR HURRICANE OR HAIL DEDUCTIBLE




   The Hurricane Deductible, as described in Hurricane or Hail Deductible form CAT7068, will apply anew in
   each calendar year. If the policy period does not coincide with the calendar year, then a separate
   Hurricane Deductible will apply to loss or damage that occurs during each calendar year in which the
   policy is in force. For example, if the policy period is from July 1 of calendar year 1 to June 30 of calendar
   year 2, a separate Hurricane Deductible applies to loss or damage occurring from July 1 to December 31
   of calendar year 1 and to loss or damage occurring from January 1 to June 30 of calendar year 2.

   When a Hurricane results in loss or damage that exhausts the Hurricane Deductible, then that Hurricane
   Deductible will not apply to loss or damage from a subsequent Hurricane in the same calendar year. In
   such case, the Deductible that applies to loss or damage from each subsequent Hurricane in that
   calendar year shall be the “All Other Windstorm/Hail” Deductible.

   When a Hurricane results in loss or damage that does not exhaust the Hurricane Deductible, then the
   Hurricane Deductible applicable to a subsequent Hurricane Windstorm in the same calendar year shall be
   the greater of:

           a) the All Other Windstorm/Hail Deductible; or
           b) the remaining amount of the Hurricane Deductible In this situation, the remaining amount of the
               Hurricane Deductible is determined by subtracting the amount(s) of the forementioned loss or
               damage from the Hurricane Deductible.




   All other terms and conditions remain unchanged.




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                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 00 17 10 12

        CONDOMINIUM ASSOCIATION COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.

A. Coverage                                                               (b) Materials, equipment, supplies, and
   We will pay for direct physical loss of or damage to                       temporary structures, on or within
   Covered Property at the premises described in the                          100 feet of the described premises,
   Declarations caused by or resulting from any                               used      for    making     additions,
   Covered Cause of Loss.                                                     alterations or repairs to the building
                                                                              or structure; and
   1. Covered Property
                                                                      (6) Any of the following types of property
      Covered Property, as used in this Coverage                          contained within a unit, regardless of
      Part, means the type of property described in                       ownership,     if   your    Condominium
      this section, A.1., and limited in A.2. Property                    Association Agreement requires you to
      Not Covered, if a Limit Of Insurance is shown                       insure it:
      in the Declarations for that type of property.
                                                                         (a) Fixtures,      improvements      and
      a. Building, meaning the building or structure                         alterations that are a part of the
          described in the Declarations, including:                          building or structure; and
         (1) Completed additions;                                         (b) Appliances, such as those used for
         (2) Fixtures, outside of individual units,                           refrigerating, ventilating, cooking,
             including outdoor fixtures;                                      dishwashing, laundering, security or
                                                                              housekeeping.
         (3) Permanently installed:
            (a) Machinery; and                                         But Building does not include personal
                                                                       property owned by, used by or in the care,
            (b) Equipment;                                             custody or control of a unit-owner except for
         (4) Personal property owned by you that is                    personal property listed in Paragraph
             used to maintain or service the building                  A.1.a.(6) above.
             or structure or its premises, including:               b. Your Business Personal Property located
             (a)   Fire-extinguishing equipment;                       in or on the building or structure described
                                                                       in the Declarations or in the open (or in a
             (b)   Outdoor furniture;                                  vehicle) within 100 feet of the described
             (c)   Floor coverings; and                                premises, consisting of the following:
             (d)   Appliances used for refrigerating,                 (1) Personal property owned by you or
                   ventilating, cooking, dishwashing or                    owned indivisibly by all unit-owners;
                   laundering that are not contained
                                                                      (2) Your interest in the labor, materials or
                   within individual units;
                                                                          services furnished or arranged by you
         (5) If not covered by other insurance:                           on personal property of others; and
            (a) Additions      under       construction,              (3) Leased personal property for which you
                 alterations and repairs to the building                  have a contractual responsibility to
                 or structure;                                            insure, unless otherwise provided for
                                                                          under Personal Property Of Others.




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         But Your Business Personal Property does                n. Electronic data, except as provided under
         not include personal property owned only                   the Additional Coverage, Electronic Data.
         by a unit-owner.                                           Electronic data means information, facts or
      c. Personal Property Of Others that is:                       computer programs stored as or on,
                                                                    created or used on, or transmitted to or
        (1) In your care, custody or control; and                   from computer software (including systems
        (2) Located in or on the building or structure              and applications software), on hard or
            described in the Declarations or in the                 floppy disks, CD-ROMs, tapes, drives, cells,
            open (or in a vehicle) within 100 feet of               data processing devices or any other
            the described premises.                                 repositories of computer software which are
         However, our payment for loss of or                        used      with     electronically    controlled
         damage to personal property of others will                 equipment. The term computer programs,
                                                                    referred to in the foregoing description of
         only be for the account of the owner of the
         property.                                                  electronic data, means a set of related
                                                                    electronic instructions which direct the
   2. Property Not Covered                                          operations and functions of a computer or
      Covered Property does not include:                            device connected to it, which enable the
                                                                    computer or device to receive, process,
      a. Accounts, bills, currency, food stamps or                  store, retrieve or send data. This
         other evidences of debt, money, notes or
                                                                    paragraph, n., does not apply to electronic
         securities. Lottery tickets held for sale are              data which is integrated in and operates or
         not securities;                                            controls the building's elevator, lighting,
      b. Animals, unless owned by others and                        heating, ventilation, air conditioning or
         boarded by you;                                            security system;
      c. Automobiles held for sale;                              o. The cost to replace or restore the
      d. Bridges, roadways, walks, patios or other                  information on valuable papers and
         paved surfaces;                                            records, including those which exist as
                                                                    electronic data. Valuable papers and
      e. Contraband, or property in the course of                   records include but are not limited to
         illegal transportation or trade;                           proprietary information, books of account,
      f. The cost of excavations, grading, backfilling              deeds, manuscripts, abstracts, drawings
         or filling;                                                and card index systems. Refer to the
      g. Foundations of buildings, structures,                      Coverage Extension for Valuable Papers
         machinery or boilers if their foundations are              And Records (Other Than Electronic Data)
         below:                                                     for limited coverage for valuable papers and
                                                                    records other than those which exist as
        (1) The lowest basement floor; or                           electronic data;
        (2) The surface of the ground if there is no             p. Vehicles     or    self-propelled     machines
            basement;                                               (including aircraft or watercraft) that:
      h. Land (including land on which the property                 (1) Are licensed for use on public roads; or
         is located), water, growing crops or lawns
         (other than lawns which are part of a                      (2) Are operated principally away from the
         vegetated roof);                                               described premises.
      i. Personal property while airborne or                         This paragraph does not apply to:
         waterborne;                                                   (a) Vehicles or self-propelled machines
      j. Bulkheads, pilings, piers, wharves or docks;                      or autos you manufacture or
                                                                           warehouse;
      k. Property that is covered under this or any
         other policy in which it is more specifically                 (b) Vehicles or self-propelled machines,
         described, except for the excess of the                           other than autos, you hold for sale;
         amount due (whether you can collect on it                     (c) Rowboats or canoes out of water at
         or not) from that other insurance;                                the described premises; or
      l. Retaining walls that are not part of a                        (d) Trailers, but only to the extent
         building;                                                         provided for in the Coverage
     m. Underground pipes, flues or drains;                                Extension for Non-owned Detached
                                                                           Trailers; or




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      q. The following property while outside of                     (3) Subject to the exceptions in Paragraph
          buildings:                                                     (4), the following provisions apply:
         (1) Grain, hay, straw or other crops; or                       (a) The most we will pay for the total of
         (2) Fences, radio or television antennas                            direct physical loss or damage plus
              (including satellite dishes) and their                         debris removal expense is the Limit
              lead-in wiring, masts or towers, trees,                        of Insurance applicable to the
              shrubs or plants (other than trees,                            Covered Property that has sustained
              shrubs or plants which are "stock" or are                      loss or damage.
              part of a vegetated roof), all except as                  (b) Subject to (a) above, the amount we
              provided in the Coverage Extensions.                           will pay for debris removal expense
   3. Covered Causes Of Loss                                                 is limited to 25% of the sum of the
                                                                             deductible plus the amount that we
      See applicable Causes Of Loss form as shown                            pay for direct physical loss or
      in the Declarations.                                                   damage to the Covered Property that
   4. Additional Coverages                                                   has sustained loss or damage.
      a. Debris Removal                                                      However, if no Covered Property has
                                                                             sustained direct physical loss or
         (1) Subject to Paragraphs (2), (3) and (4),                         damage, the most we will pay for
              we will pay your expense to remove                             removal of debris of other property (if
              debris of Covered Property and other                           such removal is covered under this
              debris that is on the described premises,                      Additional Coverage) is $5,000 at
              when such debris is caused by or                               each location.
              results from a Covered Cause of Loss
              that occurs during the policy period. The              (4) We will pay up to an additional $25,000
              expenses will be paid only if they are                     for debris removal expense, for each
                                                                         location, in any one occurrence of
              reported to us in writing within 180 days
              of the date of direct physical loss or                     physical loss or damage to Covered
              damage.                                                    Property, if one or both of the following
                                                                         circumstances apply:
         (2) Debris Removal does not apply to costs
             to:                                                        (a) The total of the actual debris removal
                                                                            expense plus the amount we pay for
            (a) Remove debris of property of yours                          direct physical loss or damage
                 that is not insured under this policy,                     exceeds the Limit of Insurance on
                 or property in your possession that is                     the Covered Property that has
                 not Covered Property;                                      sustained loss or damage.
            (b) Remove any property that is                             (b) The actual debris removal expense
                 Property Not Covered, including                            exceeds 25% of the sum of the
                 property addressed under the                               deductible plus the amount that we
                 Outdoor       Property     Coverage                        pay for direct physical loss or
                 Extension;                                                 damage to the Covered Property that
            (c) Remove property of others of a type                         has sustained loss or damage.
                 that would not be Covered Property                      Therefore, if (4)(a) and/or (4)(b) applies,
                 under this Coverage Form;                               our total payment for direct physical loss
            (d) Remove deposits of mud or earth                          or damage and debris removal expense
                 from the grounds of the described                       may reach but will never exceed the
                 premises;                                               Limit of Insurance on the Covered
                                                                         Property that has sustained loss or
            (e) Extract "pollutants" from land or                        damage, plus $25,000.
                 water; or
                                                                     (5) Examples
             (f) Remove, restore or replace polluted
                 land or water.                                          The following examples assume that
                                                                         there is no Coinsurance penalty.




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Example 1                                                       b. Preservation Of Property
Limit of Insurance:                         $ 90,000               If it is necessary for you to move Covered
                                                                   Property from the described premises to
Amount of Deductible:                       $     500              preserve it from loss or damage by a
Amount of Loss:                             $ 50,000               Covered Cause of Loss, we will pay for any
Amount of Loss Payable:                     $ 49,500               direct physical loss or damage to that
                                                                   property:
                                    ($50,000 – $500)
Debris Removal Expense:                     $ 10,000              (1) While it is being moved or while
                                                                        temporarily stored at another location;
Debris Removal Expense Payable:             $ 10,000                    and
($10,000 is 20% of $50,000.)                                      (2) Only if the loss or damage occurs within
The debris removal expense is less than 25% of the                      30 days after the property is first moved.
sum of the loss payable plus the deductible. The sum            c. Fire Department Service Charge
of the loss payable and the debris removal expense
($49,500 + $10,000 = $59,500) is less than the Limit               When the fire department is called to save
of Insurance. Therefore, the full amount of debris                 or protect Covered Property from a
removal expense is payable in accordance with the                  Covered Cause of Loss, we will pay up to
terms of Paragraph (3).                                            $1,000 for service at each premises
                                                                   described in the Declarations unless a
Example 2                                                          higher limit is shown in the Declarations.
Limit of Insurance:                       $ 90,000                 Such limit is the most we will pay
                                                                   regardless of the number of responding fire
Amount of Deductible:                     $      500               departments or fire units, and regardless of
Amount of Loss:                           $ 80,000                 the number or type of services performed.
Amount of Loss Payable:                   $ 79,500                 This Additional Coverage applies to your
                                    ($80,000 – $500)               liability for fire department service charges:
Debris Removal Expense:                   $ 40,000                (1) Assumed by contract or agreement prior
Debris Removal Expense Payable                                        to loss; or
                      Basic Amount:        $ 10,500               (2) Required by local ordinance.
                      Additional Amount: $ 25,000                  No Deductible applies to this Additional
                                                                   Coverage.
The basic amount payable for debris removal
expense under the terms of Paragraph (3) is                     d. Pollutant Clean-up And Removal
calculated as follows: $80,000 ($79,500 + $500) x .25              We will pay your expense to extract
= $20,000, capped at $10,500. The cap applies                      "pollutants" from land or water at the
because the sum of the loss payable ($79,500) and                  described premises if the discharge,
the basic amount payable for debris removal expense                dispersal, seepage, migration, release or
($10,500) cannot exceed the Limit of Insurance                     escape of the "pollutants" is caused by or
($90,000).                                                         results from a Covered Cause of Loss that
The additional amount payable for debris removal                   occurs during the policy period. The
expense is provided in accordance with the terms of                expenses will be paid only if they are
Paragraph (4), because the debris removal expense                  reported to us in writing within 180 days of
($40,000) exceeds 25% of the loss payable plus the                 the date on which the Covered Cause of
deductible ($40,000 = 50% of $80,000), and because                 Loss occurs.
the sum of the loss payable and debris removal                     This Additional Coverage does not apply to
expense ($79,500 + $40,000 = $119,500) would                       costs to test for, monitor or assess the
exceed the Limit of Insurance ($90,000). The                       existence, concentration or effects of
additional amount of covered debris removal expense                "pollutants". But we will pay for testing
is $25,000, the maximum payable under Paragraph                    which is performed in the course of
(4). Thus, the total payable for debris removal                    extracting the "pollutants" from the land or
expense in this example is $35,500; $4,500 of the                  water.
debris removal expense is not covered.




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         The most we will pay under this Additional                 (6) The most we will pay under this
         Coverage for each described premises is                        Additional Coverage, for each described
         $10,000 for the sum of all covered                             building insured under this Coverage
         expenses arising out of Covered Causes of                      Form, is $10,000 or 5% of the Limit of
         Loss occurring during each separate 12-                        Insurance applicable to that building,
         month period of this policy.                                   whichever is less. If a damaged building
      e. Increased Cost Of Construction                                 is covered under a blanket Limit of
                                                                        Insurance which applies to more than
        (1) This Additional Coverage applies only to                    one building or item of property, then the
            buildings to which the Replacement                          most we will pay under this Additional
            Cost Optional Coverage applies.                             Coverage, for that damaged building, is
        (2) In the event of damage by a Covered                         the lesser of $10,000 or 5% times the
            Cause of Loss to a building that is                         value of the damaged building as of the
            Covered Property, we will pay the                           time of loss times the applicable
            increased costs incurred to comply with                     Coinsurance percentage.
            the minimum standards of an ordinance                       The amount payable under this
            or law in the course of repair, rebuilding                  Additional Coverage is additional
            or replacement of damaged parts of that                     insurance.
            property, subject to the limitations stated
            in e.(3) through e.(9) of this Additional               (7) With respect to this Additional
            Coverage.                                                   Coverage:
        (3) The ordinance or law referred to in e.(2)                  (a) We will not pay for the Increased
            of this Additional Coverage is an                               Cost of Construction:
            ordinance or law that regulates the                             (i) Until the property is actually
            construction or repair of buildings or                              repaired or replaced, at the same
            establishes zoning or land use                                      or another premises; and
            requirements at the described premises                         (ii) Unless the repair or replacement
            and is in force at the time of loss.                                is made as soon as reasonably
        (4) Under this Additional Coverage, we will                             possible after the loss or
            not pay any costs due to an ordinance                               damage, not to exceed two
            or law that:                                                        years. We may extend this period
           (a) You were required to comply with                                 in writing during the two years.
               before the loss, even when the                          (b) If the building is repaired or replaced
               building was undamaged; and                                  at the same premises, or if you elect
           (b) You failed to comply with.                                   to rebuild at another premises, the
                                                                            most we will pay for the Increased
        (5) Under this Additional Coverage, we will                         Cost of Construction, subject to the
            not pay for:                                                    provisions of e.(6) of this Additional
            (a) The enforcement of or compliance                            Coverage, is the increased cost of
                with any ordinance or law which                             construction at the same premises.
                requires        demolition,     repair,                (c) If the ordinance or law requires
                replacement,            reconstruction,                     relocation to another premises, the
                remodeling      or    remediation    of                     most we will pay for the Increased
                property due to contamination by                            Cost of Construction, subject to the
                "pollutants" or due to the presence,                        provisions of e.(6) of this Additional
                growth, proliferation, spread or any                        Coverage, is the increased cost of
                activity of "fungus", wet or dry rot or                     construction at the new premises.
                bacteria; or
                                                                    (8) This Additional Coverage is not subject
           (b) Any costs associated with the                            to the terms of the Ordinance Or Law
               enforcement of or compliance with                        Exclusion to the extent that such
               an ordinance or law which requires                       Exclusion would conflict with the
               any insured or others to test for,                       provisions of this Additional Coverage.
               monitor, clean up, remove, contain,
               treat, detoxify or neutralize, or in any
               way respond to, or assess the
               effects of "pollutants", "fungus", wet
               or dry rot or bacteria.




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        (9) The costs addressed in the Loss                             (d) The Covered Causes of Loss include
            Payment and Valuation Conditions and                              a virus, harmful code or similar
            the     Replacement       Cost      Optional                      instruction introduced into or enacted
            Coverage, in this Coverage Form, do                               on a computer system (including
            not include the increased cost                                    electronic data) or a network to
            attributable to enforcement of or                                 which it is connected, designed to
            compliance with an ordinance or law.                              damage or destroy any part of the
            The amount payable under this                                     system or disrupt its normal
            Additional Coverage, as stated in e.(6)                           operation. But there is no coverage
            of this Additional Coverage, is not                               for loss or damage caused by or
            subject to such limitation.                                       resulting from manipulation of a
      f. Electronic Data                                                      computer         system      (including
                                                                              electronic data) by any employee,
        (1) Under      this   Additional     Coverage,                        including a temporary or leased
            electronic data has the meaning                                   employee, or by an entity retained by
            described under Property Not Covered,                             you or for you to inspect, design,
            Electronic      Data.    This     Additional                      install, modify, maintain, repair or
            Coverage does not apply to electronic                             replace that system.
            data which is integrated in and operates
            or controls the building's elevator,                     (4) The most we will pay under this
            lighting,    heating,     ventilation,   air                 Additional Coverage, Electronic Data, is
            conditioning or security system.                             $2,500 (unless a higher limit is shown in
                                                                         the Declarations) for all loss or damage
        (2) Subject to the provisions of this                            sustained in any one policy year,
            Additional Coverage, we will pay for the                     regardless of the number of occurrences
            cost to replace or restore electronic data                   of loss or damage or the number of
            which has been destroyed or corrupted                        premises,       locations    or   computer
            by a Covered Cause of Loss. To the                           systems involved. If loss payment on the
            extent that electronic data is not                           first occurrence does not exhaust this
            replaced or restored, the loss will be                       amount, then the balance is available for
            valued at the cost of replacement of the                     subsequent loss or damage sustained in
            media on which the electronic data was                       but not after that policy year. With
            stored, with blank media of substantially                    respect to an occurrence which begins
            identical type.                                              in one policy year and continues or
        (3) The Covered Causes of Loss applicable                        results in additional loss or damage in a
            to Your Business Personal Property                           subsequent policy year(s), all loss or
            apply to this Additional Coverage,                           damage is deemed to be sustained in
            Electronic Data, subject to the following:                   the policy year in which the occurrence
                                                                         began.
           (a) If the Causes Of Loss – Special
               Form applies, coverage under this               5. Coverage Extensions
               Additional     Coverage,     Electronic            Except as otherwise provided, the following
               Data, is limited to the "specified                 Extensions apply to property located in or on
               causes of loss" as defined in that                 the building described in the Declarations or in
               form and Collapse as set forth in that             the open (or in a vehicle) within 100 feet of the
               form.                                              described premises.
           (b) If the Causes Of Loss – Broad Form                 If a Coinsurance percentage of 80% or more is
               applies,     coverage     under     this           shown in the Declarations, you may extend the
               Additional     Coverage,     Electronic            insurance provided by this Coverage Part as
               Data, includes Collapse as set forth               follows:
               in that form.
                                                                  a. Newly Acquired Or Constructed
           (c) If the Causes Of Loss form is                           Property
               endorsed to add a Covered Cause of
               Loss, the additional Covered Cause                     (1) Buildings
               of Loss does not apply to the                              You may extend the insurance that
               coverage provided under this                               applies to Building to apply to:
               Additional     Coverage,     Electronic                  (a) Your new buildings while being built
               Data.                                                        on the described premises; and




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           (b) Buildings you acquire at locations,                      (b) 30 days expire after you acquire the
               other than the described premises,                           property or begin construction of that
               intended for:                                                part of the building that would qualify
               (i) Similar use as the building                              as covered property; or
                   described in the Declarations; or                   (c) You report values to us.
              (ii) Use as a warehouse.                                  We will charge you additional premium
            The most we will pay for loss or damage                     for values reported from the date you
            under this Extension is $250,000 at                         acquire    the    property    or   begin
            each building.                                              construction of that part of the building
                                                                        that would qualify as covered property.
        (2) Your Business Personal Property
                                                                  b. Personal Effects And Property Of Others
           (a) If this policy covers Your Business
               Personal Property, you may extend                     You may extend the insurance that applies
               that insurance to apply to:                           to Your Business Personal Property to
                                                                     apply to:
               (i) Business     personal    property,
                   including such property that you                 (1) Personal effects owned by you, your
                   newly acquire, at any location                        officers, your partners or members, your
                   you acquire other than at fairs,                      managers or your employees. This
                   trade shows or exhibitions; or                        Extension does not apply to loss or
                                                                         damage by theft.
              (ii) Business     personal    property,
                   including such property that you                 (2) Personal property of others in your care,
                   newly acquire, located at your                        custody or control.
                   newly constructed or acquired                     The most we will pay for loss or damage
                   buildings    at    the    location                under this Extension is $2,500 at each
                   described in the Declarations.                    described premises. Our payment for loss
            The most we will pay for loss or damage                  of or damage to personal property of others
            under this Extension is $100,000 at                      will only be for the account of the owner of
            each building.                                           the property.
           (b) This Extension does not apply to:                  c. Valuable Papers And Records (Other
                                                                     Than Electronic Data)
                (i) Personal property of others that
                    is temporarily in your possession               (1) You may extend the insurance that
                    in the course of installing or                       applies to Your Business Personal
                    performing     work    on    such                    Property to apply to the cost to replace
                    property; or                                         or restore the lost information on
                                                                         valuable papers and records for which
               (ii) Personal property of others that                     duplicates do not exist. But this
                    is temporarily in your possession                    Extension does not apply to valuable
                    in     the    course    of   your                    papers and records which exist as
                    manufacturing or wholesaling                         electronic data. Electronic data has the
                    activities.                                          meaning described under Property Not
        (3) Period Of Coverage                                           Covered, Electronic Data.
            With respect to insurance provided                       (2) If the Causes Of Loss – Special Form
            under this Coverage Extension for                            applies, coverage under this Extension
            Newly       Acquired    Or    Constructed                    is limited to the "specified causes of
            Property, coverage will end when any of                      loss" as defined in that form and
            the following first occurs:                                  Collapse as set forth in that form.
           (a) This policy expires;                                  (3) If the Causes Of Loss – Broad Form
                                                                         applies, coverage under this Extension
                                                                         includes Collapse as set forth in that
                                                                         form.




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        (4) Under this Extension, the most we will                  (3) Explosion;
            pay to replace or restore the lost                      (4) Riot or Civil Commotion; or
            information is $2,500 at each described
            premises, unless a higher limit is shown                (5) Aircraft.
            in the Declarations. Such amount is                      The most we will pay for loss or damage
            additional insurance. We will also pay                   under this Extension is $1,000, but not
            for the cost of blank material for                       more than $250 for any one tree, shrub or
            reproducing the records (whether or not                  plant. These limits apply to any one
            duplicates exist) and (when there is a                   occurrence, regardless of the types or
            duplicate) for the cost of labor to                      number of items lost or damaged in that
            transcribe or copy the records. The                      occurrence.
            costs of blank material and labor are
                                                                     Subject to all aforementioned terms and
            subject to the applicable Limit of
                                                                     limitations of coverage, this Coverage
            Insurance on Your Business Personal                      Extension includes the expense of
            Property and, therefore, coverage of                     removing from the described premises the
            such costs is not additional insurance.
                                                                     debris of trees, shrubs and plants which are
      d. Property Off-premises                                       the property of others.
        (1) You may extend the insurance provided                 f. Non-owned Detached Trailers
            by this Coverage Form to apply to your                  (1) You may extend the insurance that
            Covered Property while it is away from                       applies to Your Business Personal
            the described premises, if it is:
                                                                         Property to apply to loss or damage to
           (a) Temporarily at a location you do not                      trailers that you do not own, provided
               own, lease or operate;                                    that:
           (b) In storage at a location you lease,                     (a) The trailer is used in your business;
               provided the lease was executed
                                                                       (b) The trailer is in your care, custody or
               after the beginning of the current
                                                                           control at the premises described in
               policy term; or                                             the Declarations; and
           (c) At any fair, trade show or exhibition.                  (c) You have a contractual responsibility
        (2) This Extension does not apply to                               to pay for loss or damage to the
            property:                                                      trailer.
           (a) In or on a vehicle; or                               (2) We will not pay for any loss or damage
           (b) In the care, custody or control of                       that occurs:
               your salespersons, unless the                           (a) While the trailer is attached to any
               property is in such care, custody or                        motor      vehicle     or     motorized
               control at a fair, trade show or                            conveyance, whether or not the
               exhibition.                                                 motor      vehicle     or     motorized
        (3) The most we will pay for loss or damage                        conveyance is in motion;
             under this Extension is $10,000.                          (b) During       hitching   or  unhitching
      e. Outdoor Property                                                  operations, or when a trailer
                                                                           becomes accidentally unhitched from
         You may extend the insurance provided by                          a motor vehicle or motorized
         this Coverage Form to apply to your                               conveyance.
         outdoor fences, radio and television
         antennas (including satellite dishes), trees,              (3) The most we will pay for loss or damage
         shrubs and plants (other than trees, shrubs                    under this Extension is $5,000, unless a
         or plants which are "stock" or are part of a                   higher limit is shown in the Declarations.
         vegetated roof), including debris removal                  (4) This insurance is excess over the
         expense, caused by or resulting from any of                    amount due (whether you can collect on
         the following causes of loss if they are                       it or not) from any other insurance
         Covered Causes of Loss:                                        covering such property.
        (1) Fire;
        (2) Lightning;




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      g. Business Personal Property Temporarily              C. Limits Of Insurance
         In Portable Storage Units                              The most we will pay for loss or damage in any
        (1) You may extend the insurance that                   one occurrence is the applicable Limit Of
             applies to Your Business Personal                  Insurance shown in the Declarations.
             Property to apply to such property while           The most we will pay for loss or damage to
             temporarily stored in a portable storage           outdoor signs, whether or not the sign is attached
             unit (including a detached trailer)                to a building, is $2,500 per sign in any one
             located within 100 feet of the described           occurrence.
             premises.
                                                                The amounts of insurance stated in the following
        (2) If the applicable Covered Causes of                 Additional Coverages apply in accordance with the
             Loss form or endorsement contains a                terms of such coverages and are separate from
             limitation or exclusion concerning loss or         the Limit(s) Of Insurance shown in the
             damage from sand, dust, sleet, snow,               Declarations for any other coverage:
             ice or rain to property in a structure,
             such limitation or exclusion also applies          1. Fire Department Service Charge;
             to property in a portable storage unit.            2. Pollutant Clean-up And Removal;
        (3) Coverage under this Extension:                      3. Increased Cost Of Construction; and
            (a) Will end 90 days after the business             4. Electronic Data.
                 personal property has been placed in
                                                                Payments under the Preservation Of Property
                 the storage unit;
                                                                Additional Coverage will not increase the
            (b) Does not apply if the storage unit              applicable Limit of Insurance.
                itself has been in use at the                D. Deductible
                described premises for more than 90
                consecutive days, even if the                   In any one occurrence of loss or damage
                business personal property has been             (hereinafter referred to as loss), we will first reduce
                stored there for 90 or fewer days as            the amount of loss if required by the Coinsurance
                of the time of loss or damage.                  Condition or the Agreed Value Optional Coverage.
                                                                If the adjusted amount of loss is less than or equal
         (4) Under this Extension, the most we will             to the Deductible, we will not pay for that loss. If
             pay for the total of all loss or damage to         the adjusted amount of loss exceeds the
             business personal property is $10,000              Deductible, we will then subtract the Deductible
             (unless a higher limit is indicated in the
                                                                from the adjusted amount of loss and will pay the
             Declarations for such Extension)                   resulting amount or the Limit of Insurance,
             regardless of the number of storage                whichever is less.
             units. Such limit is part of, not in addition
             to, the applicable Limit of Insurance on           When the occurrence involves loss to more than
             Your Business Personal Property.                   one item of Covered Property and separate Limits
             Therefore,     payment         under     this      of Insurance apply, the losses will not be
             Extension will not increase the                    combined in determining application of the
             applicable Limit of Insurance on Your              Deductible. But the Deductible will be applied only
             Business Personal Property.                        once per occurrence.
         (5) This Extension does not apply to loss or        Example 1
             damage otherwise covered under this             (This example assumes there is no Coinsurance
             Coverage Form or any endorsement to             penalty.)
             this Coverage Form or policy, and does
             not apply to loss or damage to the              Deductible:                                   $      250
             storage unit itself.                            Limit of Insurance – Building 1:              $   60,000
   Each of these Extensions is additional insurance          Limit of Insurance – Building 2:              $   80,000
   unless otherwise indicated. The Additional
                                                             Loss to Building 1:                           $   60,100
   Condition, Coinsurance, does not apply to these
   Extensions.                                               Loss to Building 2:                           $   90,000
B. Exclusions And Limitations                                The amount of loss to Building 1 ($60,100) is less
   See applicable Causes Of Loss form as shown in            than the sum ($60,250) of the Limit of Insurance
   the Declarations.                                         applicable to Building 1 plus the Deductible.




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The Deductible will be subtracted from the amount of             b. Bear the other expenses of the appraisal
loss in calculating the loss payable for Building 1:                  and umpire equally.
    $ 60,100                                                     If there is an appraisal, we will still retain our
    –      250                                                   right to deny the claim.
    $ 59,850 Loss Payable – Building 1                        3. Duties In The Event Of Loss Or Damage
The Deductible applies once per occurrence and                   a. You must see that the following are done in
therefore is not subtracted in determining the amount                 the event of loss or damage to Covered
of loss payable for Building 2. Loss payable for                      Property:
Building 2 is the Limit of Insurance of $80,000.                     (1) Notify the police if a law may have been
Total amount of loss payable:                                            broken.
$59,850 + $80,000 = $139,850                                         (2) Give us prompt notice of the loss or
                                                                         damage. Include a description of the
Example 2                                                                property involved.
(This example, too, assumes there is no Coinsurance                  (3) As soon as possible, give us a
penalty.)                                                                description of how, when and where the
The Deductible and Limits of Insurance are the same                      loss or damage occurred.
as those in Example 1.                                              (4) Take all reasonable steps to protect the
                                                                        Covered Property from further damage,
Loss to Building 1:                        $ 70,000                     and keep a record of your expenses
  (Exceeds Limit of Insurance plus Deductible)                          necessary to protect the Covered
Loss to Building 2:                        $ 90,000                     Property, for consideration in the
                                                                        settlement of the claim. This will not
  (Exceeds Limit of Insurance plus Deductible)
                                                                        increase the Limit of Insurance.
Loss Payable – Building 1:                 $ 60,000                     However, we will not pay for any
  (Limit of Insurance)                                                  subsequent loss or damage resulting
Loss Payable – Building 2:                 $ 80,000                     from a cause of loss that is not a
                                                                        Covered Cause of Loss. Also, if
  (Limit of Insurance)                                                  feasible, set the damaged property
Total amount of loss payable:              $ 140,000                    aside and in the best possible order for
E. Loss Conditions                                                      examination.
   The following conditions apply in addition to the                (5) At our request, give us complete
   Common Policy Conditions and the Commercial                          inventories of the damaged and
   Property Conditions:                                                 undamaged property. Include quantities,
                                                                        costs, values and amount of loss
   1. Abandonment                                                       claimed.
      There can be no abandonment of any property                   (6) As often as may be reasonably required,
      to us.                                                            permit us to inspect the property proving
   2. Appraisal                                                         the loss or damage and examine your
                                                                        books and records.
      If we and you disagree on the value of the
      property or the amount of loss, either may                        Also, permit us to take samples of
      make written demand for an appraisal of the                       damaged and undamaged property for
      loss. In this event, each party will select a                     inspection, testing and analysis, and
      competent and impartial appraiser. The two                        permit us to make copies from your
      appraisers will select an umpire. If they cannot                  books and records.
      agree, either may request that selection be                   (7) Send us a signed, sworn proof of loss
      made by a judge of a court having jurisdiction.                   containing the information we request to
      The appraisers will state separately the value                    investigate the claim. You must do this
      of the property and amount of loss. If they fail                  within 60 days after our request. We will
      to agree, they will submit their differences to                   supply you with the necessary forms.
      the umpire. A decision agreed to by any two
      will be binding. Each party will:                             (8) Cooperate with us in the investigation or
                                                                        settlement of the claim.
      a. Pay its chosen appraiser; and




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      b. We may examine any insured under oath,                  g. We will pay for covered loss or damage to
         while not in the presence of any other                     Covered Property within 30 days after we
         insured and at such times as may be                        receive the sworn proof of loss, if you have
         reasonably required, about any matter                      complied with all of the terms of this
         relating to this insurance or the claim,                   Coverage Part, and:
         including an insured's books and records. In              (1) We have reached agreement with you
         the event of an examination, an insured's                      on the amount of loss; or
         answers must be signed.
                                                                   (2) An appraisal award has been made.
   4. Loss Payment
                                                                    If you name an insurance trustee, we will
      a. In the event of loss or damage covered by                  adjust losses with you, but we will pay the
         this Coverage Form, at our option, we will                 insurance trustee. If we pay the trustee, the
         either:                                                    payments will satisfy your claims against
        (1) Pay the value of lost or damaged                        us.
            property;                                            h. A party wall is a wall that separates and is
        (2) Pay the cost of repairing or replacing the               common to adjoining buildings that are
            lost or damaged property, subject to b.                  owned by different parties. In settling
            below;                                                   covered losses involving a party wall, we
        (3) Take all or any part of the property at an               will pay a proportion of the loss to the party
            agreed or appraised value; or                            wall based on your interest in the wall in
                                                                     proportion to the interest of the owner of the
        (4) Repair, rebuild or replace the property                  adjoining building. However, if you elect to
            with other property of like kind and                     repair or replace your building and the
            quality, subject to b. below.                            owner of the adjoining building elects not to
         We will determine the value of lost or                      repair or replace that building, we will pay
         damaged property, or the cost of its repair                 you the full value of the loss to the party
         or replacement, in accordance with the                      wall, subject to all applicable policy
         applicable terms of the Valuation Condition                 provisions including Limits of Insurance, the
         in this Coverage Form or any applicable                     Valuation and Coinsurance Conditions and
         provision which amends or supersedes the                    all other provisions of this Loss Payment
         Valuation Condition.                                        Condition. Our payment under the
                                                                     provisions of this paragraph does not alter
      b. The cost to repair, rebuild or replace does
                                                                     any right of subrogation we may have
         not include the increased cost attributable
         to enforcement of or compliance with any                    against any entity, including the owner or
         ordinance     or    law     regulating    the               insurer of the adjoining building, and does
                                                                     not alter the terms of the Transfer Of Rights
         construction, use or repair of any property.
                                                                     Of Recovery Against Others To Us
      c. We will give notice of our intentions within                Condition in this policy.
         30 days after we receive the sworn proof of
         loss.                                                5. Recovered Property
                                                                 If either you or we recover any property after
      d. We will not pay you more than your
                                                                 loss settlement, that party must give the other
         financial interest in the Covered Property.
                                                                 prompt notice. At your option, the property will
      e. We may adjust losses with the owners of                 be returned to you. You must then return to us
         lost or damaged property if other than you.             the amount we paid to you for the property. We
         If we pay the owners, such payments will                will pay recovery expenses and the expenses
         satisfy your claims against us for the                  to repair the recovered property, subject to the
         owners' property. We will not pay the                   Limit of Insurance.
         owners more than their financial interest in
         the Covered Property.                                6. Unit-owner's Insurance
      f. We may elect to defend you against suits                A unit-owner may have other insurance
         arising from claims of owners of property.              covering the same property as this insurance.
         We will do this at our expense.                         This insurance is intended to be primary and
                                                                 not to contribute with such other insurance.




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   7. Vacancy                                                 8. Valuation
      a. Description Of Terms                                    We will determine the value of Covered
        (1) As used in this Vacancy Condition, the               Property in the event of loss or damage as
            term building and the term vacant have               follows:
            the meanings set forth in (1)(a) and                 a. At actual cash value as of the time of loss
            (1)(b) below:                                            or damage, except as provided in b. and c.
           (a) When this policy is issued to a                       below.
                tenant, and with respect to that                 b. If the Limit of Insurance for Building
                tenant's interest in Covered Property,               satisfies    the     Additional  Condition,
                building means the unit or suite                     Coinsurance, and the cost to repair or
                rented or leased to the tenant. Such                 replace the damaged building property is
                building is vacant when it does not                  $2,500 or less, we will pay the cost of
                contain enough business personal                     building repairs or replacement.
                property to conduct customary                       The cost of building repairs or replacement
                operations.                                         does not include the increased cost
           (b) When this policy is issued to the                    attributable    to  enforcement       of    or
                owner or general lessee of a                        compliance with any ordinance or law
                building, building means the entire                 regulating the construction, use or repair of
                building. Such building is vacant                   any property. However, the following
                unless at least 31% of its total                    property will be valued at the actual cash
                square footage is:                                  value, even when attached to the building:
                (i) Rented to a lessee or sublessee                (1) Awnings or floor coverings;
                    and used by the lessee or                      (2) Appliances for refrigerating, ventilating,
                    sublessee      to   conduct    its                  cooking, dishwashing or laundering; or
                    customary operations; and/or
                                                                   (3) Outdoor equipment or furniture.
               (ii) Used by the building owner to
                    conduct customary operations.                c. Glass at the cost of replacement with
                                                                    safety-glazing material if required by law.
        (2) Buildings      under     construction   or
            renovation are not considered vacant.            9. Waiver Of Rights Of Recovery
      b. Vacancy Provisions                                     We waive our rights to recover payment from
                                                                any unit-owner of the condominium that is
         If the building where loss or damage occurs            shown in the Declarations.
         has been vacant for more than 60
         consecutive days before that loss or             F. Additional Conditions
         damage occurs:                                      The following conditions apply in addition to the
        (1) We will not pay for any loss or damage           Common Policy Conditions and the Commercial
             caused by any of the following even if          Property Conditions:
             they are Covered Causes of Loss:                1. Coinsurance
           (a) Vandalism;                                       If a Coinsurance percentage is shown in the
           (b) Sprinkler leakage, unless you have               Declarations, the following condition applies:
                 protected   the   system    against            a. We will not pay the full amount of any loss if
                 freezing;                                          the value of Covered Property at the time of
           (c) Building glass breakage;                             loss times the Coinsurance percentage
                                                                    shown for it in the Declarations is greater
           (d) Water damage;                                        than the Limit of Insurance for the property.
           (e) Theft; or                                             Instead, we will determine the most we will
            (f) Attempted theft.                                     pay using the following steps:
        (2) With respect to Covered Causes of Loss                  (1) Multiply the value of Covered Property
             other than those listed in b.(1)(a)                        at the time of loss by the Coinsurance
             through b.(1)(f) above, we will reduce                     percentage;
             the amount we would otherwise pay for                  (2) Divide the Limit of Insurance of the
             the loss or damage by 15%.                                 property by the figure determined in
                                                                        Step (1);




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            (3) Multiply the total amount of loss, before      Example 3
                the application of any deductible, by the
                figure determined in Step (2); and             When:     The value of the property is:
            (4) Subtract the deductible from the figure                  Building at Location 1:             $ 75,000
                determined in Step (3).                                  Building at Location 2:             $ 100,000
   We will pay the amount determined in Step (4) or                      Personal Property
   the Limit of Insurance, whichever is less. For the                    at Location 2:                      $ 75,000
   remainder, you will either have to rely on other                                                          $ 250,000
   insurance or absorb the loss yourself.                                The Coinsurance percentage
Example 1 (Underinsurance)                                               for it is:                               90%
                                                                         The Limit of Insurance for
When:       The value of the property is:     $ 250,000                  Buildings and Personal Property
            The Coinsurance percentage                                   at Locations 1 and 2 is:            $ 180,000
            for it is:                             80%                   The Deductible is:                  $ 1,000
            The Limit of Insurance for it is: $ 100,000                  The amount of loss is:
            The Deductible is:                $     250                  Building at Location 2:             $ 30,000
            The amount of loss is:            $ 40,000                   Personal Property
Step (1):   $250,000 x 80% = $200,000                                    at Location 2:                      $ 20,000
            (the minimum amount of insurance to                                                              $ 50,000
            meet your Coinsurance requirements)
                                                               Step (1): $250,000 x 90% = $225,000
Step (2):   $100,000 ÷ $200,000 = .50
                                                                         (the minimum amount of insurance to
Step (3):   $40,000 x .50 = $20,000                                      meet your Coinsurance requirements
Step (4):   $20,000 – $250 = $19,750                                     and to avoid the penalty shown below)
We will pay no more than $19,750. The remaining                Step (2): $180,000 ÷ $225,000 = .80
$20,250 is not covered.                                        Step (3): $50,000 x .80 = $40,000
Example 2 (Adequate Insurance)                                 Step (4): $40,000 – $1,000 = $39,000

When:       The value of the property is:       $ 250,000      We will pay no more than $39,000. The remaining
                                                               $11,000 is not covered.
            The Coinsurance percentage
            for it is:                               80%          2. Mortgageholders
            The Limit of Insurance for it is:   $ 200,000            a. The term mortgageholder includes trustee.
            The Deductible is:                  $     250            b. We will pay for covered loss of or damage
            The amount of loss is:              $ 40,000                 to buildings or structures to each
                                                                         mortgageholder shown in the Declarations
The minimum amount of insurance to meet your                             in their order of precedence, as interests
Coinsurance requirement is $200,000 ($250,000 x                          may appear.
80%). Therefore, the Limit of Insurance in this                      c. The mortgageholder has the right to receive
example is adequate and no penalty applies. We will                      loss payment even if the mortgageholder
pay no more than $39,750 ($40,000 amount of loss                         has started foreclosure or similar action on
minus the deductible of $250).                                           the building or structure.
      b. If one Limit of Insurance applies to two or                 d. If we deny your claim because of your acts
          more separate items, this condition will                       or because you have failed to comply with
          apply to the total of all property to which the                the terms of this Coverage Part, the
          limit applies.                                                 mortgageholder will still have the right to
                                                                         receive loss payment if the mortgageholder:
                                                                         (1) Pays any premium due under this
                                                                             Coverage Part at our request if you
                                                                             have failed to do so;




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         (2) Submits a signed, sworn proof of loss                  b. If the expiration date for this Optional
              within 60 days after receiving notice                    Coverage shown in the Declarations is not
              from us of your failure to do so; and                    extended,     the   Additional    Condition,
         (3) Has notified us of any change in                          Coinsurance, is reinstated and this Optional
              ownership, occupancy or substantial                      Coverage expires.
              change in risk known to the                           c. The terms of this Optional Coverage apply
              mortgageholder.                                          only to loss or damage that occurs:
          All of the terms of this Coverage Part will                 (1) On or after the effective date of this
          then apply directly to the mortgageholder.                      Optional Coverage; and
      e. If we pay the mortgageholder for any loss                     (2) Before the Agreed Value expiration date
         or damage and deny payment to you                                  shown in the Declarations or the policy
         because of your acts or because you have                           expiration date, whichever occurs first.
         failed to comply with the terms of this                 2. Inflation Guard
         Coverage Part:
                                                                    a. The Limit of Insurance for property to which
        (1) The mortgageholder's rights under the                       this Optional Coverage applies will
             mortgage will be transferred to us to the                  automatically increase by the annual
             extent of the amount we pay; and                           percentage shown in the Declarations.
         (2) The mortgageholder's right to recover                  b. The amount of increase will be:
              the full amount of the mortgageholder's
              claim will not be impaired.                              (1) The Limit of Insurance that applied on
                                                                            the most recent of the policy inception
          At our option, we may pay to the                                  date, the policy anniversary date, or any
          mortgageholder the whole principal on the                         other policy change amending the Limit
          mortgage plus any accrued interest. In this                       of Insurance, times
          event, your mortgage and note will be
          transferred to us and you will pay your                      (2) The percentage of annual increase
          remaining mortgage debt to us.                                   shown in the Declarations, expressed as
                                                                           a decimal (example: 8% is .08), times
       f. If we cancel this policy, we will give written
          notice to the mortgageholder at least:                       (3) The number of days since the beginning
                                                                           of the current policy year or the effective
         (1) 10 days before the effective date of                          date of the most recent policy change
              cancellation if we cancel for your                           amending the Limit of Insurance, divided
              nonpayment of premium; or                                    by 365.
         (2) 30 days before the effective date of          Example
              cancellation if we cancel for any other
              reason.                                      If:     The applicable Limit of Insurance is:   $ 100,000
      g. If we elect not to renew this policy, we will             The annual percentage increase is:            8%
         give written notice to the mortgageholder at              The number of days since the
         least 10 days before the expiration date of               beginning of the policy year
         this policy.                                              (or last policy change) is:                    146
G. Optional Coverages                                              The amount of increase is:
   If shown as applicable in the Declarations, the                 $100,000 x .08 x 146 ÷ 365 =            $    3,200
   following Optional Coverages apply separately to
                                                                 3. Replacement Cost
   each item:
                                                                    a. Replacement Cost (without deduction for
   1. Agreed Value
                                                                       depreciation) replaces Actual Cash Value in
       a. The Additional Condition, Coinsurance,                       the Loss Condition, Valuation, of this
          does not apply to Covered Property to                        Coverage Form.
          which this Optional Coverage applies. We
                                                                    b. This Optional Coverage does not apply to:
          will pay no more for loss of or damage to
          that property than the proportion that the                  (1) Personal property of others;
          Limit of Insurance under this Coverage Part                 (2) Contents of a residence; or
          for the property bears to the Agreed Value
          shown for it in the Declarations.                           (3) Works of art, antiques or rare articles,
                                                                          including etchings, pictures, statuary,
                                                                          marbles, bronzes, porcelains and bric-a-
                                                                          brac.




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         Under the terms of this Replacement Cost                 f. The cost of repair or replacement does not
         Optional Coverage, personal property                        include the increased cost attributable to
         owned indivisibly by all unit-owners, and the               enforcement of or compliance with any
         property covered under Paragraph A.1.a.(6)                  ordinance      or    law     regulating   the
         of this Coverage Form, are not considered                   construction, use or repair of any property.
         to be the personal property of others.                4. Extension Of Replacement Cost To
      c. You may make a claim for loss or damage                  Personal Property Of Others
         covered by this insurance on an actual cash              a. If the Replacement Cost Optional Coverage
         value basis instead of on a replacement                     is shown as applicable in the Declarations,
         cost basis. In the event you elect to have                  then this Extension may also be shown as
         loss or damage settled on an actual cash                    applicable. If the Declarations show this
         value basis, you may still make a claim for                 Extension as applicable, then Paragraph
         the additional coverage this Optional                       3.b.(1) of the Replacement Cost Optional
         Coverage provides if you notify us of your                  Coverage is deleted and all other provisions
         intent to do so within 180 days after the loss              of the Replacement Cost Optional
         or damage.                                                  Coverage apply to replacement cost on
      d. We will not pay on a replacement cost basis                 personal property of others.
         for any loss or damage:                                  b. With respect to replacement cost on the
        (1) Until the lost or damaged property is                    personal property of others, the following
            actually repaired or replaced; and                       limitation applies:
        (2) Unless the repair or replacement is                      If an item(s) of personal property of others
            made as soon as reasonably possible                      is subject to a written contract which
            after the loss or damage.                                governs your liability for loss or damage to
      e. We will not pay more for loss or damage on                  that item(s), then valuation of that item(s)
         a replacement cost basis than the least of                  will be based on the amount for which you
         (1), (2) or (3), subject to f. below:                       are liable under such contract, but not to
                                                                     exceed the lesser of the replacement cost
        (1) The Limit of Insurance applicable to the                 of the property or the applicable Limit of
             lost or damaged property;                               Insurance.
        (2) The cost to replace the lost or damaged        H. Definitions
              property with other property:
                                                              1. "Fungus" means any type or form of fungus,
             (a) Of comparable material and quality;             including mold or mildew, and any mycotoxins,
                 and                                             spores, scents or by-products produced or
            (b) Used for the same purpose; or                    released by fungi.
        (3) The amount actually spent that is                  2. "Pollutants" means any solid, liquid, gaseous or
              necessary to repair or replace the lost or          thermal irritant or contaminant, including
              damaged property.                                   smoke, vapor, soot, fumes, acids, alkalis,
                                                                  chemicals and waste. Waste includes materials
         If a building is rebuilt at a new premises, the
         cost described in e.(2) above is limited to              to be recycled, reconditioned or reclaimed.
         the cost which would have been incurred if            3. "Stock" means merchandise held in storage or
         the building had been rebuilt at the original            for sale, raw materials and in-process or
         premises.                                                finished goods, including supplies used in their
                                                                  packing or shipping.




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                                  CAUSES OF LOSS – WINDSTORM OR HAIL


 A.    Covered Causes of Loss

       When Windstorm and Hail is shown in the Declarations, Covered Causes of Loss means the following:

       We cover risk of direct physical loss to covered property only when the direct physical loss is the result of
       windstorm or hail, but not including:
       1. Frost or Cold Weather;
       2. Ice (other than hail), snow, sleet or water, whether driven by wind or not, and accumulation, freezing,
          thawing, pressure or weight of hail, ice, snow, sleet, rain, water or any other form of precipitation; or
       3. Loss or damage to the interior of any building or structure, or the property inside the building or structure,
          caused by rain, snow, sand or dust, whether driven by wind or not, unless the building or structure first
          sustains wind or hail damage to its roof or walls through which rain, snow, sand or dust enters.

 B.    Exclusions

       1. We will not pay for loss or damage which would not have occurred in the absence of one or more of the
          following excluded events. We do not insure for such loss regardless of: (a) the cause of the excluded
          event; or (b) other causes of the loss; or (c) whether other causes acted concurrently or in any sequence
          with the excluded event to produce the loss; or (d) whether the event occurs suddenly or gradually,
          involves isolated or widespread damage, arises from natural or external forces, or occurs as a result of
          any combination of these:
          a. Ordinance Or Law
               The enforcement of any ordinance or law:
               (1) Regulating the construction, use or repair of any property; or
               (2) Requiring the tearing down of any property, including the cost of removing its debris.

                  This exclusion, Ordinance Or Law, applies whether the loss results from:
                  (1) An ordinance or law that is enforced even if the property has not been damaged; or
                  (2) The increased costs incurred to comply with an ordinance or law in the course of construction,
                      repair, renovation, remodeling or demolition of property, or removal of its debris, following a
                      physical loss to that property.

           b. Earth Movement
              (1) Earthquake, including any earth sinking, rising or shifting related to such event;
              (2) Landslide, including any earth sinking, rising or shifting related to such event;
              (3) Mine subsidence, meaning subsidence of a man-made mine, whether or not mining activity has
                  ceased;
                  (4) Earth sinking (other than sinkhole collapse), rising or shifting including soil conditions which
                      cause settling, cracking or other disarrangement of foundations or other parts of realty. Soil
                      conditions include contraction, expansion, freezing, thawing, erosion, improperly compacted soil
                      and the action of water under the ground surface.




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                  (5) Sinkhole Collapse, meaning loss or damage caused by the sudden sinking or collapse of land
                      into underground empty spaces created by the action of water on limestone, dolomite, or man-
                      made underground cavities.
                  (6) Volcanic Action, meaning direct loss or damage resulting from the eruption of a volcano when the
                      loss or damage is caused by:
                      (a.) Airborne volcanic blast or airborne shock waves;
                      (b.) Ash, dust or particulate matter, including the cost to remove ash, dust or particulate matter; or
                      (c.) Lava flow.

           c. Governmental Action
              Seizure or destruction of property by order of governmental authority.

           d. Hazard
              Nuclear reaction or radiation, or radioactive contamination, however caused.

           e. Utility Services
              The failure of power or other utility service supplied to the described premises, however caused, if the
              failure occurs away from the described premises. Failure includes lack of sufficient capacity and
              reduction in supply.

                  This exclusion does not apply to the Business Income coverage or to Extra Expense coverage.
                  Instead, the Special Exclusion in Paragraph B.3.(a) applies to these coverages.

           f.     War And Military Action
                  (1) War, including undeclared or civil war;
                  (2) Warlike action by a military force, including action in hindering or defending against an actual or
                      expected attack, by any government, sovereign or other authority using military personnel or
                      other agents; or
                  (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in
                      hindering or defending against any of these.

           g. Water
              (1) Flood, including, but not limited to, surface water, waves, tsunami, tides, tidal water, tidal waves,
                  storm surge, overflow of any body of water, or spray from any of these, all whether driven by wind
                  or not;
                  (2) Mudslide or mudflow;
                  (3) Water that backs up or overflows or is otherwise discharged from a sewer, drain, sump; sump
                      pump or related equipment;
                  (4) Water under the ground surface pressing on, or flowing or seeping through:
                      (a.) Foundations, walls, floors or paved surfaces;
                      (b.) Basements, whether paved or not; or
                      (c.) Doors, windows or other openings;
                  (5) Water or any other substance on the surface of the ground regardless of its source; or
                  (6) Waterborne material carried or otherwise moved by any of the water related causes referred to in
                      Paragraph (1), (2), (3), (4) or (5).




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           h. "Fungus", Wet Rot, Dry Rot And Bacteria
              Actual or threatened existence, presence, growth, release, transmission, proliferation, spread,
              migration, dispersal, exposure to or activity of "fungus", wet or dry rot or bacteria, even if the fungus,
              wet or dry rot or bacteria is caused by or results from windstorm or hail.

                  This policy does not pay for the cost of removal, demolition, repair, remediation, disposal,
                  decontamination, remodeling, reconstruction or replacement of Covered Property due to the
                  existence, growth, release, presence, transmission, proliferation, spread, migration, dispersal,
                  exposure to or activity of “fungus”, wet or dry rot or bacteria, even if by law or civil authority, the
                  fungus, wet or dry rot or bacteria must be removed, remediated, disposed of, or decontaminated.

                  Nor does this policy pay for any cost associated with the enforcement of any ordinance or law which
                  requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
                  neutralize, or in any way to respond to, or assess the effects of fungus, wet or dry rot or bacteria.

                  Exclusions B.1.a. through B.1.h. apply whether or not the loss event results in widespread damage or
                  affects a substantial area.

       2. We will not pay for loss or damage caused by or resulting from:

           a. Artificially generated electrical current, including electric arcing, that disturbs electrical devices,
              appliances or wires.
           b. Rupture or bursting of water pipes unless caused by a Covered Cause of Loss.
           c. Leakage or discharge of water or steam from any part of a system or appliance containing water or
              steam, unless the leakage or discharge occurs because the system or appliance was damaged by a
              Covered Cause of Loss. We will not pay for loss or damage caused by or resulting from continuous or
              repeated seepage or leakage of water, or the presence or condensation of humidity, moisture or
              vapor, that occurs over a period of 14 days or more.
           d. Explosion of steam boilers, steam pipes, steam engines or steam turbines owned or leased by you, or
              operated under your control.
           e. Mechanical breakdown, including rupture or busting caused by centrifugal force.
           f. Neglect of an insured to use all reasonable means to save and preserve property from further
              damage at and after the time of loss.

       3. Special Exclusions
          The following provisions apply only to the specified Coverage Forms. See specified Coverage Form for
          defined terms.

           Business Income (And Extra Expense) Coverage Form, Business Income (Without Extra Expense)
           Coverage Form, Or Extra Expense Coverage Form
           We will not pay for:
           a. Any loss caused directly or indirectly by the failure of power or other utility service supplied to the
              described premises, however caused, if the failure occurs outside of a covered building. Failure
              includes lack of sufficient capacity and reduction in supply.
           b. Any loss caused by or resulting from:
              (1) Damage or destruction of "finished stock"; or
              (2) The time required to reproduce "finished stock".
              This exclusion does not apply to Extra Expense.
           c. Any loss caused by or resulting from direct physical loss or damage to radio or television antennas
              (including satellite dishes) and their lead-in wiring, masts or towers.
           d. Any increase of loss caused by or resulting from:
              (1) Delay in rebuilding, repairing or replacing the property or resuming "operations", due to
                  interference at the location of the rebuilding, repair or replacement by strikers or other persons; or


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                  (2) Suspension, lapse or cancellation of any license, lease or contract. But if the suspension, lapse or
                      cancellation is directly caused by the "suspension" of "operations", we will cover such loss that
                      affects your Business Income during the "period of restoration" and any extension of the "period
                      of restoration" in accordance with the terms of the Extended Business Income Additional
                      Coverage and the Extended Period of Indemnity Optional Coverage or any variation of these.
           e. Any Extra Expense caused by or resulting from suspension, lapse or cancellation of any license,
              lease or contract beyond the "period of restoration".
           f.     Any other consequential loss.


 C.     Definition

        "Fungus" means any type or form of fungus, including mold or mildew, and any mycotoxins, spores, scents
        or by-products produced or released by fungi.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             ACCOUNTS RECEIVABLE COVERAGE FORM



Various provisions in this policy restrict coverage.                 a. Fire; lightning; windstorm; hail; explosion;
Read the entire policy carefully to determine rights,                   smoke; aircraft; vehicles; riot; civil
duties and what is and is not covered.                                  commotion; vandalism; leakage from fire
Throughout this policy, the words "you" and "your"                      extinguishing equipment; sinkhole collapse;
refer to the Named Insured shown in the Declarations.                   volcanic action; breakage of building glass;
The words "we", "us" and "our" refer to the Company                     falling objects; weight of snow, ice or sleet;
providing this insurance.                                               water damage; earthquake; all only as
                                                                        insured against in this Coverage Form;
Other words and phrases that appear in quotation
marks have special meaning. Refer to Section E –                     b. Decay that is hidden from view, unless the
Definitions.                                                            presence of such decay is known to an
                                                                        insured prior to collapse;
A. Coverage
                                                                     c. Insect or vermin damage that is hidden
   1. We will pay:                                                      from view, unless the presence of such
      a. All amounts due from your customers that                       damage is known to an insured prior to
         you are unable to collect;                                     collapse;
      b. Interest charges on any loan required to                    d. Weight of people or personal property;
         offset amounts you are unable to collect                    e. Weight of rain that collects on a roof;
         pending our payment of these amounts;
                                                                      f. Use of defective materials or methods in
      c. Collection expenses in excess of your                           construction, remodeling or renovation if the
         normal collection expenses that are made                        collapse occurs during the course of the
         necessary by the loss or damage; and                            construction, remodeling or renovation.
      d. Other reasonable expenses that you incur                        However, if the collapse occurs after
         to re-establish your records of accounts                        construction, remodeling or renovation is
         receivable;                                                     complete and is caused in part by a cause
      that result from Covered Causes of Loss to                         of loss listed in Paragraphs a. through e.,
      your records of accounts receivable.                               we will pay for the loss or damage even if
                                                                         use of defective material or methods, in
   2. Property Not Covered                                               construction, remodeling or renovation,
      Coverage does not apply to:                                        contributes to the collapse.
      a. Records of accounts receivable in storage                   This Additional Coverage does not increase
         away from the "premises" shown in the                       the Limits of Insurance provided in this
         Declarations; or                                            Coverage Form.
      b. Contraband, or property in the course of                5. Coverage Extension
         illegal transportation or trade.                           REMOVAL
   3. Covered Causes Of Loss                                        If you give us written notice within 10 days of
      Covered Causes of Loss means RISKS OF                         removal of your records of accounts receivable
      DIRECT PHYSICAL LOSS OR DAMAGE to                             because of imminent danger of loss or
      your records of accounts receivable except                    damage, we will pay for loss or damage while
      those causes of loss listed in the Exclusions.                they are:
   4. Additional Coverage – Collapse                                 a. At a safe place away from your "premises";
                                                                        or
      We will pay for direct physical loss or damage
      to Covered Property, caused by collapse of a                   b. Being taken to and returned from that
      building or any part of a building that contains                  place.
      Covered Property insured under this Coverage                   This Coverage Extension is included within the
      Form, if the collapse is caused by one or more                 Limit of Insurance applicable to the "premises"
      of the following:                                              from which the records of accounts receivable
                                                                     are removed.



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B. Exclusions                                                            (4) Anyone else to whom the property is
   1. We will not pay for loss or damage caused                              entrusted for any purpose.
      directly or indirectly by any of the following.                     This exclusion applies whether or not such
      Such loss or damage is excluded regardless of                       persons are acting alone or in collusion with
      any other cause or event that contributes                           other persons or such acts occur during the
      concurrently or in any sequence to the loss.                        hours of employment.
      a. Governmental Action                                              This exclusion does not apply to Covered
         Seizure or destruction of property by order                      Property that is entrusted to others who are
         of governmental authority.                                       carriers for hire or to acts of destruction by
                                                                          your employees. But theft by employees is
         But we will pay for loss or damage caused                        not covered.
         by or resulting from acts of destruction
         ordered by governmental authority and                        c. Alteration, falsification, concealment or
         taken at the time of a fire to prevent its                      destruction of records of accounts
         spread if the fire would be covered under                       receivable done to conceal the wrongful
         this Coverage Form.                                             giving, taking or withholding of money,
                                                                         securities or other property.
      b. Nuclear Hazard
                                                                          This exclusion applies only to the extent of
        (1) Any weapon employing atomic fission or                        the wrongful giving, taking or withholding.
             fusion; or
                                                                      d. Bookkeeping, accounting or billing errors or
        (2) Nuclear reaction or radiation, or                            omissions.
            radioactive contamination from any
            other cause. But if nuclear reaction or                   e. Electrical or magnetic injury, disturbance or
            radiation, or radioactive contamination                      erasure of electronic recordings that is
            results in fire, we will pay for the direct                  caused by or results from:
            loss or damage caused by that fire if the                    (1) Programming errors or faulty machine
            fire would be covered under this                                 instructions;
            Coverage Form.                                               (2) Faulty installation or maintenance of
      c. War And Military Action                                             data    processing     equipment   or
        (1) War, including undeclared or civil war;                          component parts;
        (2) Warlike action by a military force,                          (3) An occurrence that took place more
            including action in hindering or                                 than 100 feet from your "premises"; or
            defending against an actual or expected                      (4) Interruption of electrical power supply,
            attack, by any government, sovereign or                          power surge, blackout or brownout if the
            other authority using military personnel                         cause of such occurrence took place
            or other agents; or                                              more than 100 feet from your
        (3) Insurrection,     rebellion,    revolution,                      "premises".
            usurped power or action taken by                              But we will pay for direct loss or damage
            governmental authority in hindering or                        caused by lightning.
            defending against any of these.                            f. Voluntary parting with any property by you
      Exclusions B.1.a. through B.1.c. apply whether                      or anyone entrusted with the property if
      or not the loss event results in widespread                         induced to do so by any fraudulent scheme,
      damage or affects a substantial area.                               trick, device or false pretense.
   2. We will not pay for loss or damage caused by                    g. Unauthorized instructions to transfer
      or resulting from any of the following:                            property to any person or to any place.
      a. Delay, loss of use, loss of market or any                    h. Neglect of an insured to use all reasonable
         other consequential loss.                                       means to save and preserve property from
      b. Dishonest or criminal act committed by:                         further damage at and after the time of loss.
        (1) You, any of your partners, employees,                 3. We will not pay for loss or damage that
            directors,   trustees,   or authorized                   requires any audit of records or any inventory
            representatives;                                         computation to prove its factual existence.
         (2) A manager or a member if you are a                   4. We will not pay for loss or damage caused by
             limited liability company;                              or resulting from any of the following. But if loss
                                                                     or damage by a Covered Cause of Loss
         (3) Anyone else with an interest in the                     results, we will pay for the loss or damage
             property, or their employees or                         caused by that Covered Cause of Loss.
             authorized representatives; or


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      a. Weather Conditions. But this exclusion only                     (2) The amount of the accounts that you are
         applies if weather conditions contribute in                         able to re-establish or collect;
         any way with a cause or event excluded in                       (3) An amount to allow for probable bad
         Paragraph 1. above to produce the loss or                           debts that you are normally unable to
         damage.                                                             collect; and
      b. Acts or decisions, including the failure to act                 (4) All unearned     interest   and   service
         or decide, of any person, group,                                    charges.
         organization or governmental body.
                                                                  2. Recoveries
      c. Faulty, inadequate or defective:
                                                                     You will pay us the amount of all recoveries
        (1) Planning,       zoning,     development,                 you receive for loss or damage paid by us. But
            surveying, siting;                                       any recoveries in excess of the amount we
         (2) Design, specifications, workmanship,                    have paid belong to you.
             repair,    construction,    renovation,              3. Coinsurance
             remodeling, grading, compaction;
                                                                     If a Coinsurance percentage is shown in the
         (3) Materials used in repair, construction,                 Declarations, the following condition applies.
             renovation or remodeling; or
                                                                      We will not pay the full amount of any loss if
         (4) Maintenance;                                             the value of all accounts receivable, except
          of part or all of any property wherever                     those in transit, at the time of loss times the
          located.                                                    Coinsurance percentage shown for it in the
      d. Collapse except as provided in the                           Declarations is greater than the Limit of
         Additional Coverage – Collapse Section of                    Insurance for Coverage Applicable at All
         this Coverage Form.                                          Locations.
C. Limits Of Insurance                                                Instead, we will determine the most we will pay
                                                                      using the following steps:
   The most we will pay for loss or damage in any
   one occurrence is the applicable Limit or Sublimit                 a. Multiply the value of all accounts
   of Insurance shown in the Declarations or Sublimit                    receivable, except those in transit, at the
   shown in the Sublimits Endorsement.                                   time of loss by the Coinsurance
                                                                         percentage;
D. Additional Conditions
                                                                      b. Divide the Limit of Insurance for Coverage
   The following conditions apply in addition to the                     Applicable at All Locations by the figure
   Common Policy Conditions:                                             determined in Step (a); and
   1. Determination Of Receivables                                    c. Multiply the total amount of loss by the
      a. If you cannot accurately establish the                          figure determined in Step (b).
         amount of accounts receivable outstanding                    We will pay the amount determined in Step (c)
         as of the time of loss or damage, the                        or the Limit of Insurance, whichever is less. For
         following method will be used:                               the remainder, you will either have to rely on
         (1) Determine the total of the average                       other insurance or absorb the loss yourself.
             monthly amounts of accounts receivable                   This condition will not apply to records of
             for the 12 months immediately                            accounts receivable in transit, interest charges,
             preceding the month in which the loss or                 excess collection expenses or expenses to re-
             damage occurs; and                                       establish your records of accounts receivable.
        (2) Adjust that total for any normal                      4. Protection Of Records
            fluctuations in the amount of accounts
            receivable for the month in which the                    Whenever you are not open for business, and
            loss or damage occurred or for any                       except while you are actually using the
            demonstrated       variance   from    the                records, you must keep all records of accounts
            average for that month.                                  receivable in receptacles that are described in
                                                                     the Declarations.
      b. The following will be deducted from the total
         amount of accounts receivable, however               E. Definitions
         that amount is established:                             "Premises" means that interior portion of the
         (1) The amount of the accounts for which                building at the address shown in the Declarations
             there is no loss or damage;                         that you occupy for your business.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 Endorsement




                                             Additional Conditions




   It is hereby understood and agreed that policy premiums will become 75% earned as of June 1, 2017, at
   which point this endorsement takes precedence over any other earned premium provision which may be
   a part of this policy.




   All Other Terms and Conditions Remain Unchanged

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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                            AMENDMENT OF CANCELLATION PROVISIONS


   Item 3, Paragraph b. of Form CAT7011 (01/16), Common Policy Conditions, is amended
   to read as follows:

   We may cancel this policy for any reason by mailing or delivering to you written notice of cancellation at
   least 60 days, 10 days if our reason for cancellation is your non-payment of any premium when due,
   before the effective date of cancellation. We will mail or deliver our notice to your last mailing address
   known to us.




   All Other Terms and Conditions Remain Unchanged

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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                               ASBESTOS MATERIAL ENDORSEMENT


      This Policy does not cover loss or damage including cost or expense caused by or resulting from:

      1. Asbestos material removal unless the asbestos is itself directly damaged by fire, lightning,
         aircraft impact, explosion, riot, civil commotion, smoke, vehicle impact, windstorm or hail,
         vandalism, malicious mischief, leakage or accidental discharge from automatic fire protective
         systems;
      2. Demolition or increased cost of construction, repair, debris removal or loss of use
         necessitated by the enforcement of any law or ordinance regulating asbestos material;
      3. Any governmental direction or request declaring that asbestos material present in or part of
         or utilized on any undamaged portion of the insured’s property can no longer be used for the
         purpose for which it was intended or installed and must be removed or modified.




      All other terms and conditions of the policy remain unchanged.



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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                      COINSURANCE



   If a Coinsurance percentage is shown in the Declarations, the following condition applies:

      1. Buildings, Personal Property

         We will not pay the full amount of any loss if the value of covered property at the time of loss
         multiplied by the Coinsurance percentage stated in the Declarations is greater than the latest values
         on the Statement of Values we have in file. Instead, we will determine the most we will pay using
         the following steps:

         a. Multiply the value of Covered Property at the time of loss by the Coinsurance percentage;
         b. Divide the value on the Statement of Value of the Covered Property by the amount determined
            in step a;
         c. Multiply the total amount of loss for the Covered Property, before the application of any
            deductible, by the amount determined in step b; and
         d. Subtract the deductible from the amount determined in step c.

         We will pay the amount determined in step d, or the Limit of Insurance, whichever is less. For the
         remainder, you will either have to rely on other insurance or absorb the loss yourself.

      2. Business Income

         a. We will not pay the full amount of any loss if the value on the Statement of Value for a Covered
            Property for Business Income is less than the Coinsurance percentage shown for Business
            Income in the Declarations; multiplied by the sum of:
            (1) The Net Income (Net Profit or Loss before income taxes), and
            (2) All operating expenses, including payroll expenses, that would have been earned or
                incurred (had there been no Occurrence) by your “operations” at the described premises
                for the 12 months immediately prior to the Occurrence.

         b. Instead, we will determine the most we will pay using the following steps:
            (1) Multiply the Net Income and operating expense for the 12 months following the inception,
                 or last previous anniversary date, of this policy by the Coinsurance percentage;
            (2) Divide the Business Income value on the Statement of Value for the described premises by
                 the amount determined in step (1); and
            (3) Multiply the total amount of loss by the amount determined in step (2).

            We will pay the amount determined in step (3), or the Limit of Insurance, whichever is less. For
            the remainder, you will either have to rely on other insurance or absorb the loss yourself

         c. This condition applies to all covered loss except Extra Expense Additional Coverage, including
            any coverage provided on a replacement cost basis.




   All other terms and conditions of the policy remain unchanged.


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                                      COMMON POLICY CONDITIONS


         1.   ABANDONMENT

              There can be no abandonment of any property to us.

         2.   APPRAISAL

              If you and we disagree on the values of the covered property, your Business Income,
              Extra Expense or the amount of any loss or damage, either may make written demand for
              an appraisal of such values. In this event, each party will select a competent and
              impartial appraiser. The two appraisers will select an umpire. If they cannot agree, either
              may request that selection be made by a judge of a court having jurisdiction. The
              appraisers will state separately the value of the property, the amount of Business Income,
              Extra Expense and amount of loss or damage. If they fail to agree, they will submit their
              differences to the umpire. A decision agreed to by any two will be binding. Each party
              will:
              a. Pay its chosen appraiser; and
              b. Bear the other expenses of the appraisal and umpire equally.

              If there is an appraisal, we will still retain our right to deny the claim on the basis that it is
              not covered under the policy. No other disputes between you and us will be subject to this
              provision.

         3.   CANCELLATION

              a. You may cancel this policy by mailing or delivering to us advance written notice of
                 cancellation.
              b. We may cancel this policy for any reason by mailing or delivering to you written notice
                 of cancellation at least 30 days, 10 days if our reason for cancellation is your non-
                 payment of any premium when due, before the effective date of cancellation. We will
                 mail or deliver our notice to your last mailing address known to us.
              c. We will mail or deliver our notice to the first Named Insured’s last mailing address
                 known to us.
              d. The cancellation will be effective even if we have not made or offered a refund.
              e. If notice is mailed, proof of mailing will be sufficient proof of notice.

         4.   CHANGES

              This policy contains all the agreements between you and us concerning the insurance
              afforded. This policy's terms can be amended or waived only by endorsement issued by
              us and made a part of this policy.

         5.   CONCEALMENT, MISREPRESENTATION OR FRAUD

              This policy is void in any case of fraud by you at any time including fraud in any claim
              presented hereunder. It is also void if you or any other insured, at any time, intentionally
              conceal or misrepresent a material fact concerning:
              a. This Policy;
              b. The covered property or any Covered Property;
              c. Your interest in the Covered Property; or
              d. A claim under this policy.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         6.   DUTIES OF THE NAMED INSURED IN THE EVENT OF LOSS OR DAMAGE

              You must see that the following are done in the event of loss or damage to covered
              property:
              a. Notify the police if a law may have been broken.
              b. Give us prompt notice of the loss or damage, including a description of the covered
                  property involved.
              c. As soon as possible, give us a description of how, when and where the loss or
                  damage occurred.
              d. Take all reasonable steps to protect the covered property from further damage.
              e. If feasible, set the damaged property aside and in the best possible order for
                  examination. Also keep a record of your expenses for emergency and temporary
                  repairs, for consideration in the settlement of the claim. This will not increase the
                  Limit of Insurance.
              f. At our request, give us complete inventories of the damaged and undamaged
                  property. Include quantities, costs, values and amount of loss claimed.
              g. Permit us to inspect the property and records proving the loss or damage. Also
                  permit us to take samples of damaged and undamaged property for inspection,
                  testing and analysis, and permit us to make copies from your books and records.
              h. If requested, permit us to question you under oath at such times as may be
                  reasonably required about any matter relating to this insurance or your claim,
                  including your books and records. In such event, your answers must be signed.
              i. Send us a signed, sworn statement in proof of loss containing the information we
                  request to investigate the claim. You must do this within 60 days after our request.
                  We will supply you with the necessary forms.
              j. Cooperate with us in the investigation or settlement of the claim.
              k. Resume all or part of your “operations” as quickly as possible.

         7.   EXAMINATION OF YOUR BOOKS AND RECORDS

              We may examine and audit your books and records as they relate to this policy at any
              time during the policy period and up to three years afterward.

         8.   INSPECTIONS AND SURVEYS

              We have the right but are not obligated to:
              a. Make inspections and surveys at any time;
              b. Give you reports on the conditions we find; and
              c. Recommend changes.

              Any inspections, surveys, reports or recommendations relate only to insurability and the
              premiums to be charged. We do not make safety inspections. We do not undertake to
              perform the duty of any person or organization to provide for the health or safety of
              workers or the public, and we do not warrant that conditions are safe or healthful; or
              comply with laws, regulations, codes or standards.

         9.   INSURANCE UNDER TWO OR MORE COVERAGES

              If two or more of this policy’s coverages apply to the same loss or damage, we will not
              pay more than the actual amount of the loss or damage. We may allocate such loss or
              damage to any of such coverages at our option and in our sole discretion.

         10. CONTROL OF PROPERTY

              Any act or neglect of any person other than you beyond your direction or control will not
              affect this insurance.


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             The breach of any condition of this Policy at any one or more locations will not affect
             coverage at any location where, at the time of loss, the breach of condition does not exist.

         11. KNOWLEDGE OR CONTROL

             We will not pay for loss or damage while the chance of loss or damage is increased by
             any means within your knowledge or control.

         12. LEGAL ACTION AGAINST US

             No one may bring a legal action against us under this policy unless:
             a. There has been full compliance with all of the terms of this policy; and
             b. The action is brought within two (2) years after the Occurrence that is the subject of a
                claim.

         13. MORTGAGE HOLDERS

             Loss or damage, if any, under this policy, shall be payable to the mortgagee (or trustee)
             as interest may appear, and this insurance, as to the interest of the mortgagee (or
             trustee) only therein shall not be invalidated by any act or neglect of the mortgagor or
             owner of the within described property, nor by any foreclosure or other proceedings or
             notice of sale relating to the property, nor by any change in the title or ownership of the
             property, nor by the occupation of the premises for purposes more hazardous than are
             permitted by this policy; provided, that in case the mortgagor or owner shall neglect to
             pay any premium due under this policy, the mortgagee (or trustee) shall, on demand, pay
             the same.

             Provided also, that the mortgagee (or trustee) shall notify this Company of any change of
             ownership or occupancy or increase of hazard which shall come to the knowledge of said
             mortgagee (or trustee) and, unless permitted by this policy, it shall be noted thereon and
             the mortgagee (or trustee) shall, on demand, pay the premium for such increased hazard
             for the term of the use thereof; otherwise this policy shall be null and void.

             This Company reserves the right to cancel this policy at any time as provided by its
             terms, but in such case this policy shall continue in force for the benefit only of the
             mortgagee (or trustee) for ten days after notice to the mortgagee (or trustee) of such
             cancellation and shall then cease, and this Company shall have the right, on like notice,
             to cancel this agreement.

              Whenever this Company shall pay the mortgagee (or trustee) any sum for loss or
             damage under this policy, and shall claim that, as to the mortgagor or owner, no liability
             therefore existed, this Company shall, to the extent of such payment, be thereupon
             legally subrogated to all the rights of the party to whom such payment shall be made,
             under all securities held as collateral to the mortgage debt, or may at its option, pay to the
             mortgagee (or trustee) the whole principal due or to grow due on the mortgage, with
             interest accrued thereon to the date of such payment, and shall thereupon receive a full
             assignment and transfer of the mortgage and of all such other securities; but no
             subrogation shall impair the right of the mortgagee (or trustee) to recover the full amount
             of any claim.

         14. LIBERALIZATION

             If we adopt any revision that would broaden the coverage under this policy without
             additional premium within 45 days prior to or during the policy period, the broadened
             coverage will immediately apply to this policy.



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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         15. NO BENEFIT TO BAILEE

             No person or organization, other than you, having custody of covered property will benefit
             from this insurance.

         16. OTHER INSURANCE

             You may have other insurance subject to the same plan, terms, conditions and provisions
             as the insurance under this policy. If you do, we will only pay our share of the covered
             loss or damage. Our share is the proportion that the applicable Limit of Insurance under
             this policy bears to the Limits of Insurance of all policies covering the loss on the same
             basis.

             If there is other insurance covering the same loss or damage, other than that described
             above, we will pay only for the amount of covered loss or damage in excess of the
             amount due from that other insurance, irrespective of whether you can collect on it, but
             we will not pay more than our applicable Limit of Insurance.

             When the Condominium Association Coverage Form is hereby included in this policy, this
             insurance is primary and does not contribute to other insurance when a unit-owner has
             other insurance covering the same property.

         17. PREMIUMS

             The first Named Insured shown in the Declarations:
             a. Is responsible for the payment of all premiums; and
             b. Will be the payee for any return premiums we pay;

         18. STATEMENT OF VALUES:

             The first Named Insured is responsible for providing to us a revised “Statement of Values”
             for all Covered Property if you wish to add an additional Covered Property, and otherwise
             in the event the value of one or more Covered Property changes during the policy period.

             May at your option provide us with a revised “Statement of Values” at more frequent
             intervals, but not more than monthly, prior to a loss.

             We shall review all revised “Statement of Values”, and it is within our sole discretion
             whether to approve any additions to the list of Covered Property, or any increase in the
             value of any Covered Property. No changes in coverage shall be effective unless and
             until we have issued an endorsement reflecting approved changes to the “Statement of
             Values”. In the event we agree to changes in the “Statement of Values”, we shall
             recalculate your premium and adjust it pro rata for the remainder of the policy period. IN
             THE EVENT OF A LOSS, OUR LIABILITY WILL BE CALCULATED BASED UPON THE
             MOST RECENT “STATEMENT OF VALUES” APPROVED BY US PRIOR TO THE DATE
             OF LOSS. Additionally, we shall have the right at any time to perform our own appraisal
             of the value of a Covered Property, and to adjust your premium and amend the
             “Statement of Values” if an amendment is warranted.

         19. RECOVERED PROPERTY

             If either you or we recover any property after loss settlement, that party must give the
             other prompt notice. At your option, the property will be returned to you. You must then
             return to us the amount we paid to you for the property. We will pay recovery expenses
             and the expenses to repair the recovered property, subject to our Limit of Insurance.



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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         20. TRANSFER OF YOUR RIGHTS AND DUTIES UNDER THIS POLICY

             Your rights and duties under this policy may not be transferred without our written
             consent except in the case of death of an individual Named Insured.

             If you die, your rights and duties will be transferred to your legal representative but only
             while acting within the scope of duties as your legal representative. Until your legal
             representative is appointed, anyone having proper temporary custody of your property
             will have your rights and duties but only with respect to that property.

         21. TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US

             If any person or organization to or for whom we make payment under this policy has
             rights to recover damages from another, those rights are transferred to us to the extent of
             our payment. That person or organization must do everything necessary to secure our
             rights and must do nothing after loss to impair them. Notwithstanding the foregoing, you
             may waive your rights against another party in writing:
             a. Prior to a loss to your covered property.
             b. After a loss to your covered property only if, at time of loss, that party is one of the
                 following:
                 1) Someone insured by this policy;
                 2) A business organization owned or controlled by you;
                 3) That owns or controls you; or
                 4) Your tenant.

         22. POLICY PERIOD, COVERAGE TERRITORY

             Under this policy:
             a. We cover loss or damage commencing:
                1) During the policy period shown in the Declarations and
                2) Within the coverage territory
             b. The coverage territory is The United States of America (including its territories and
                possessions.)

         23. LOSS TO A PAIR, SET OR PANELS

             In case of loss to a pair, set or panels, we may elect to:
             a. Repair or replace any part to restore the pair, set or panels to its value before the
                 loss;
             b. Pay the difference between actual cash value of the property before and after the
                 loss;
             c. Pay in any loss involving part of a series of pieces or panels:
                 1) The reasonable cost of repairing or replacing the damaged part to match the
                     remainder as closely as possible; or

                 2) The reasonable cost of providing an acceptable decorative effect or utilization as
                    circumstances may warrant.

             However, we do not guarantee the availability of replacements, and we will not be liable,
             in the event of damage to or loss of a part, for the value, repair or replacement of the
             entire series of pieces or panels.




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY




                                               CYBER RISK EXCLUSION




Electronic Data Exclusion

Notwithstanding any provision to the contrary within the policy or any endorsement thereto, it is understood and agreed as
follows:

        a) this policy does not insure loss, damage, destruction, distortion, erasure, corruption or alteration of electronic
           data from any cause whatsoever (including but not limited to computer virus) or loss of use, reduction in
           functionality, cost, expense of whatsoever nature resulting therefrom, regardless of any other cause or event
           contributing concurrently or in any other sequence to the loss.

        b) electronic data means facts, concepts and information converted to a form useable for communications,
           interpretation or processing by electronic and electromechanical data processing or electronically controlled
           equipment and includes programs, software and other coded instructions for the processing and manipulation
           of data or the direction and manipulation of such equipment.

        c) computer virus means a set of corrupting, harmful or otherwise unauthorized instructions or code including a
           set of maliciously introduced unauthorized instructions or code, programmatic or otherwise, that propagate
           themselves through a computer system or network of whatsoever nature. Computer virus includes but is not
           limited to ‘Trojan Horses’, ‘worms’ and ‘time or logic bombs’.

Electronic Data Processing Media

Notwithstanding any provision to the contrary within the policy or any endorsement thereto, it is understood and agreed as
follows:

Should electronic data processing media insured by this policy suffer physical loss or damage insured by this policy, then
the basis of valuation shall be the cost of the blank media plus the costs of copying the electronic data from back-up or
from originals of a previous generation. These costs will not include research and engineering nor any costs of recreating,
gathering or assembling such electronic data. If the media is not repaired, replaced or restored the basis of valuation shall
be the cost of any blank media. However, this policy does not insure any amount pertaining to the value of such electronic
data to the assured or any other party, even if such electronic data cannot be recreated, gathered or assembled.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                       EARTH MOVEMENT EXCLUSION


   The following exclusion is added to the policy:

   We will not pay for loss or damage caused directly or indirectly by any of the following. Such loss or damage
   is excluded regardless of any other cause or event that contributes concurrently or in any sequence to the
   loss.

        Earthquake

            (a) Earthquake, including any earth sinking, rising or shifting related to such event;
            (b) Landslide, including any earth sinking, rising or shifting related to such event;
            (c) Mine subsidence, meaning subsidence of a man-made mine, whether or not mining activity has
                ceased;
            (d) Earth sinking (other than sinkhole collapse), rising or shifting including soil conditions which
                cause settling, cracking or other disarrangement of foundations or other parts of realty. Soil
                conditions include contraction, expansion, freezing, thawing, erosion, improperly compacted
                soil and the action of water under the ground surface.

                But if Earth Movement, as described in (a) through (d) above, results in fire or explosion, we
                will pay for the loss or damage caused by that fire or explosion.


            (e) Volcanic eruption, explosion or effusion. But if volcanic eruption, explosion or effusion results in
                fire, building glass breakage or Volcanic Action, we will pay for the loss or damage caused by
                that fire, building glass breakage or Volcanic Action.
                Volcanic action means direct loss or damage resulting from the eruption of a volcano when the
                loss or damage is caused by:
                (1) Airborne volcanic blast or airborne shock waves;
                (2) Ash, dust or particulate matter; or
                (3) Lava flow.
                 All volcanic eruptions that occur within any 72 hour period will constitute a single occurrence.
                 Volcanic action does not include the cost to remove ash, dust or particulate matter that does
                 not cause direct physical loss or damage to the described property.




   All other terms, conditions and exclusions remain unchanged.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                      EIFS or DRYVIT EXCLUSION




      ENDORSEMENT NO.
         Attached to and       Endorsement                      Insured                         Producer
      Forming Part of Policy   Effective




      It is agreed that the above policy is hereby amended as follows:

      This Policy does not cover loss or damage including cost or expense caused by or resulting from
      the design, manufacture, installation or use of EIFS (External Insulation and Finish System) or
      Synthetic Stucco, Dryvit, Synergy or Parex.

      Any such loss described above is excluded regardless of any other cause or event that
      contributed concurrently or in any sequence to the loss.




      All other terms and conditions remain unchanged.


      NOTHING HEREIN SHALL BE HELD TO VARY, ALTER, WAIVE OR EXTEND ANY OF THE
      TERMS, CONDITIONS OR LIMITATIONS OF THE POLICY TO WHICH THIS ENDORSEMENT
      IS ATTACHED OTHER THAN AS ABOVE STATED.



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                                 ELECTRONIC DATA ENDORSEMENT B


   Electronic Data Exclusion

   Notwithstanding any provision to the contrary within the policy or any endorsement thereto, it is
   understood and agreed as follows:

   A. this policy does not insure loss, damage, destruction, distortion, erasure, corruption or alteration of
      electronic data from any cause whatsoever (including but not limited to computer virus) or loss of use,
      reduction in functionality, cost, expense of whatsoever nature resulting there from, regardless of any
      other cause or event contributing concurrently or in any other sequence to the loss.

   B. electronic data means facts, concepts and information converted to a form useable for
      communications, interpretation or processing by electronic and electromechanical data processing or
      electronically controlled equipment and includes programs, software and other coded instructions for
      the processing and manipulation of data or the direction and manipulation of such equipment.

   C. computer virus means a set of corrupting, harmful or otherwise unauthorized instructions or code
      including a set of maliciously introduced unauthorized instructions or code, programmatic or
      otherwise, that propagate themselves through a computer system or network of whatsoever nature.
      Computer virus includes, but is not limited to, trojan horses, worms and time or logic bombs.


   Electronic Data Processing Media Valuation

   Notwithstanding any provision to the contrary within the policy or any endorsement thereto, it is
   understood and agreed as follows:

   Should electronic data processing media insured by this policy suffer physical loss or damage, then the
   basis of valuation shall be the cost of the blank media plus the costs of copying the electronic data from
   back-up or from originals of a previous generation. These costs will not include research and engineering
   or any costs of recreating, gathering or assembling such electronic data. If the media is not repaired,
   replaced or restored the basis of valuation shall be the cost of any blank media. However, this policy
   does not insure any amount pertaining to the value of such electronic data to the assured or any other
   party, even if such electronic data cannot be recreated, gathered or assembled.




   All Other Terms and Conditions Remain Unchanged


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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




      It is agreed that the following exclusion is added to this Policy:




                        ELECTRONIC DATE RECOGNITION EXCLUSION (EDRE)

      This Policy does not cover any loss, damage, cost, claim or expense, whether preventative,
      remedial or otherwise, directly or indirectly arising out of or relating to:

          (a) the calculation, comparison, differentiation, sequencing or processing of data involving
              the date change to the year 2000, or any other date change, including leap year
              calculations, by any computer system, hardware, program or software any/or any
              microchip, integrated circuit or similar device in computer equipment or non-computer
              equipment, whether the property of the Insured or not, or
          (b) any change, alteration or modification involving the date change to the year 2000, or any
              other date change, including leap year calculations, to any such computer system,
              hardware, program or software and/or any microchip, integrated circuit or similar device
              in computer equipment or non-computer equipment, whether the property of the Insured
              or not.

      This clause applies regardless of any other cause or event that contributes concurrently or in any
      sequence to the loss, damage, cost, claim, or expense.




      All other terms and conditions of the Policy remain unchanged.

      The policy changes provided by this endorsement shall supercede and annul any
      conflicting provisions of the policy. All other matters not affected by this endorsement
      remain the same and shall be governed by the terms and conditions of the Company’s
      policy to which this endorsement is attached.




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                                    Equipment Breakdown Exclusion



   This policy does not cover loss or damage including cost or expense caused by or resulting from the
   breakdown or derangement of mechanical or electrical machinery and/or explosion or implosion of boilers
   and/or pressure and/or vacuum vessels, where such are owned and/or operated by the Insured; nor
   against the operation of any relief valve or other safety device.

   This exclusion applies regardless of any other cause or event that contributes concurrently or in any
   sequence to any such loss damage cost or expense.




   All Other Terms and Conditions Remain Unchanged

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 EXCLUSION OF CERTAIN COMPUTER-RELATED LOSSES
This endorsement modifies insurance provided under the following:

   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   STANDARD PROPERTY POLICY

A. We will not pay for loss ("loss") or damage caused           2. Any advice, consultation, design, evaluation,
   directly or indirectly by the following. Such loss               inspection, installation, maintenance, repair,
   ("loss") or damage is excluded regardless of any                 replacement or supervision provided or done
   other cause or event that contributes concurrently               by you or for you to determine, rectify or test
   or in any sequence to the loss ("loss") or damage.               for, any potential or actual problems described
   1. The failure, malfunction or inadequacy of:                    in Paragraph A.1. of this endorsement.
       a. Any of the following, whether belonging to         B. If an excluded Cause of Loss as described in
           any insured or to others:                            Paragraph A. of this endorsement results:
          (1) Computer hardware, including micro-               1. In a Covered Cause of Loss under the Crime
               processors;                                          and Fidelity Coverage Part, the Commercial In-
                                                                    land Marine Coverage Part or the Standard
          (2) Computer application software;                        Property Policy; or
          (3) Computer operating systems and relat-             2. Under the Commercial Property Coverage
               ed software;                                         Part:
          (4) Computer networks;                                    a. In a "Specified Cause of Loss", or in eleva-
          (5) Microprocessors (computer chips) not                      tor collision resulting from mechanical
               part of any computer system; or                          breakdown, under the Causes of Loss –
                                                                        Special Form; or
          (6) Any other computerized or electronic
               equipment or components; or                          b. In a Covered Cause of Loss under the
                                                                        Causes Of Loss – Basic Form or the Caus-
       b. Any other products, and any services, data
                                                                        es Of Loss – Broad Form;
           or functions that directly or indirectly use or
           rely upon, in any manner, any of the items           we will pay only for the loss ("loss") or damage
           listed in Paragraph A.1.a. of this endorse-          caused by such "Specified Cause of Loss", eleva-
           ment;                                                tor collision, or Covered Cause of Loss.
       due to the inability to correctly recognize, pro-     C. We will not pay for repair, replacement or modifi-
       cess, distinguish, interpret or accept one or            cation of any items in Paragraphs A.1.a. and
       more dates or times. An example is the inability         A.1.b. of this endorsement to correct any deficien-
       of computer software to recognize the year               cies or change any features.
       2000.




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POLICY NUMBER:                                                                                        IL 09 53 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   STANDARD PROPERTY POLICY

                                                    SCHEDULE

The Exception Covering Certain Fire Losses (Paragraph C) applies to property located in the following state(s),
if covered under the indicated Coverage Form, Coverage Part or Policy:


                        State(s)                                Coverage Form, Coverage Part Or Policy




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following definition is added with respect to        B. The following exclusion is added:
   the provisions of this endorsement:                         CERTIFIED ACT OF TERRORISM EXCLUSION
   "Certified act of terrorism" means an act that is           We will not pay for loss or damage caused directly
   certified by the Secretary of the Treasury, in              or indirectly by a "certified act of terrorism". Such
   accordance with the provisions of the federal               loss or damage is excluded regardless of any
   Terrorism Risk Insurance Act, to be an act of               other cause or event that contributes concurrently
   terrorism pursuant to such Act. The criteria                or in any sequence to the loss.
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:    C. Exception Covering Certain Fire Losses
   1. The act resulted in insured losses in excess of          The following exception to the exclusion in
       $5 million in the aggregate, attributable to all        Paragraph B. applies only if indicated and as
       types of insurance subject to the Terrorism             indicated in the Schedule of this endorsement.
       Risk Insurance Act; and                                 If a "certified act of terrorism" results in fire, we will
   2. The act is a violent act or an act that is               pay for the loss or damage caused by that fire.
      dangerous to human life, property or                     Such coverage for fire applies only to direct loss or
      infrastructure and is committed by an individual         damage by fire to Covered Property. Therefore, for
      or individuals as part of an effort to coerce the        example, the coverage does not apply to
      civilian population of the United States or to           insurance provided under Business Income and/or
      influence the policy or affect the conduct of the        Extra Expense coverage forms or endorsements
      United States Government by coercion.                    which apply to those forms, or to the Legal Liability
                                                               Coverage Form or the Leasehold Interest
                                                               Coverage Form.




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   If aggregate insured losses attributable to terrorist   D. Application Of Other Exclusions
   acts certified under the Terrorism Risk Insurance          The terms and limitations of any terrorism
   Act exceed $100 billion in a calendar year and we          exclusion, or the inapplicability or omission of a
   have met our insurer deductible under the                  terrorism exclusion, do not serve to create
   Terrorism Risk Insurance Act, we shall not be              coverage for any loss which would otherwise be
   liable for the payment of any portion of the amount        excluded under this Coverage Part or Policy, such
   of such losses that exceeds $100 billion, and in           as losses excluded by the Nuclear Hazard
   such case insured losses up to that amount are             Exclusion or the War And Military Action
   subject to pro rata allocation in accordance with          Exclusion.
   procedures established by the Secretary of the
   Treasury.




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                                                                                    COMMERCIAL PROPERTY
                                                                                            CP 01 40 07 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY

A. The exclusion set forth in Paragraph B. applies to     D. The following provisions in this Coverage Part or
   all coverage under all forms and endorsements             Policy are hereby amended to remove reference
   that comprise this Coverage Part or Policy, includ-       to bacteria:
   ing but not limited to forms or endorsements that         1. Exclusion of "Fungus", Wet Rot, Dry Rot And
   cover property damage to buildings or personal                Bacteria; and
   property and forms or endorsements that cover
   business income, extra expense or action of civil         2. Additional Coverage – Limited Coverage for
   authority.                                                   "Fungus", Wet Rot, Dry Rot And Bacteria, in-
                                                                cluding any endorsement increasing the scope
B. We will not pay for loss or damage caused by or              or amount of coverage.
   resulting from any virus, bacterium or other micro-
   organism that induces or is capable of inducing        E. The terms of the exclusion in Paragraph B., or the
   physical distress, illness or disease.                    inapplicability of this exclusion to a particular loss,
                                                             do not serve to create coverage for any loss that
   However, this exclusion does not apply to loss or         would otherwise be excluded under this Coverage
   damage caused by or resulting from "fungus", wet          Part or Policy.
   rot or dry rot. Such loss or damage is addressed in
   a separate exclusion in this Coverage Part or Poli-
   cy.
C. With respect to any loss or damage subject to the
   exclusion in Paragraph B., such exclusion super-
   sedes any exclusion relating to "pollutants".




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                               FLOOD EXCLUSION


   The following exclusion is added to the policy:

   We will not pay for loss or damage caused directly or indirectly by any of the following. Such loss or damage
   is excluded regardless of any other cause or event that contributes concurrently or in any sequence to the
   loss.



           Flood

                (a) Flood, including but not limited to: surface water, waves, tides, tidal waves,
                    storm surge, overflow of any body of water, or their spray, all whether driven
                    by wind or not.
                 (b) Mudslide or mudflow;

                (c) Water that backs up or overflows from a sewer, drain or sump; or

                (d) Water under the ground surface pressing on, or flowing or seeping through:

                    (1)     Foundations, walls, floors or paved surfaces;

                    (2)     Basements, whether paved or not; or

                    (3)     Doors, windows or other openings.


             But if Water, as described in (a) through (d) above, results in fire, explosion or sprinkler leakage,
             we will pay for the loss or damage caused by that fire, explosion or sprinkler leakage.




   All other terms, conditions and exclusions remain unchanged.




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POLICY NUMBER:                                                                        COMMERCIAL PROPERTY
                                                                                              CP 01 91 02 10

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     FLORIDA CHANGES – RESIDENTIAL
                       CONDOMINIUM ASSOCIATIONS
This endorsement modifies insurance provided under the following:

   CONDOMINIUM ASSOCIATION COVERAGE FORM


                                                   SCHEDULE

                                  Condominium Additional Building Property
         Premises Number                    Building Number               Additional Covered Property



 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Building section is replaced by the following:                  f. Air conditioning and heating equipment,
   1. Building, meaning the building or structure                     including air conditioning compressors,
      described in the Declarations, including:                       used to service the building or structure
                                                                      including individual units and limited
      a. Additions, alterations and repairs;                          common elements;
      b. Fixtures, outside of individual units,                    g. Any other portion of the condominium
          including outdoor fixtures;                                 property located outside of individual units;
      c. Permanently installed:                                       and
         (1) Machinery; and                                       h. Additional property as described in the
         (2) Equipment;                                              Schedule or in the Declarations.
      d. Personal property owned by you that is                2. But Building does not include:
          used to maintain or service the building or             a. Any personal property within individual units
          structure or its premises, including:                      or limited common elements except as
                                                                     provided in Paragraph A.1.f. of this
         (1) Fire extinguishing equipment;
                                                                     endorsement;
         (2) Outdoor furniture;
                                                                  b. Floor coverings, wall coverings and ceiling
         (3) Floor coverings; and                                    coverings within individual units or limited
         (4) Appliances used for refrigerating,                      common elements;
              ventilating, cooking, dishwashing or                 c. Electrical fixtures, water heaters, water
              laundering that are not contained within                filters,   window    treatments,   including
              individual units;                                       curtains, drapes, blinds, hardware and
      e. If not covered by other insurance, materials,                similar window treatment components, and
          equipment,       supplies    and    temporary               built-in cabinets and countertops which are
          structures, on or within 100 feet of the                    located within an individual unit or limited
          described premises, used for making                         common elements;
          additions, alterations or repairs to the
          building or structure;




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      d. Any of the following types of property             B. With respect to the coverage provided under this
         contained inside individual units:                    Coverage Form, such coverage will be provided
        (1) Fixtures,      installations,     additions,       for all portions of the condominium property as
            improvements and alterations that are a            originally installed or replacement of like kind and
            part of the building or structure; and             quality, in accordance with the original plans and
                                                               specifications.
        (2) Appliances, such as those used for
            refrigerating, ventilating, cooking, dish-      C. With respect to Replacement Cost coverage as
            washing,      laundering,    security   or         provided under this Coverage Form, the property
            housekeeping;                                      described in Paragraph A.1.f. of this endorsement
                                                               is not considered to be the personal property of
      e. Improvements     or     additions to the              others.
         condominium property that benefit fewer
         than all unit-owners, unless otherwise
         endorsed to the policy.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        LIMITED FUNGI, WET or DRY ROT, or BACTERIA COVERAGE



   This endorsement modifies insurance provided under the following:

             Causes of Loss – NAMED STORM
             Causes of Loss – Windstorm or Hail

   It is hereby understood and agreed that the following Sublimit applies to this policy.

    The limits of liability apply to the total of all loss or costs payable under this endorsement, regardless of the number
    of "occurrences", the number of claims-made, or the number of locations insured under this endorsement and listed
    in this Schedule. This amount is included within, and is not in addition to, the applicable limit of insurance shown in
    the Declarations.
     Property Coverage Limit Of Liability for the Additional Coverage "Fungi", Wet Or Dry Rot, Or      $15,000
     Bacteria




   Additionally, the following is added to the policy:

       A.     Exclusion

             The following is added to Paragraph B. Exclusion, Exclusion h. “Fungus”, Wet Rot, Dry Rot And
             Bacteria

             This exclusion does not apply to the extent coverage is provided in the Limited Coverage for
             “Fungus”, Wet Rot, Dry Rot And Bacteria with respect to loss or damage by a covered cause of
             loss.

       B. Additional Coverage- Limited Coverage for “Fungus”, Wet Rot, Dry Rot And Bacteria

            1. The coverage described in B.2. and B.6. only applies when the "fungus", wet or dry rot or
               bacteria is the result of a “specified cause of loss” and only if all reasonable means were used
               to save and preserve the property from further damage at the time of and after that occurrence.

            2. We will pay for loss or damage by "fungus", wet or dry rot or bacteria. As used in this Limited
               Coverage, the term loss or damage means:
                   a.    Direct physical loss or damage to Covered Property caused by "fungus", wet or dry rot
                         or bacteria, including the cost of removal of the "fungus", wet or dry rot or bacteria;
                   b.    The cost to tear out and replace any part of the building or other property as needed to
                         gain access to the "fungus", wet or dry rot or bacteria; and
                   c.    The cost of testing performed after removal, repair, replacement or restoration of the
                         damaged property is completed, provided there is a reason to believe that "fungus",
                         wet or dry rot or bacteria are present.


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         3. The coverage described under B.2. of this Limited Coverage is limited to $15,000. Regardless
            of the number of claims, this limit is the most we will pay for the total of all loss or damage
            arising out of all occurrences of "specified causes of loss" which take place in a 12-month
            period (starting with the beginning of the present annual policy period). With respect to a
            particular occurrence of loss which results in "fungus", wet or dry rot or bacteria, we will not pay
            more than a total of $15,000 even if the "fungus", wet or dry rot or bacteria continues to be
            present or active, or recurs, in a later policy period.
         4. The coverage provided under this Limited Coverage does not increase the applicable Limit of
            Insurance on any Covered Property. If a particular occurrence results in loss or damage by
            "fungus", wet or dry rot or bacteria, and other loss or damage, we will not pay more, for the total
            of all loss or damage, than the applicable Limit of Insurance on the affected Covered Property.
            If there is covered loss or damage to Covered Property, not caused by "fungus", wet or dry rot
            or bacteria, loss payment will not be limited by the terms of this Limited Coverage, except to the
            extent that "fungus", wet or dry rot or bacteria causes an increase in the loss. Any such
            increase in the loss will be subject to the terms of this Limited Coverage.
         5. The following, B.5.a. or B.5.b., applies only if Business Income and/or Extra Expense coverage
            applies to the described premises and only if the "suspension" of "operations" satisfies all terms
            and conditions of the applicable Business Income and/or Extra Expense coverage form.
                a.   If the loss which resulted in "fungus", wet or dry rot or bacteria does not in itself
                     necessitate a "suspension" of "operations", but such "suspension" is necessary due to
                     loss or damage to property caused by "fungus", wet or dry rot or bacteria, then our
                     payment under Business Income and/or Extra Expense is limited to the amount of loss
                     and/or expense sustained in a period of not more than 30 days. The days need not be
                     consecutive.
                b. If a covered "suspension" of "operations" was caused by loss or damage other than
                   "fungus", wet or dry rot or bacteria but remediation of "fungus", wet or dry rot or
                   bacteria prolongs the "period of restoration", we will pay for loss and/or expense
                   sustained during the delay (regardless of when such a delay occurs during the "period
                   of restoration"), but such coverage is limited to 30 days. The days need not be
                   consecutive.




   All other terms and conditions of the policy remain unchanged.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                            MINIMUM EARNED PREMIUM ENDORSEMENT




      In the event this policy is cancelled, the earned premium shall be the greater of the applicable
      pro-rata or short rate premium or 35% of the policy premium shown herein.




      All other terms and conditions of the Policy remain unchanged.




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                                                                                                     CP 81 33 07 14

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

NUCLEAR, BIOLOGICAL, CHEMICAL AND RADIOLOGICAL
              HAZARDS EXCLUSION
This endorsement modifies insurance provided under the following:

     COMMERCIAL PROPERTY COVERAGE PART
     COMMERCIAL INLAND MARINE COVERAGE PART
     ASSET COVERAGE PART
     PREFERRED ASSET COVERAGE PART
     BUILDERS RISK COVERAGE
     COMMERCIAL OUTPUT PROGRAM
     DIFFERENCE IN CONDITIONS PROGRAM

I.   We will not pay for any loss, damage, cost or expense, whether real or alleged, that is caused, results from, is
     exacerbated by or otherwise impacted by, either directly or indirectly, any of the following:
     1) Nuclear Hazard – including, but not limited to, nuclear reaction, nuclear detonation, nuclear radiation,
        radioactive contamination and all agents, materials, products or substances, whether engineered or
        naturally occurring, involved therein or released thereby;
     2) Biological Hazard – including, but not limited to, any biological and/or poisonous or pathogenic agent,
        material, product or substance, whether engineered or naturally occurring, that induces or is capable of
        inducing physical distress, illness, or disease;
     3) Chemical Hazard – including, but not limited to, any chemical agent, material, product or substance;
     4) Radioactive Hazard – including, but not limited to, any electromagnetic, optical, or ionizing radiation or
        energy, including all generators and emitters thereof, whether engineered or naturally occurring.
II. The provisions of subparagraphs I. 2) and I. 3) will not apply where the agent, material, product or substance
    at issue is utilized in the course of business by an insured.
III. Only if and to the extent required by state law, the following exception to the exclusion in paragraph I. applies:
     If a hazard excluded under paragraph I. results in fire, we will pay for the loss, damage, cost or expense
     caused by that fire, subject to all applicable policy provisions including the Limit of Insurance on the affected
     property. Such coverage for fire applies only to direct loss or damage by fire to Covered Property. This
     coverage does not apply to insurance provided under Business Income, Rental Value or Extra Expense
     coverage forms or endorsements that apply to those coverage forms.


All other terms and conditions of this policy remain unchanged.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                        OCCURRENCE LIMIT OF LIABILITY ENDORSEMENT


      It is understood and agreed that the following special terms and conditions apply to this policy:

      1. The limit of liability or Amount of Insurance shown on the face of this policy, or endorsed onto
         this policy, is the total limit of the Company’s liability applicable to each occurrence, as
         hereafter defined. Notwithstanding any other terms and conditions of this policy to the
         contrary, in no event shall the liability of the Company exceed this limit or amount irrespective
         of the number of locations involved.

          The term “occurrence” shall mean any one loss, disaster, casualty or series of losses,
          disasters, or casualties, arising out of one event first occurring in the policy period. When the
          term applies to loss or losses from the perils of tornado, cyclone, hurricane, windstorm,
          tropical storm, named storm, hail, flood, earthquake, volcanic eruption, riot, riot attending a
          strike, civil commotion, and vandalism and malicious mischief one event shall be construed to
          be all losses arising during a continuous period of 72 hours. When filing proof of loss, the
          Insured may elect the moment at which the 72 hour period shall be deemed to have
          commenced, which shall not be earlier than the first loss to the covered property occurs.

      2. The premium for this policy is based upon the Statement of Values on file with the Company,
         or attached to this policy. In the event of loss hereunder, liability of the Company, subject to
         the terms of paragraph one (1) above, shall be limited to the least of the following:

          a. The actual adjusted amount of loss, less applicable deductible(s).
          b. 100 percent of the individually stated value for each scheduled item of property insured,
             as shown on the latest Statement of Values on file with the Company, less applicable
             deductible(s).
          c. The limit of Liability or Amount of Insurance shown on the face of this policy or endorsed
             onto this policy.




      All other terms and conditions of the policy remain unchanged.

      NOTHING HEREIN SHALL BE HELD TO VARY, ALTER, WAIVE OR EXTEND ANY OF THE
      TERMS, CONDITIONS OR LIMITATIONS OF THE POLICY TO WHICH THIS ENDORSEMENT
      IS ATTACHED OTHER THAN AS ABOVE STATED.


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POLICY NUMBER:                                                                     COMMERCIAL PROPERTY


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    ORDINANCE OR LAW COVERAGE




                                                  SCHEDULE*

                                                    Cov. B              Cov. C            Cov. B And C
  Bldg. No./                                         Limit               Limit           Combined Limit
  Prem. No.               Cov. A                   Of Insur.           Of Insur.            Of Insur.
  All / All               $Full Limits      $                   $                           $250,000**
      /                                     $                   $
      /                                     $                   $
*Information required to complete the Schedule, if not shown on this endorsement, will be shown in the
Declarations.
**Do not enter a Combined Limit of Insurance if individual Limits of Insurance are selected for Coverages B
and C, or if one of these Coverages is not applicable.


A. Each Coverage – Coverage A, Coverage B and                   2.a. The building sustains direct physical
   Coverage C – is provided under this endorsement                   damage that is covered under this policy
   only if that Coverage(s) is chosen by entry in the                and such damage results in enforcement of
   above Schedule and then only with respect to the                  the ordinance or law; or
   building identified for that Coverage(s) in the               b. The building sustains both direct physical
   Schedule.                                                         damage that is covered under this policy
B. Application Of Coverage(s)                                        and direct physical damage that is not
   The Coverage(s) provided by this endorsement                      covered under this policy, and the building
   apply only if both B.1. and B.2. are satisfied and                damage in its entirety results in
   are then subject to the qualifications set forth in               enforcement of the ordinance or law.
   B.3.                                                          c. But if the building sustains direct physical
   1. The ordinance or law:                                          damage that is not covered under this
                                                                     policy, and such damage is the subject of
      a. Regulates the demolition, construction or                   the ordinance or law, then there is no
         repair of buildings, or establishes zoning or               coverage under this endorsement even if
         land use requirements at the described                      the building has also sustained covered
         premises; and                                               direct physical damage.
       b. Is in force at the time of loss.                    3. In the situation described in B.2.b. above, we
   But coverage under this endorsement applies only              will not pay the full amount of loss otherwise
   in response to the minimum requirements of the                payable under the terms of Coverages A, B,
   ordinance or law. Losses and costs incurred in                and/or C of this endorsement. Instead, we will
   complying with recommended actions or                         pay a proportion of such loss; meaning the
   standards that exceed actual requirements are not             proportion that the covered direct physical
   covered under this endorsement.                               damage bears to the total direct physical
                                                                 damage.




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       (Section H. of this endorsement provides an             3. Coverage C – Increased Cost Of
       example of this procedure.)                                Construction Coverage
      However, if the covered direct physical                     a. With respect to the building that has
      damage, alone, would have resulted in                          sustained covered direct physical damage,
      enforcement of the ordinance or law, then we                   we will pay the increased cost to:
      will pay the full amount of loss otherwise                     (1) Repair or reconstruct damaged portions
      payable under the terms of Coverages A, B                          of that building; and/or
      and/or C of this endorsement.
                                                                     (2) Reconstruct or remodel undamaged
C. We will not pay under Coverage A, B or C of this                      portions of that building, whether or not
   endorsement for:                                                      demolition is required;
   1. Enforcement of any ordinance or law which                      when the increased cost is a consequence
      requires the demolition, repair, replacement,                  of    enforcement     of   the     minimum
      reconstruction, remodeling or remediation of                   requirements of the ordinance or law.
      property due to contamination by "pollutants" or
      due to the presence, growth, proliferation,                     However:
      spread or any activity of "fungus", wet or dry rot             (1) This coverage applies only if the
      or bacteria; or                                                    restored or remodeled property is
   2. The costs associated with the enforcement of                       intended for similar occupancy as the
      any ordinance or law which requires any                            current property, unless such occupancy
      insured or others to test for, monitor, clean up,                  is not permitted by zoning or land use
      remove, contain, treat, detoxify or neutralize, or                 ordinance or law.
      in any way respond to, or assess the effects of                (2) We will not pay for the increased cost of
      "pollutants", "fungus", wet or dry rot or bacteria.                construction if the building is not
D. Coverage                                                              repaired, reconstructed or remodeled.
   1. Coverage A – Coverage For Loss To The                       Coverage C is included within the Limit of
      Undamaged Portion Of The Building                           Insurance shown in the Declarations as
                                                                  applicable to the Increased Cost of
       With respect to the building that has sustained            Construction Coverage. Coverage C does not
       covered direct physical damage, we will pay                increase the Limit of Insurance.
       under Coverage A for the loss in value of the
       undamaged portion of the building as a
       consequence of enforcement of an ordinance                    The Coinsurance Additional Condition does
       or law that requires demolition of undamaged                  not apply to Increased Cost of Construction
       parts of the same building.                                   Coverage.
       Coverage A is included within the Limit of                 b. When a building is damaged or destroyed
       Insurance shown in the Declarations as                        and Coverage C applies to that building in
       applicable to the covered building. Coverage A                accordance with 3.a. above, coverage for
       does not increase the Limit of Insurance.                     the increased cost of construction also
   2. Coverage B – Demolition Cost Coverage                          applies to repair or reconstruction of the
                                                                     following, subject to the same conditions
      With respect to the building that has sustained                stated in 3.a.:
      covered direct physical damage, we will pay
      the cost to demolish and clear the site of                    (1) The cost of excavations, grading,
      undamaged parts of the same building, as a                         backfilling and filling;
      consequence of enforcement of an ordinance                     (2) Foundation of the building;
      or law that requires demolition of such                        (3) Pilings; and
      undamaged property.
                                                                     (4) Underground pipes, flues and drains.
      Coverage B is included within the Limit of
      Insurance shown in the Declarations as                          The items listed in b.(1) through b.(4)
      applicable to the Demolition coverage.                          above are deleted from Property Not
      Coverage B does not increase the Limit of                       Covered, but only with respect to the
      Insurance.                                                      coverage described in this Provision, 3.b.
                                                            E. Loss Payment
       The Coinsurance Additional Condition does not           1. All following loss payment Provisions, E.2.
       apply to Demolition Cost Coverage.                         through E.5., are subject to the apportionment
                                                                  procedures set forth in Section B.3. of this
                                                                  endorsement.




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   2. When there is a loss in value of an undamaged         b. If the building is repaired or replaced at the
      portion of a building to which Coverage A                same premises, or if you elect to rebuild at
      applies, the loss payment for that building,             another premises, the most we will pay
      including damaged and undamaged portions,                under Coverage C is the lesser of:
      will be determined as follows:                           (1) The increased cost of construction at
      a. If the Replacement Cost Coverage Option                   the same premises; or
         applies and the property is being repaired            (2) The applicable Limit of Insurance shown
         or replaced, on the same or another                       for Coverage C in the Schedule above.
         premises, we will not pay more than the
         lesser of:                                         c. If the ordinance or law requires relocation to
                                                               another premises, the most we will pay
         (1) The amount you would actually spend to            under Coverage C is the lesser of:
             repair, rebuild or reconstruct the
             building, but not for more than the               (1) The increased cost of construction at
             amount it would cost to restore the                   the new premises; or
             building on the same premises and to              (2) The applicable Limit of Insurance shown
             the same height, floor area, style and                for Coverage C in the Schedule above.
             comparable quality of the original          5. If a Combined Limit of Insurance is shown for
             property insured; or                           Coverages B and C in the Schedule above,
         (2) The Limit of Insurance shown in the            Paragraphs E.3. and E.4. of this endorsement
             Declarations as applicable to the              do not apply with respect to the building that is
             covered building.                              subject to the Combined Limit, and the
      b. If the Replacement Cost Coverage Option            following loss payment provisions apply
         applies and the property is not repaired or        instead:
         replaced, or if the Replacement Cost               The most we will pay, for the total of all
         Coverage Option does not apply, we will            covered losses for Demolition Cost and
         not pay more than the lesser of:                   Increased Cost of Construction, is the
         (1) The actual cash value of the building at       Combined Limit of Insurance shown for
             the time of loss; or                           Coverages B and C in the Schedule above.
                                                            Subject to this Combined Limit of Insurance,
         (2) The Limit of Insurance shown in the            the following loss payment provisions apply:
             Declarations as applicable to the
             covered building.                              a. For Demolition Cost, we will not pay more
                                                                than the amount you actually spend to
   3. Unless Paragraph E.5. applies, loss payment               demolish and clear the site of the described
      under Coverage B – Demolition Cost Coverage               premises.
      will be determined as follows:
                                                            b. With respect to the Increased Cost of
      We will not pay more than the lesser of the              Construction:
      following:
                                                               (1) We will not pay for the increased cost of
      a. The amount you actually spend to demolish                 construction:
         and clear the site of the described
         premises; or                                             (a) Until the property is actually repaired
                                                                      or replaced, at the same or another
      b. The applicable Limit of Insurance shown for                  premises; and
         Coverage B in the Schedule above.
                                                                  (b) Unless the repairs or replacement
   4. Unless Paragraph E.5. applies, loss payment                       are made as soon as reasonably
      under Coverage C – Increased Cost of                              possible after the loss or damage,
      Construction Coverage will be determined as                       not to exceed two years. We may
      follows:                                                          extend this period in writing during
      a. We will not pay under Coverage C:                              the two years.
        (1) Until the property is actually repaired or         (2) If the building is repaired or replaced at
            replaced, at the same or another                       the same premises, or if you elect to
            premises; and                                          rebuild at another premises, the most
         (2) Unless the repairs or replacement are                 we will pay for the increased cost of
             made as soon as reasonably possible                   construction is the increased cost of
             after the loss or damage, not to exceed               construction at the same premises.
             two years. We may extend this period in
             writing during the two years.




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         (3) If the ordinance or law requires             Step 1:
             relocation to another premises, the most        Determine the proportion that the covered
             we will pay for the increased cost of           direct physical damage bears to the total direct
             construction is the increased cost of           physical damage.
             construction at the new premises.
                                                                 $30,000  $100,000 = .30
F. The terms of this endorsement apply separately to
   each building to which this endorsement applies.       Step 2:
G. Under this endorsement we will not pay for loss           Apply that proportion to the Ordinance or Law
   due to any ordinance or law that:                         loss.
   1. You were required to comply with before the                $60,000 x .30 = $18,000
      loss, even if the building was undamaged; and       In this example, the most we will pay under this
   2. You failed to comply with.                          endorsement for the Coverage C loss is $18,000,
                                                          subject to the applicable Limit of Insurance and
H. Example of Proportionate Loss Payment for              any other applicable provisions.
   Ordinance Or Law Coverage Losses (procedure
   as set forth in Section B.3. of this endorsement.)     Note: The same procedure applies to losses
                                                          under Coverages A and B of this endorsement.
   Assume:
                                                        I. The following definition is added:
    Wind is a Covered Cause of Loss; Flood is an
      excluded Cause of Loss                               "Fungus" means any type or form of fungus,
                                                           including mold or mildew, and any mycotoxins,
    The building has a value of $200,000                  spores, scents or by-products produced or
    Total direct physical damage to building:             released by fungi.
     $100,000
    The ordinance or law in this jurisdiction is
     enforced when building damage equals or
     exceeds 50% of the building's value
    Portion of direct physical damage that is
     covered (caused by wind): $30,000
    Portion of direct physical damage that is not
     covered (caused by flood): $70,000
    Loss under Ordinance Or Law Coverage C of
     this endorsement: $60,000




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                  PERMISSION FOR EXCESS INSURANCE




      In consideration of the rate and premium for which this policy is written, the following additional
      provisions are hereby made a part of this policy superseding any provisions to the contrary:



          1. EXCESS INSURANCE: Permission is hereby granted to purchase insurance in excess of
             the amount (Limit of Insurance) stated in this policy. Such excess insurance shall not be
             considered Other Insurance for the purposes of the “Other Insurance” clause.

          2. Any COINSURANCE CLAUSE in this policy is deleted.

          3. Any reference to PRO RATA LIABILITY, PRO RATA DISTRIBUTION or any other
             apportionment clause is hereby deleted.

          4. SALVAGE AND RECOVERIES: This clause is amended to include the following:
             When, in connection with any loss hereunder, any salvage or recovery is received
             subsequent to the payment of such loss, the loss shall be figured on the basis on which it
             would have been settled had the amount of salvage or recovery been known at the time
             the loss was originally determined.




      All other terms and conditions of the policy remain unchanged.



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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                   Pre-Existing Damage Endorsement




      It is understood and agreed that this policy shall exclude any loss or damage directly or indirectly
      caused by, resulting from or contributed to by any pre-existing damage to any covered property,
      at the time of the loss.




      All other terms and conditions of the Policy remain unchanged.




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            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  SEEPAGE AND/OR POLLUTION AND/OR CONTAMINATION EXCLUSION


Notwithstanding any provision to the contrary within the policy of which this endorsement forms part (or within any
other endorsement which forms part of this policy), this policy does not Insure land (including but not limited to land
on which the Insured property is located), water or air, howsoever and wherever occurring, or any interest or right
therein.

Seepage And/Or Pollution And/Or Contamination Exclusion

Notwithstanding any provision to the contrary within the policy of which this endorsement forms part (or within any
other endorsement which forms part of this policy), this policy does not Insure:

1. any loss, damage, cost or expense, or

2. any increase in Insured loss, damage, cost or expense, or

3. any loss, damage, cost, expense, fine or penalty, which is incurred, sustained or imposed by order, direction
   instruction or request of, or by any agreement with, any court, government agency or any public, civil or military
   authority, or threat thereof, (and whether or not as a result of public or private litigation),

    which arises from any kind of seepage or any kind of pollution and/or contamination, or threat thereof, whether or
    not caused by or resulting from a peril Insured, or from steps or measures taken in connection with the avoidance,
    prevention, abatement, mitigation, remediation, clean-up or removal of such seepage or pollution and/or
    contamination or threat thereof.

    The term “any kind of seepage or any kind of pollution and/or contamination” as used in this endorsement
    includes (but is not limited to):

1. Seepage of, or pollution and/or contamination by anything, including but not limited to, any material designated as
   a “hazardous substance” by the United States Environmental Protection Agency or a “hazardous material” by the
   United States Department of Transportation, or defined as a “toxic substance” by the Canadian Environmental
   Protection Act for the purposes of part II of that act, or any substance designated or defined as toxic, dangerous,
   hazardous or deleterious to persons or the environment under any other federal, state, provincial, municipal or
   other law ordinance or regulation; and

2. the presence, existence, or release of anything which endangers or threatens to endanger the health, safety or
   welfare of persons or the environment.




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                        Sublimits Endorsement – Condominium Associations

   It is hereby understood and agreed that the following additional items are covered on the policy with these
   stated sublimits, which are included within, and are not in addition to the applicable limit of insurance
   shown in the Declarations.

   Back Up of Sewers and Drains - $25,000
   Debris Removal Additional Expense - $100,000
   Preservation of Property – 30 days and $25,000
   Fire Department Service Charge - $10,000
   Fire Extinguisher Recharge - $5,000
   Pollutant Clean-Up And Removal - $50,000
   Increased Cost of Construction – See CAT7052
   Electronic Data - $50,000
   Newly Acquired or Constructed Property - Buildings: $250,000
   Newly Acquired or Constructed Property – Your Business Personal Property: $100,000
   Personal Effects and Property of Others - $50,000
   Property Off – Premises - $25,000
   Outdoor Property – $10,000 but not more than $500 for any one tree, shrub or plant
   Non – Owned Detached Trailers - $5,000
   Business Personal Property Temporarily in Portable Storage Units - $10,000
   Outdoor Signs - $10,000 per sign
   Limited Coverage for “Fungus”, Wet Rot, Dry Rot and Bacteria – See CAT7070. Limit is annual
   aggregate.
   Property In Transit – $5,000
   Lost (Or Theft Of) Key Consequential Loss - $5,000
   Fine Arts - $25,000
   Valuable Papers - $50,000 (See Valuable Papers and Records Coverage Form attached to policy)
   Accounts Receivable - $50,000 (See Accounts Receivable Coverage Form attached to policy)

   It is also agreed and understood that the following policy language applies:

   Back Up of Sewers and Drains
   We will pay, under this Additional Coverage, for direct physical loss of or damage to Covered Property at
   the premises described in the Declarations caused by water that backs up from sewers or drains. For
   purposes of this Additional Coverage only, Subparagraph B.1.g.(3) of the Causes of Loss – Special Form
   is deleted in its entirety.

   The most we will pay for loss or damage under this Additional Coverage is the limit shown above, subject
   to the All Other Perils deductible.

   The limited coverage for water that backs up from sewers or drains does not constitute a Covered Cause
   of Loss under the Business Income (And Extra Expense) Coverage Form, or any other coverage forms
   issued by us, and exclusion B.1.g. Water in the Causes of Loss – Special Form continues to apply to all
   such Coverage Forms.




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   Debris Removal Additional Expense
   Under the Condominium Association Coverage Form, the additional $25,000 Limit of Insurance in
   Subparagraph A.4.a(4) of the Debris Removal Additional Coverage is deleted and replaced with the limit
   shown above.

   Preservation of Property
   Under the Building and Personal Property Coverage Form, the number of days in Subparagraph A.4.b (2)
   is deleted and replaced with the number of days and limit shown above.

   Fire Department Service Charge
   Under the Condominium Association Coverage Form, the $1,000 Limit of Insurance in the lead-to
   Subparagraph A.4.c. of the Fire Department Service Charge Additional Coverage is deleted and replaced
   with the limit shown above.

   Fire Extinguisher Recharge
   We will pay for the loss and disposal of fire extinguishing materials expended for other than portable fire
   extinguishers. The most we will pay is the limit shown above, subject to the All Other Perils deductible.

   Pollutant Clean-Up And Removal
   Under the Condominium Association Coverage Form, the $10,000 Limit of Insurance in Subparagraph
   A.4.d. of the Pollutant Clean-Up and Removal Additional Coverage is deleted and replaced with the limit
   shown above.

   Increased Cost of Construction
   Under the Building and Personal Property Coverage Form, the $10,000 Limit of Insurance in
   Subparagraph A.4.e (6) of the Increased Cost of Construction Additional Coverage is deleted and
   replaced with the limit shown above.

   Electronic Data
   Under the Condominium Association Coverage Form, the $2,500 Limit of Insurance in Subparagraph
   A.4.f.(4) of the Electronic Data Additional Coverage is deleted and replaced with the limit shown above.

   Newly Acquired or Constructed Property - Buildings
   Under the Building and Personal Property Coverage Form, the $250,000 Limit of Insurance in
   Subparagraph A.5.a (1) of the Newly Acquired or Constructed Property – Buildings Coverage Extension
   is deleted and replaced with the limit shown above.

   Newly Acquired or Constructed Property – Your Business Personal Property
   Under the Building and Personal Property Coverage Form, the $100,000 Limit of Insurance in
   Subparagraph A.5.a (2) of the Newly Acquired or Constructed – Your Business Personal Property
   Coverage Extension is deleted and replaced with the limit shown above.

   Personal Effects and Property of Others
   Under the Condominium Association Coverage Form, the $2,500 Limit of Insurance in Subparagraph
   A.5.b. of the Personal Effects and Property of Others Coverage Extension is deleted and replaced with
   the limit shown above.


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   Property Off - Premises
   Under the Building and Personal Property Coverage Form, the $10,000 Limit of Insurance in
   Subparagraph A.5.d (3) of the Property Off – Premises Coverage Extension is deleted and replaced with
   the limit shown above.



   Outdoor Property
   Under the Condominium Association Coverage Form, the $1,000/$250 Limit of Insurance in
   Subparagraph A.5.e. of the Outdoor Property Coverage Extension is deleted and replaced with the limit
   shown above.

   Non – Owned Detached Trailers
   Under the Building and Personal Property Coverage Form, the $5,000 Limit of Insurance in
   Subparagraph A.5.f (3) of the Non – Owned Detached Trailers Coverage Extension is deleted and
   replaced with the limit shown above.

   Business Personal Property Temporarily in Portable Storage Units
   Under the Building and Personal Property Coverage Form, the $10,000 Limit of Insurance in
   Subparagraph A.5.g (4) of the Business Personal Property Temporarily in Portable Storage Units
   Coverage Extension is deleted and replaced with the limit shown above.

   Outdoor Signs
   Under the Building and Personal Property Coverage Form, the $2,500 Limit of Insurance in Paragraph C.
   Limits of Insurance, is deleted and replaced with the limit shown above.

   Limited Coverage for “Fungus”, Wet Rot, Dry Rot and Bacteria
   Under the Causes of Loss - Special Coverage Form, the $15,000 Limit of Insurance in Subparagraph E.3.
   Additional Coverage – Limited Coverage for “Fungus”, Wet Rot, Dry Rot and Bacteria, is deleted and
   replaced with the limit shown above.

   Property in Transit
   Under the Causes of Loss - Special Coverage Form, the $5,000 Limit of Insurance in Subparagraph F.1.c
   Property in Transit Coverage extension is deleted and replaced with the limit shown above.

   Lost (Or Theft Of) Keys Consequential Loss
   We will pay for the loss or theft of keys to your premises. The coverage for lost or theft of keys applies
   only to:
   1. The actual cost of the keys;
   2. Adjustment of locks to accept new keys; and
   3. The cost of new locks, including the cost of their installation.

   The most we will pay is the limit shown above, subject to the All Other Perils deductible.




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   Fine Arts
   You may extend the insurance that applies to Your Business Personal Property under the Condominium
   Association Coverage Form to apply to loss or damage to fine arts. This extension applies to direct
   physical loss or damage to Fine Arts caused by a Covered Cause of Loss including fine arts while:

   1. Temporarily on display or exhibit away from the described premises; or
   2. In transit between the described premises and a location where the fine arts will be temporarily on
   display or exhibit.

   However, this Extension does not apply to loss or damage to contraband or property in the course of
   illegal transportation or trade.

   We will determine the value of fine arts under this extension, in the event of loss or damage at the market
   value at the time of loss or damage.

   The most we will pay is the limit shown above, subject to the All Other Perils deductible.




   All Other Terms and Conditions Remain Unchanged.

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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                       TOXIC DRYWALL EXCLUSION

   This insurance does not apply to any claim or liability arising out of, caused by, or attributable to, whether
   in whole or in part, the manufacture, sale, distribution, use, installation, repair, removal, disposal,
   presence of or service of sheetrock, gypsum board, wallboard, or any similar product which:

   1. was manufactured in or distributed from China; or
   2. emits hydrogen sulfide (H2S), sulfur dioxide (SO2), Strontium Sulfide (SrS), or Carbonyl Sulfide
      (COS) (collectively referred to as “Toxic Drywall”).

   In addition, there is no coverage under the policy for the following:

   1. “Toxic Drywall” material removal unless the “Toxic Drywall” is itself first damaged by a covered cause
      of loss;
   2. Demolition or increased cost of construction, repair, debris removal or loss of use necessitated by the
      enforcement of any law or ordinance regulating “Toxic Drywall” material;
   3. Any governmental direction or request declaring that “Toxic Drywall” material present in or part of or
      utilized on any undamaged portion of the insured’s property can no longer be used for the purpose for
      which it was intended or installed and must be removed or modified.
   4. The cost or expense of testing fo or monitoring emissions.

   We shall have no duty to defend or indemnify any insured against any loss, claim, “suit” or other
   proceeding alleging damages to which this exclusion applies.




   All other terms and conditions of the policy remain unchanged.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  TOXIC MATERIALS ENDORSEMENT



      This policy does not cover loss or damage including cost or expense caused by or resulting from
      the actual, alleged or threatened release or escape of any solid, liquid or gaseous material that is
      toxic or poisonous to humans or animals, (“toxic materials”), including but not limited to dioxin,
      polychlorinated biphenyls and lead.

      This exclusion also applies to:

          1. The removal of toxic materials from any structure, fixture, item of personal property or
             product;

          2. Any demolition or increased cost of construction, repair, debris removal or loss of use
             necessitated by the enforcement of any law or ordinance regulating toxic materials;

          3. Any governmental direction or request declaring that toxic materials present in or part of
             or utilized on any undamaged portion of the insured’s property can no longer be used for
             the purpose for which it was intended or installed and must be removed or modified.

          4. The testing for or monitoring toxic materials.


      This exclusion applies regardless of any other cause or event that contributes concurrently or in
      any sequence to any such loss, damage cost or expense.




      All other terms and conditions of the policy remain unchanged.

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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       VALUABLE PAPERS AND RECORDS COVERAGE FORM


Various provisions in this policy restrict coverage.                  a. Fire; lightning; windstorm; hail; explosion;
Read the entire policy carefully to determine rights,                    smoke; aircraft; vehicles; riot; civil
duties and what is and is not covered.                                   commotion; vandalism; leakage from fire
Throughout this policy, the words "you" and "your"                       extinguishing equipment; sinkhole collapse;
refer to the Named Insured shown in the Declarations.                    volcanic action; breakage of building glass;
The words "we", "us" and "our" refer to the Company                      falling objects; weight of snow, ice or sleet;
providing this insurance.                                                water damage; earthquake; all only as
                                                                         insured against in this Coverage Form;
Other words and phrases that appear in quotation
marks have special meaning. Refer to Section F –                      b. Decay that is hidden from view, unless the
Definitions.                                                             presence of such decay is known to an
                                                                         insured prior to collapse;
A. Coverage
                                                                      c. Insect or vermin damage that is hidden
   We will pay for direct physical loss of or damage to                  from view, unless the presence of such
   Covered Property from any of the Covered                              damage is known to an insured prior to
   Causes of Loss.                                                       collapse;
   1. Covered Property, as used in this Coverage                      d. Weight of people or personal property;
      Form, means "valuable papers and records"
      that are your property or property of others in                 e. Weight of rain that collects on a roof;
      your care, custody or control.                                   f. Use of defective materials or methods in
   2. Property Not Covered                                                construction, remodeling or renovation if the
                                                                          collapse occurs during the course of the
      Covered Property does not include:                                  construction, remodeling or renovation.
      a. Property not specifically declared and                           However, if the collapse occurs after
         described in the Declarations if such                            construction, remodeling or renovation is
         property cannot be replaced with other                           complete and is caused in part by a cause
         property of like kind and quality;                               of loss listed in Paragraphs a. through e.,
      b. Property held as samples or for delivery                         we will pay for the loss or damage even if
         after sale;                                                      use of defective material or methods, in
                                                                          construction, remodeling or renovation,
       c. Property in storage away from the                               contributes to the collapse.
          "premises" shown in the Declarations; or
                                                                      This Additional Coverage does not increase
      d. Contraband, or property in the course of                     the Limits of Insurance provided in this
         illegal transportation or trade.                             Coverage Form.
   3. Covered Causes Of Loss                                      5. Coverage Extensions
      Covered Causes of Loss means RISKS OF                          a. Removal
      DIRECT PHYSICAL LOSS OR DAMAGE to
      Covered Property except those causes of loss                      If you give us written notice within 10 days
                                                                        of removal of your "valuable papers and
      listed in the Exclusions.
                                                                        records" because of imminent danger of
   4. Additional Coverage – Collapse                                    loss or damage, we will pay for loss or
      We will pay for direct physical loss or damage                    damage while it is:
      to Covered Property, caused by collapse of a                       (1) At a safe place away from your
      building or any part of a building that contains                       "premises"; or
      Covered Property insured under this Coverage
      Form, if the collapse is caused by one or more                     (2) Being taken to and returned from that
                                                                             place.
      of the following:

                                                                          This Coverage Extension is included within
                                                                          the Limits of Insurance applicable to the
                                                                          "premises" from which the Covered
                                                                          Property is removed.


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      b. Away From Your Premises                                      b. Dishonest or criminal act committed by:
          We will pay up to $5,000 for loss or damage                    (1) You, any of your partners, employees,
          to Covered Property while it is away from                          directors,   trustees, or authorized
          your "premises".                                                   representatives;
          But if a higher Limit of Insurance is                          (2) A manager or a member if you are a
          specified in the Declarations, the higher                          limited liability company;
          limit will apply.                                              (3) Anyone else with an interest in the
          The limit for this Coverage Extension is                           property, or their employees or
          additional insurance.                                              authorized representatives; or
B. Exclusions                                                            (4) Anyone else to whom the property is
   1. We will not pay for loss or damage caused                              entrusted for any purpose.
      directly or indirectly by any of the following.                     This exclusion applies whether or not such
      Such loss or damage is excluded regardless of                       persons are acting alone or in collusion with
      any other cause or event that contributes                           other persons or such acts occur during the
      concurrently or in any sequence to the loss.                        hours of employment.
      a. Governmental Action                                              This exclusion does not apply to Covered
         Seizure or destruction of property by order                      Property that is entrusted to others who are
         of governmental authority.                                       carriers for hire or to acts of destruction by
                                                                          your employees. But theft by employees is
         But we will pay for loss or damage caused                        not covered.
         by or resulting from acts of destruction
         ordered by governmental authority and                        c. Errors or omissions in processing or
         taken at the time of a fire to prevent its                      copying.
         spread if the fire would be covered under                       But if errors or omissions in processing or
         this Coverage Form.                                             copying result in fire or explosion, we will
      b. Nuclear Hazard                                                  pay for the direct loss or damage caused by
                                                                         that fire or explosion if the fire or explosion
        (1) Any weapon employing atomic fission or                       would be covered under this Coverage
             fusion; or                                                  Form.
        (2) Nuclear reaction or radiation, or                         d. Electrical or magnetic injury, disturbance or
            radioactive contamination from any                           erasure of electronic recordings.
            other cause. But if nuclear reaction or
            radiation, or radioactive contamination                       But we will pay for direct loss or damage
            results in fire, we will pay for the direct                   caused by lightning.
            loss or damage caused by that fire if the                 e. Voluntary parting with any property by you
            fire would be covered under this                             or anyone entrusted with the property if
            Coverage Form.                                               induced to do so by any fraudulent scheme,
      c. War And Military Action                                         trick, device or false pretense.
        (1) War, including undeclared or civil war;                    f. Unauthorized instructions to transfer
                                                                          property to any person or to any place.
        (2) Warlike action by a military force,
            including action in hindering or                          g. Neglect of an insured to use all reasonable
            defending against an actual or expected                      means to save and preserve property from
            attack, by any government, sovereign or                      further damage at and after the time of loss.
            other authority using military personnel              3. We will not pay for loss or damage caused by
            or other agents; or                                      or resulting from any of the following. But if loss
        (3) Insurrection,     rebellion,    revolution,              or damage by a Covered Cause of Loss
            usurped power or action taken by                         results, we will pay for the loss or damage
            governmental authority in hindering or                   caused by that Covered Cause of Loss.
            defending against any of these.                           a. Weather Conditions. But this exclusion only
      Exclusions B.1.a. through B.1.c. apply whether                     applies if weather conditions contribute in
      or not the loss event results in widespread                        any way with a cause or event excluded in
      damage or affects a substantial area.                              Paragraph 1. above to produce the loss or
                                                                         damage.
   2. We will not pay for loss or damage caused by
      or resulting from any of the following:                         b. Acts or decisions, including the failure to act
                                                                         or decide, of any person, group,
      a. Delay, loss of use, loss of market or any                       organization or governmental body.
         other consequential loss.


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       c. Faulty, inadequate or defective:                            Whenever you are not open for business, and
         (1) Planning,       zoning,     development,                 except while you are actually using the
             surveying, siting;                                       property, you must keep all "valuable papers
                                                                      and records" in receptacles that are described
         (2) Design, specifications, workmanship,                     in the Declarations.
             repair,    construction,    renovation,
             remodeling, grading, compaction;                 F. Definitions
         (3) Materials used in repair, construction,             1. "Valuable papers and records" means
             renovation or remodeling; or                           inscribed, printed or written documents,
                                                                    manuscripts or records, including abstracts,
         (4) Maintenance;                                           books, deeds, drawings, films, maps or
          of part or all of any property wherever                   mortgages.
          located.                                                    But "valuable papers and records" does not
      d. Collapse except as provided in the                           mean "money" or "securities", converted data,
         Additional Coverage – Collapse Section of                    programs or instructions used in your data
         this Coverage Form.                                          processing operations, including the materials
                                                                      on which the data is recorded.
       e. Wear and tear, any quality in the property
          that causes it to damage or destroy itself,             2. "Premises" means that interior portion of the
          gradual deterioration; insects, vermin or                  building at the address shown in the
          rodents.                                                   Declarations that you occupy for your
                                                                     business.
C. Limits Of Insurance
                                                                  3. "Money" means:
   The most we will pay for loss or damage in any
   one occurrence is the applicable Limit or Sublimit                a. Currency, coins and bank notes whether or
   of Insurance shown in the Declarations or Sublimit                   not in current use; and
   shown in the Sublimits Endorsement.                                b. Travelers checks, register checks and
D. Deductible                                                            money orders held for sale to the public.
   We will not pay for loss or damage in any one                  4. "Securities" means negotiable and non-
   occurrence until the amount of the adjusted loss or               negotiable     instruments    or    contracts
   damage before applying the applicable Limits of                   representing either "money" or other property
   Insurance exceeds the Deductible shown in the                     and includes:
   Declarations. We will then pay the amount of the                   a. Tokens, tickets, revenue and other stamps
   adjusted loss or damage in excess of the                              whether or not in current use; and
   Deductible, up to the applicable Limit of Insurance.
                                                                      b. Evidences of debt issued in connection with
E. Additional Conditions                                                 credit or charge cards, which cards are not
   The following apply in addition to the Common                         of your own issue;
   Policy Conditions:                                                     but does not include "money".
   1. Valuation – Specifically Declared Items
      The value of each item of property that is
      specifically declared and described in the
      Declarations is the applicable Limit of
      Insurance shown in the Declarations for that
      item.
   2. Recoveries
      If either you or we recover any property after
      loss settlement, that party must give the other
      prompt notice. At your option, the property will
      be returned to you. If so, your loss or damage
      will be readjusted based on the amount you
      received for the property recovered, with
      allowance for recovery expenses incurred.
   3. Protection Of Records




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                     WAR AND CIVIL WAR EXCLUSION CLAUSE



Notwithstanding anything to the contrary contained herein this policy does not cover loss or damage directly or indirectly
occasioned by, happening through or in consequence of war, invasion, acts of foreign enemies, hostilities (whether war be
declared or not), civil war, rebellion, revolution, insurrection, military or usurped power or confiscation or nationalisation or
requisition or destruction of or damage to property by or under the order of any government or public or local authority.




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                                       EXHIBIT "3"




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                                                                     Rockhill - St. Louis Condo Assoc. - Claim File - 000444
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   DLT BUILDING ADVISORS                                                                       ST LOUIS BRICKELL KEY CONDO ASSOC
   3470 North Miami Avenue                                    State of Florida CGC                          800 Claughton Island Drive
   Upper Suite                                                       058081                                      Miami, Florida 33131
   Miami, Florida 33127
                                     BUILDING RESTORATION ESTIMATE - DETAIL
   Property Inspecte800 Claughton Island Drive                Total GSF                                ELEVATION
   Location:       Miami, Florida 33131                       128420.60       NORTH           SOUTH             EAST          WEST
   Owner:          St Louis Brickell Key Condo Association     Stucco
                                                                              3157.66         3157.66          9684.40      9684.40
   Stories         31                                         Concrete
   Total Units     130                                        Window
                                                                             12630.64         12630.64         38737.60     38737.60
   Claim Category: Hurricane Irma - WIND                       Glass
   Estimate Date: October 27, 2017
                                                               TOTAL         15788.30         15788.30         48422.00     48422.00
   Prepared By:    Hector Torres CGC 058081 -C:754.581.2475

         CSI       Trade                                       UNIT            Qty            Unit Cost                     Subtotal
        1100       Equipment
          1        Heavy Equipment Rental - Swing Stage          6             MTHS           $36,000                            $216,000
          2        Heavy Equipment Operators                     6             MTHS           $12,300                             $73,800
                                                                             Equipment Subtotal:                                $289,800
        2100       Demolition
         3         General, ongoing, Preparation of site         6             MTHS            $15,000.00                        $90,000
          4        Debris Removal                                25             EA            $1,200.00                          $30,000
          5        Hauling of Debris                             25             EA             $650.00                           $16,250
          6        Site Safety - Overhead Protection             6             MTHS         $15,000.00                           $90,000
                                                                                   Demolition Subtotal                          $226,250
        2200       Surveying, Staging & Permitting
         7         Architectural & plans                         1              LS             $22,460.00                         $22,460
         8         Environmental Consultant - DERM               1              LS              $2,650.00                          $2,650
          9        Building and Site Control                     1              LS                    $2,500                         $2,500
          10       Site Boundary Analysis                        1              LS                    $1,500                         $1,500
          11       Benchmarks                                    1              LS                     $850                           $850
          12       Existing Conditions Report                    1              LS                    $2,500                         $2,500
          13       Miami Dade County Monitoring - DERM           1              LS                    $2,220                         $2,220
                                                                                          Subtotal:                              $34,680
        3200       Site Safety
          14       Site Safety - OSHA COMPLIANCE HIGH RISE       6             MTHS            $11,500.00                            $69,000
                                                                                          Subtotal:                              $69,000
        7100       Waterproofing
         15        General Caulking - Windows/Doors            102,736          SF                    $3.50                      $359,578
                                                                                          Subtotal:                             $359,578
        8100       Doors and Hardware
          16       Door & Hardware Package - SGD                      266       EA                 $3,500                        $931,000
                                                                                          Subtotal:                             $931,000
        8500       Window, Glass and Glazing
          17       Glazing w/frame - Package                  102,736           SF                 $75.00                       $7,705,236
                                                                                          Subtotal:                           $7,705,236
        9260       Framing and Drywall
          18       Drywall Package- Inside Units                      130       EA              $3,585.00                         $466,050
                                                                                          Subtotal:                             $466,050
        9280       Stucco and Plastering
          19       Exterior Stucco Repair -                    25,684           SF                 $36.00                         $924,628
                                                                                          Subtotal:                             $924,628
        9900       Painting
          20       Painting - Stucco exterior 2 coats           25,684          SF                    $5.85                      $150,252
                                                                                          Subtotal:                             $150,252
       14000       Pools and Spas
          21       Empty, Acid Wash, Gunite                              1      EA                $15,500                            $15,500
          22       Power wash & repair pool deck                         1      EA                 $7,585                             $7,585
                                                                                          Subtotal:                              $23,085




                                              EXHIBIT "4"

                                                                                     Rockhill - St. Louis Condo Assoc. - Claim File - 000255
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                  DLT BUILDING ADVISORS                                                               ST LOUIS BRICKELL KEY CONDO ASSOC
                   3470 North Miami Avenue                                                                  800 Claughton Island Drive
                                                                   State of Florida CGC 058081
                         Upper Suite                                                                           Miami, Florida 33131
                     Miami, Florida 33127
                                        BUILDING RESTORATION ESTIMATE - SUMMARY
 Property Inspected: 800 Claughton Island Drive                    Total GSF                             ELEVATION
 Location:           Miami, Florida 33131                         128420.60         NORTH             SOUTH           EAST           WEST
 Owner:              St Louis Brickell Key Condo Association    Stucco/Concrete     3157.66           3157.66        9684.4          9,684
 Stories             31
 Total Units         130                                        Window/Glass       12630.64           12630.64       38737.6         38,738
 Claim Category:     Hurricane Irma - WIND
 Estimate Date:      October 27, 2017                                 Total GSF     15788.3           15788.3        48,422          48,422
 Prepared By:        Hector Torres CGC 058081 -C:754.581.2475
        Item         Description                                Mobilization       Materials          Supplies      Equipment          Total Cost
        1000         General Requirements                              $78,000                            $65,000   $138,000            $281,000
        1100         Equipment                                                                                      $289,800            $289,800
        2100         Demolition                                                                                                         $226,250
        2200         Surveying                                                                                                           $34,680
        3200         Site Safety                                                                                                         $69,000
        7100         Waterproofing                                                                                                      $359,578
        8100         Doors and Hardware                                                                                                $931,000
        8500         Window, Glass and Glazing                                                                                        $7,705,236
        9260         Framing and Drywall                                                                                                $466,050
        9280         Stucco and Plastering                                                                                              $924,628
        9900         Painting                                                                                                          $150,252
        14000        Pools & Spas                                                                                                        $23,085
                     Subtotal Direct Cost                                                                 $65,200      $427,800      $11,460,559
                     General Conditions - Project Supervision         $630,000                                                         $630,000
                     Subtotal                                         $630,000                   $0       $65,200      $427,800      $12,090,559
                     Contractor's Contingency - 3%                                                                                     $362,717
                     Subtotal                                                                                                        $12,453,276
     Major Loss Item Construction Management Fee - 5%                                                                                  $604,528
                     Subtotal                                                                                                        $13,057,804
                     General Liability Insurance - 1.5%                                                                                 $195,867
                     Subtotal                                                                                                        $13,253,671
                     Overhead - 10%                                                                                                   $1,325,367
                     Profit - 10%                                                                                                     $1,457,904
                     Bond                                                                                                                   NIC
                     Total Restoration Estimate                                                                                     $16,036,942




                                                                                      Rockhill - St. Louis Condo Assoc. - Claim File - 000256
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       Post Hurricane Irma Engineering Evaluation of
          the St. Louis Condominium Association,
                        Miami Florida


                                        Prepared for:

                              Global Pro Recovery



                               November 21, 2017




                    EXHIBIT "5"

                                        Prepared By:




                                          Prepared by:
                                       The Falcon Group
                         Engineering, Architecture & Energy Consultants
                                      7430 SW 48th Street
                                       Miami, FL 33155
                                 Miami Phone: (305) 663-1970
                            West Palm Beach Phone: (516) 290-0504
                                    www.thefalcongroup.us
                                    info@thefalcongroup.us



                                                         Rockhill - St. Louis Condo Assoc. - Claim File - 000257
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            EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




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      3     Building Description                                                               2
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                    EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


   1.0        EXECUTIVE SUMMARY

   This report contains the results of an engineering investigation to determine the effects of
   Hurricane Irma on the St. Louis Condominium Association, located at 800 Claughton Island Drive,
   Miami, Florida. The purpose of the evaluation was to determine the cause and extent of damage
   to structural and non-structural components of the building. Observations and evaluation of
   existing conditions, assessment of Hurricane Irma wind speeds proximate to the site show that the
   building sustained damage from Hurricane Irma which struck Florida on September 10, 2017.

   The investigation consisted of a visual evaluation of the roof, exteriors from accessible locations,
   exterior drone survey and inspection of selected unit interiors and common areas of the St. Louis
   Condominium Association in order to identify damage attributable to Hurricane Irma. Damage to
   different components of the building directly attributable to or exacerbated by Hurricane Irma's
   wind pressures is summarized in the following paragraphs.

   Falcon formed the opinions and conclusions set forth in this report after interviewing building staff
   and residents, reviewing the project documents listed below and performing a site visit on
   September 25, 2017 and subsequent drone evaluation on October 23, 2017.

   Window, Door & Exterior Cladding

   Wind buffeting and the intense wind pressures to which the building and building components
   were exposed during Irma caused the building structure and components to move and flex resulting
   in damages to the building components. Movement of the building components caused by Irma’s
   strong wind forces in conjunction with building movement during the storm, as well as openings
   in the building envelope leading to water infiltration and associated interior damages. The
   compromised cladding, windows and doors allowed water to penetrate into the apartment units
   and cause damage to the window and door jambs, headers and sills, ceilings, walls, floors,
   condensation on the windows, staining of the aluminum frames, and streaks of evaporated water
   rivulets on the glass panes in addition to flooding of and damages of common area finishes, and
   mechanical equipment, electric equipment and controls.
   Buffeting of the windows and doors caused by Irma's strong wind forces displaced the window
   and door gaskets. Irma's wind pressures in conjunction with building movement during the storm
   caused separations and failure of the assemblies. Approximately 30% of the units reported issues
   from Irma and damages were caused to the common areas as well. Management reports leaking
   throughout the building during regular storm events after Irma, where leaks did not exist before.

   It is our opinion that the damage to the building envelope, windows and doors as indicated in this
   report was directly caused or exacerbated by Hurricane Irma's winds. Un-repaired damage to the
   building components would make the building more susceptible to further damage from future rain
   and wind storm events. It is a recognized fact that damaged or weakened cladding components,
   windows and doors are more susceptible to further damage during lower intensity wind storms
   thereby allowing more wind to enter into a building, typically resulting in higher wind loads.


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                    EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


   An industry professional should be retained to develop the scope, method and means of repairs to
   rectify the damage to all the existing windows & doors. It is to be noted that engineering
   recommendations and additional work may be necessary for the execution of the repairs to the
   buildings.
   The information presented in this report represents the results of our investigation to date. Should
   additional information become available, we request that it be brought to our attention as soon as
   possible so that we may fully address it.

   The professional opinions presented in this report have been developed in a manner consistent
   with that level of care and skill ordinarily exercised by reputable members of the profession
   currently practicing in the same locality under similar conditions. No other warranties are
   expressed or implied.


   2.0     DOCUMENTS REVIEWED

   In the preparation of this report, the following documents were reviewed:
   Document Type                      Topic                                          From                                Date
   Plans                              Architectural                                  Thomas & Calzadilla                 A
                                                                                     Metropolitan Architects
   Spread Sheet                       Unit Damage from Irma                          Association Management              N/A

   Proposals and Invoices             Irma damage repairs                            Various Vendors                     Post Irma


   3.0     BUILDING DESCRIPTION

   The St. Louis Condominium Association consists of a thirty-one (31) story building containing
   134 units, flat roof systems, multi-story parking garage/parking deck, and an in-ground pool and
   pool deck that was constructed in 1995.

   As shown in Figure 3.1, the St. Louis Condominium Building has a roughly rectangular floor plan
   with balcony projections along the east façade and has approximate dimensions of 60 feet by 160
   feet. The building faces the Biscayne Bay along the east façade and is accessed by Claughton
   Island Drive on the south façade. A low-slope thermoplastic single-ply roof system is present on
   the main roof area and a barrel vaulted standing seam roof system is present on the roof over the




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                    EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


   mechanical penthouse located at the roof level. A large cooling tower enclosure is present at the
   center of the roof.




                                                    Figure 3.1 Typical building floor plan

   Figure 3.1 provides further insight regarding the layout of the apartment units on typical floor.
        Each unit has at least one balcony.

   Photographs 3.1 shows general exterior view of the property.


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                    EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                                          Photo 3.1: View of subject site from the East

   The structural system of the building consists of reinforced concrete columns and core walls which
   support reinforced concrete floor slabs. The exterior walls are constructed from precast concrete
   panels clad with a direct applied finish system or aluminum framed glass window units. The
   balconies are enclosed with concrete and masonry walls with aluminum railings overtop and are
   accessed through aluminum framed glass sliding doors. The interior partitions are drywalls on
   metal studs. The columns, core walls, and floor slabs resist the lateral wind loads imposed on the
   building and transfer the loading to the foundation. The building's low slope roof sections are
   covered with a single-ply thermoplastic membrane.

   4.0      HURRICANE IRMA

   According to updates published by the National Hurricane Center, after crossing the Straits of
   Florida and being upgraded to a Category 4 hurricane, initial landfall took place at Cudjoe Key at
   9:10 a.m. EDT on September 10, where an estimated 10 ft (3 m) storm surge occurred during the
   afternoon. In the Keys, the hurricane caused major damage to buildings, trailer parks, boats, roads,
   the electricity supply, mobile phone coverage, internet access, sanitation, the water supply and the
   fuel supply. Key West, Sugarloaf Key, Summerland Key, Ramrod Key, Little Torch Key, Big Pine
   Key and Marathon were also flooded by storm surge, and tornadoes were reported at Sugarloaf
   Key.

   Publications by the National Hurricane Center reported second landfall was made, as a Category
   3 hurricane, at Marco Island at 3:35 p.m. EDT the same day. A 7 ft (2.1 m) storm surge occurred
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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


    in Naples, which Irma passed over as a Category 2 hurricane after being downgraded at 5 p.m.
    EDT. Part of Tampa Bay (at Hillsborough Bay) was drained in a reverse storm surge caused by
    the storm's pressure differential, prior to the arrival of the eye of the hurricane. Sarasota Bay was
    also drained. The hurricane was downgraded to Category 1, prior to reaching Tampa.[219]

    A wind gust of 109 mph (175 km/h) was recorded in Pembroke Pines as published in the Sun
    Sentential September 10, 2017.

    As of 1:00 p.m. EDT, on September 10, almost 730,000 customers were without power in Miami-
    Dade County alone, with almost 500,000 without power in Broward County, over 225,000 out in
    Palm Beach County, and in total approximately 1,572,000 customers were without power across
    the state according to the Florida Power & Light Power Traker Map web link. As of 6:41 p.m.
    EDT on September 10 over 2.6 million homes in Florida were without power.

    5.0        DAMAGE SURVEY

    Falcon performed on-site inspections on September 25, 2017 and subsequent drone evaluation on
    October 23, 2017. Inspections were performed by William Pyznar, P.E., John Quinn GCL. and
    Luis Lopez, Drone Piolet

    Falcon was provided access by building management to nine (9) units (405, 701, 704, 804, 1302,
    2004, 2801, 3001, & 3103) in the St. Louis Condominium building. Falcon surveyed all four of
    the facades on the building via drone.

          5.1 Roof Damage
               There was no discernable roof damage on the building.

          5.2 Windows and Doors Damage
               Significant damage occurred to the sliding doors and windows. All the sliding
               balcony doors are floor to ceiling and feature an aluminum frame with tempered
               glass panels. Windows are aluminum framed single hung and partial height. No
               direct impact damage to the glazing was observed however the wind pressure on
               the units caused them to rack within the frame creating operational and
               performance issues.

    The following images illustrate typical damages to the building's windows and doors caused by
    Hurricane Irma that was observed during our site investigation:




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                        Photo 5.1: Failed (racked) bedroom window on the South elevation




                        Photo 5.2: Failed (racked) bedroom window on the South elevation




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                        Photo 5.3: Failed (racked) bedroom window on the South elevation




                        Photo 5.4: Failed (racked) bedroom window on the South elevation




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                        Photo 5.5: Failed (racked) bedroom window on the South elevation




                        Photo 5.6: Failed (racked) bedroom window on the South elevation


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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                        Photo 5.7: Failed (racked) bedroom window on the South elevation




                        Photo 5.8: Failed (racked) bedroom window on the South elevation




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                        Photo 5.8: Failed (racked) bedroom window on the South elevation




                                 Photo 5.9: Failed (racked) window on the East elevation


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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                       Photo 5.10: Failed (racked) bedroom window on the North elevation




                                     Photo 5.11: Boarded windows on the East elevation


         5.3 Common Areas and Exteriors Damage
              High winds and heavy rain caused building movement resulting in openings allowing
              water to penetrate the exterior wall cladding and enter the building.



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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


               The following images illustrate typical damages to the building's exterior cladding from
               Hurricane Irma that was observed during our site investigation:




                    Photo 5.12 Cracked & water stained cladding on exterior balcony walls




                                Photo 5.13 Cracked cladding at column on East elevation




                                                                              12
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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                               Photo 5.14 Cracked cladding on the mechanical penthouse




                               Photo 5.14 Cracked cladding on the mechanical penthouse



    5.4        Interior Damages

    Water infiltration through the building envelope resulted in damages to the interior finishes of the
    residential units. Typical damages were observed to the ceiling, walls, and floors. Management
    provided the following list of units that reported damage resulting from Irma, representing
    approximately 30% of the residential units.

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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


                                                   Units with damages by Hurricane IRMA
     Unit
       #                   Name                                                         Damaged Areas                                           Notes
     602         Jeanna Knight                              2nd bd
     604         Pedro Santiago                             2rd bd
     605         Gabriel Aleaga                             Living room ceiling
     702         Fabrizio Di Carlo                          Master bd and 2nd Bb
     704         Sonia Edinger                              2nd Bd and living room
     705         Ben Benitez                                Living room ceiling, unable to open windows
     802         Edmar Fujita                               2nd bd
     904         Lorene Pathuisje                           Balcony ceiling
     1002        Olga Evgrafova                             Living room floor
     1203        Irene Di Tondo                             living room baseboards
     1302        Catalina Gonzalez                          2nd Bd
     1304        Diamelys Torres                            Living room ceiling
     1501        Jaime Pineda                               Balcony ceiling
     1503        Yaqueline Richards                         Living room base boards
     1505        Francisco Caballero                        Living room wall
     1604        Maria C. Macias                            Living room floor
     1703        Tereza Kemp                                living room area rug
     1704        Carmen Lasso                               2nd bd wall
     1803        Pablo Ramirez                              Livingroom ceiling
     1804        Raymond Aporta                             2nd bd walls, ceiling, also the closet wall
     1904        Roxana Budetta                             Living Rm base boards
     2004        Phoebe Fellows                             2nd bd and living area rug and sofa
     2005        Paolo Dina                                 Living room ceiling
     2104        Daphne Plug                                Kitchen ceiling
     2203        Paul Camacho                               Master bedroom walls
     2204        Carolina Pena                              2nd bd window wall
     2304        Sanjay Dansani                             living room ceiling and baseboards
     2305        Rita Dargham                               living room carpet and baseboards
     2402        Arnau Llopart                              2nd bd ceiling
     2404        Mauricio Acevedo                           Ceiling, baseboards around the unit
     2504        Joselyn Lutchmeesingh                      Living and master
     2602        Hector almaguer                            Master bedroom window
     2801        Martin Michaelson                          living room ceiling
     2803        Alex Pratt                                 Master and 2nd Bd ceilings and living r rug
     2805        Cassandra Andrade                          Balcony ceiling

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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


     2903        Sandra Veizaga                             Master bd carpet and ceiling
     3001        Kal Das                                    Living, master bedroom and balcony
     3002        Elizabeth De Aguirre                       2nd bd
     3003        Maria del Castillo                         Master bd, unable to open windows/shutters
     3103        Hulusi Gurbuz                              Dining room ceiling. Unable to open windows



    The following are typical damages that were observed:




                     Photo 5.15 Water stains on the tile along the balcony door of Unit 3001




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


                       Photo 5.16 Peeling paint and water stains on the ceiling of Unit 3001




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                        Photo 5.17 Peeling paint from the Dining Room ceiling of Unit 3103




                                                 Photo 5.18 Peeling paint from ceiling




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                          Photo 5.19 Water stains running down wall from crown molding




                          Photo 5.19 Water stains running down wall from crown molding




                                                                              18
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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                                   Photo 5.20 Water damage at ceiling of guest bedroom




                                  Photo 5.21 Water damage at ceiling of master bedroom




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA




                                  Photo 5.22 Water damage at ceiling of master bedroom




                                                  Photo 5.23 Water damage at ceiling

            Several units had water infiltration further back into the units along the east elevation along
            the shear walls that are perpendicular to the east elevation. It is suspected the damages in
            the cladding allowed water to infiltrate along the continuous shear walls and travel down to
            lower units causing damage to finishes.




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


    5.5        Effect of Hurricane Irma on the Building:

    Wind buffeting and the intense wind pressures to which the building and building components
    were exposed during Irma caused the building structure and components to move and flex resulting
    in damages to the building components. Movement of the building components caused by Irma’s
    strong wind forces in conjunction with building movement during the storm, led to water
    infiltration and associated interior damages.

    The aluminum windows and doors were compromised as a result of the strong wind pressures.
    The compromised windows and doors allowed water to penetrate into the apartment units and
    cause damage to the window and door jambs, headers and sills, ceilings, walls and floors. Buffeting
    of the windows and doors caused by Irma's strong wind forces displaced the window and door
    gasket and caused the windows and doors to rack.

    Irma's wind pressures in conjunction with building movement during the storm caused separations
    and failure of the exterior sealants and cladding of the building façade.

    It is our opinion that the damage to the building envelope, windows and doors as indicated in this
    report was directly caused or exacerbated by Hurricane Irma's winds. Un-repaired damage to the
    building components would make the building more susceptible to further damage from future rain
    and wind storm events. It is a recognized fact that damaged or weakened cladding components,
    windows and doors are more susceptible to further damage during lower intensity wind storms
    thereby allowing more wind to enter into a building, typically resulting in higher wind loads. It is
    also noted that the management has reported that units continue to leak as a result of regular storm
    events after Irma, which did not leak previously, further supporting the damage to cladding,
    windows and doors caused by Irma.

    Documents provided by management include proposals, reports and invoices for cleaning and
    repairs including, but not limited to:
                x Lobby air conditioning compressor replacement
                x Hallway air conditioning controller replacement
                x Chilled water flow switch replacement
                x 600 Amp breaker replacement
                x Junction box for landscape lighting and circuitry replacement
                x Injection Wells pump out and cleaning
                x 2 sediment tank replacements
                x Removal of mud and debris from parking garage
                x Removal of fallen trees and branches
                x Removal of carpet from meeting room and office
                x Replace wall and flooring in Play room
                x Replace card reader for garage exit
                x Replace elevator control board


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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA



    6.0        CONCLUSIONS

    Based on the analysis and evaluation provided above, the following conclusions are appropriate to
    a reasonable degree of Architectural and Engineering certainty:

    Observations and evaluation of existing conditions, assessment of Hurricane Irma wind speeds
    proximate to the site show that the building sustained damage from Hurricane Irma which struck
    Florida on September 10, 2017.

    Wind buffeting and the intense wind pressures to which the building and building components
    were exposed during Irma caused the building structure and components to move and flex resulting
    in damages to the building components, especially, the windows, doors and areas of the exterior
    cladding.

    Movement of the building components caused by Irma's strong wind forces in conjunction with
    building movement during the storm, as well as caused openings in the building envelope leading
    to interior damages and water infiltration.

    The compromised windows and doors allowed water to penetrate into the apartment units and
    common areas and cause damage to the window and door jambs, headers and sills, ceilings, walls,
    floors, condensation on the windows, staining of the aluminum frames, and streaks of evaporated
    water rivulets on the glass panes in addition to flooding of and damages of common area finishes,
    and mechanical equipment, electric equipment and controls.

    It is our opinion that the damage to the windows and doors as indicated in this report was directly
    caused or exacerbated by Hurricane Irma's winds. Un-repaired damage to the building components
    would make the building more susceptible to further damage from future rain and wind storm
    events. It is a recognized fact that damaged or weakened windows and doors are more susceptible
    to further damage during lower intensity wind storms thereby allowing more wind to enter into a
    building, typically resulting in higher wind loads. Poor operation of the windows & doors have
    been reported throughout the building as a direct effect of the wind forces produced by the storm.

    Areas of the exterior cladding has cracked creating points of water infiltration. Selective repairs
    shall be completed to restore the exterior cladding to a watertight condition and the entire façade
    coated with a waterproof paint and new sealants.

    All residential windows and doors should be replaced as the existing units have failed and no
    longer function correctly or provide the necessary weather protection. New windows and doors
    shall be hurricane rated as required by the current building code. Replacement of the windows
    will require repairs to the adjacent stucco, further necessitating recoating the entire building.




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                     EVALUATION OF DAMAGES FOLLOWING HURRICANE IRMA


    Sincerely,



    William J. Pyznar, P.E.
    Principal




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                                   EXHIBIT "6"
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       February 20, 2018

       Sent via Certified, Electronic, and Regular U.S. Mail
       Return Receipt Requested

       St. Louis Condominium Association, Inc.
       C/O GlobalPro
       100 Miracle Mile
       Suite 340
       Coral Gables, FL 33134

       Company:                Rockhill Insurance Company
       Insured:                St. Louis Condominium Association, Inc.
       Policy Number:          CPW 001437-00
       Loss Location:          800 Claughton Island Drive Miami, FL 33131
       Date of Loss:           9/10/2017
       Rock Hill Claim:        PR-0000000- 186072

       Dear Insured:

       As you are aware, you have submitted a claim under the above-reference policy to Rockhill
       Insurance Company (“Rockhill”) for damages sustained as a result of Hurricane Irma, and for
       which you are seeking compensation under Policy CPW 001437-00.

       Based on the known facts of this loss to date, there is a possibility that coverage may not apply,
       either in whole or part. Our understanding at this time is the property damages presented by your
       public adjuster as arising from this occurrence may instead be a result of pre-existing damage.

       We are writing to inform you that Rockhill is specifically reserving all rights relative to this
       claim, and will be undertaking a thorough investigation of the claim. Please understand, no
       action taken on the part of Rockhill in ascertaining any issues regarding coverage, or the amount
       of loss or damage, shall in any way waive, invalidate, or prejudice the rights of Rockhill. The
       purpose of this Reservation of Rights letter is to preserve all rights of Rockhill, as well as any
       rights you may have under your policy, so that a thorough and complete investigation of the cause
       of loss, the amount of loss, and any other relevant information, may be secured.

       To understand why coverage may not be afforded in this case, please refer to your insurance
       policy, and specifically to form CP 00 17 10 12, the Condominium Association Coverage Form.
       On page 1 of 15, please note the following:

                                                      ***

           A. Coverage
              We will pay for direct physical loss of or damage to Covered Property at the premises
              described in the Declarations caused by or resulting from any Covered Cause of Loss.

               3. Covered Causes of Loss
                  See applicable Causes of Loss Form as shown in the Declarations.

           B. Exclusions And Limitations
                                                   EXHIBIT "7"
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              See applicable Causes Of Loss form as shown in the Declarations.

                                                      ***

       Your policy is endorsed with form CAT7007 (01/16), the Causes of Loss – Windstorm or Hail
       form, which states in pertinent part:

                                                      ***

                              CAUSES OF LOSS – WINDSTORM OR HAIL

          A. Covered Causes of Loss
             When Windstorm and Hail is shown in the Declarations, Covered Causes of Loss means
             the following:

              We cover risk of direct physical loss to covered property only when the direct physical
              loss is the result of windstorm or hail, but not including:
                1. Frost or Cold Weather;
                2. Ice (other than hail), snow, sleet or water, whether driven by windor not, and
                     accumulation, freezing, thawing, pressure or weight of hail, ice, snow, sleet, rain,
                     water or any other form of precipitation; or
                3. Loss or damage to the interior of any building or structure, or the property inside
                     the building or structure, caused by rain, snow, sand or dust, whether driven by
                     wind or not, unless the building or structure first sustains wind or hail damage to its
                     roof or walls through which rain, snow, sand or dust enters.

          B. Exclusions
             1. We will not pay for loss or damage which would not have occurred in the absence of
                one or more of the following excluded events. We do not insure for such loss
                regardless of : (a) the cause of the excluded event; or (b) other causes of the loss; or
                (c) whether other causes acted concurrently or in any sequence with the excluded
                event to produce the loss; or (d) whether the event occurs suddenly or gradually,
                involves isolated or widespread damage, arises from natural or external forces, or
                occurs as a result of any combination of these:
                h. “Fungus”, Wet Rot, Dry Rot And Bacteria
                    Actual or threatened existence, presence, growth, release, transmission,
                   proliferation, spread, migration, dispersal, exposure to or activity of “fungus”, wet
                   or dry rot or bacteria, even if the fungus, wet or dry rot or bacteria is caused by or
                   results from windstorm or hail.

                     This policy does not pay for the cost of removal, demolition, repair, remediation,
                     disposal, decontamination, remodeling, reconstruction or replacement of Covered
                     Property due to the existence, growth, release, presence, transmission,
                     proliferation, spread, migration, dispersal, exposure to or activity of “fungus”, wet
                     or dry rot or bacteria, even if by law or civil authority, the fungus, wet or dry rot
                     or bacteria must be removed, remediated, disposed of, or decontaminated.

                     Nor does this policy pay for any cost associated with the enforcement of any
                     ordinance or law which requires any insured or others to test for, monitor, clean
                     up, remove, contain, treat, detoxify or neutralize, or in any way to respond to, or
                     assess the effects of fungus, wet or dry rot or bacteria.
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                      Exclusions B.1.a. through B.1.h. apply whether or not the loss event results in
                      widespread damage or affects a substantial area.

                                                      ***

      In addition to the forms cited above, we would also direct your attention to form CAT7022
      (07/16), the Pre-Existing Damage Endorsement, which states:

                                                       ***

                                     Pre-Existing Damage Endorsement

      It is understood and agreed that this policy shall exclude any loss or damage directly or indirectly
      caused by, resulting from or contributed to by any pre-existing damage to any covered property, at
      the time of the loss.

                                                        ***

      In addition to the forms cited above, we would also direct your attention to form CAT7015
      (07/16), the EIFS or DryVit exclusion, which states:

                                                        ***

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                      EIFS or DRYVIT EXCLUSION

      It is agreed that the above policy is hereby amended as follows:
      This Policy does not cover loss or damage including cost or expense caused by or resulting from
      the design, manufacture, installation or use of EIFS (External Insulation and Finish System) or
      Synthetic Stucco, Dryvit, Synergy or Parex.

      Any such loss described above is excluded regardless of any other cause or event that contributed
      concurrently or in any sequence to the loss.

                                                        ***

      In addition to the forms cited above, we would also direct your attention to form CP 01 91 02 10,
      the Florida Changes – Residential Condominium Associations form, which states in part:

                                                        ***

             FLORIDA CHANGES – RESIDENTIAL CONDOMINIUM ASSOCIATIONS

      This endorsement modifies insurance provided under the following:

      CONDOMINIUM ASSOCIATION COVERAGE FORM

      A. Building section is replaced by the following:
         2. But Building does not include:
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            a. Any personal property within individual units or limited common elements except as
               provided in Paragraph A.1.f. of this endorsement;
            b. Floor coverings, wall coverings and ceiling coverings within individual units or limited
               common elements;
            c. Electrical fixtures, water heaters, water filters, window treatments, including curtains,
               drapes, blinds, hardware and similar window treatment components, and built-in
               cabinets and countertops which are located within an individual unit or limited common
               elements;
            d. Any of the following types of property contained inside individual units:
               (1) Fixtures, installations, additions, improvements and alterations that are a part of the
                   building or structure; and
               (2) Appliances, such as those used for refrigerating, ventilating, cooking, dishwashing,
                   laundering, security or housekeeping;
            e. Improvements or additions to the condominium property that benefit fewer than all unit-
               owners, unless otherwise endorsed to the policy.

                                                       ***

      We also wish to direct your attention to form CAT7011 (01/16), the Common Policy Conditions
      form, which states in part:

                                                       ***

                                   COMMON POLICY CONDITIONS

          6. DUTIES OF THE NAMED INSURED IN THE EVENT OF LOSS OR DAMAGE
              You must see that the following are done in the event of loss or damage to covered
              property:
              a. Notify the police if a law may have been broken.
              b. Give us prompt notice of the loss or damage, including a description of the covered
                  property involved.
              c. As soon as possible, give us a description of how, when and where the loss or
                  damage occurred.
              d. Take all reasonable steps to protect the covered property from further damage.
              e. If feasible, set the damaged property aside and in the best possible order for
                  examination. Also keep a record of your expenses for emergency and temporary
                  repairs, for consideration in the settlement of the claim. This will not increase the
                  Limit of Insurance.
              f. At our request, give us complete inventories of the damaged and undamaged
                  property. Include quantities, costs, values and amount of loss claimed.
              g. Permit us to inspect the property and records proving the loss or damage. Also
                  permit us to take samples of damaged and undamaged property for inspection, testing
                  and analysis, and permit us to make copies from your books and records.
              h. If requested, permit us to question you under oath at such times as may be reasonably
                  required about any matter relating to this insurance or your claim, including your
                  books and records. In such event, your answers must be signed.
              i. Send us a signed, sworn statement in proof of loss containing the information we
                  request to investigate the claim. You must do this within 60 days after our request.
                  We will supply you with the necessary forms.
              j. Cooperate with us in the investigation or settlement of the claim.
              k. Resume all or part of your “operations” as quickly as possible..
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           12. LEGAL ACTION AGAINST US
               No one may bring a legal action against us under this policy unless:
               a. There has been full compliance with all of the terms of this policy;

          22. POLICY PERIOD, COVERAGE TERRITORY
              Under this policy:
              a. We cover loss or damage commencing:
                  1) During the policy period shown in the Declarations and
                  2) Within the coverage territory

                                                      ***

      The final form that we wish to direct your attention to is the Limited Fungi, Wet or Dry Rot, or
      Bacteria form, CAT7070 (01/16), which states:

                                                      ***

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   LIMITED FUNGI, WET or DRY ROT, or BACTERIA COVERAGE

       This endorsement modifies insurance provided under the following:

               Causes of Loss – NAMED STORM
               Causes of Loss – Windstorm or Hail

       It is hereby understood and agreed that the following Sublimit applies to this policy.

       The limits of liability apply to the total of all loss or costs payable under this endorsement,
       regardless of the number of "occurrences", the number of claims-made, or the number of
       locations insured under this endorsement and listed in this Schedule. This amount is included
       within, and is not in addition to, the applicable limit of insurance shown in the Declarations.
       Property Coverage Limit Of Liability for the Additional Coverage “Fungi”,
       Wet Or Dry Rot, Or Bacteria                                                              $15,000



       Additionally, the following is added to the policy:
       A. Exclusion
         The following is added to Paragraph B. Exclusion, Exclusion h. “Fungus”, Wet Rot, Dry Rot
          And Bacteria

         This exclusion does not apply to the extent coverage is provided in the Limited Coverage for
         “Fungus”, Wet Rot, Dry Rot And Bacteria with respect to loss or damage by a covered cause
         of loss.

       B. Additional Coverage- Limited Coverage for “Fungus”, Wet Rot, Dry Rot And Bacteria
          1. The coverage described in B.2. and B.6. only applies when the "fungus", wet or dry rot or
             bacteria is the result of a “specified cause of loss” and only if all reasonable means were
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             used to save and preserve the property from further damage at the time of and after that
             occurrence.
         2. We will pay for loss or damage by "fungus", wet or dry rot or bacteria. As used in this
             Limited Coverage, the term loss or damage means:
              a. Direct physical loss or damage to Covered Property caused by "fungus", wet or dry rot
                 or bacteria, including the cost of removal of the "fungus", wet or dry rot or bacteria;
              b. The cost to tear out and replace any part of the building or other property as needed to
                 gain access to the "fungus", wet or dry rot or bacteria; and
              c. The cost of testing performed after removal, repair, replacement or restoration of the
                 damaged property is completed, provided there is a reason to believe that "fungus",
                 wet or dry rot or bacteria are present.
         3. The coverage described under B.2. of this Limited Coverage is limited to $15,000.
             Regardless of the number of claims, this limit is the most we will pay for the total of all
             loss or damage arising out of all occurrences of "specified causes of loss" which take place
             in a 12-month period (starting with the beginning of the present annual policy period). With
             respect to a particular occurrence of loss which results in "fungus", wet or dry rot or
             bacteria, we will not pay more than a total of $15,000 even if the "fungus", wet or dry rot or
             bacteria continues to be present or active, or recurs, in a later policy period.
         4. The coverage provided under this Limited Coverage does not increase the applicable Limit
            of Insurance on any Covered Property. If a particular occurrence results in loss or damage by
            "fungus", wet or dry rot or bacteria, and other loss or damage, we will not pay more, for the
            total of all loss or damage, than the applicable Limit of Insurance on the affected Covered
            Property.
            If there is covered loss or damage to Covered Property, not caused by "fungus", wet or dry
            rot or bacteria, loss payment will not be limited by the terms of this Limited Coverage,
            except to the extent that "fungus", wet or dry rot or bacteria causes an increase in the loss.
            Any such increase in the loss will be subject to the terms of this Limited Coverage.
         5. The following, B.5.a. or B.5.b., applies only if Business Income and/or Extra Expense
            coverage applies to the described premises and only if the "suspension" of "operations"
            satisfies all terms and conditions of the applicable Business Income and/or Extra Expense
            coverage form.
            a. If the loss which resulted in "fungus", wet or dry rot or bacteria does not in itself
               necessitate a "suspension" of "operations", but such "suspension" is necessary due to
               loss or damage to property caused by "fungus", wet or dry rot or bacteria, then our
               payment under Business Income and/or Extra Expense is limited to the amount of loss
               and/or expense sustained in a period of not more than 30 days. The days need not be
               consecutive.
            b. If a covered "suspension" of "operations" was caused by loss or damage other than
               "fungus", wet or dry rot or bacteria but remediation of "fungus", wet or dry rot or
                bacteria prolongs the "period of restoration", we will pay for loss and/or expense
                sustained during the delay (regardless of when such a delay occurs during the "period
                of restoration"), but such coverage is limited to 30 days. The days need not be
                consecutive.

                                                      ***

              REQUEST FOR COOPERATION AND PRODUCTION OF DOCUMENTS

      In accordance with the policy conditions that you allow us to inspect the property and records
      proving loss or damage, as well as cooperate with us in the investigation of your claim, we hereby
      request the following in order to assist us with the evaluation of your claim:
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                       1. A re-inspection of the property to be conducted beginning at 9:00am on
                          February 28, 2018, and extending into March 1, 2018 as needed. Due to time
                          constraints and the scope of the claim presented, our consultants were unable to
                          inspect the entire property during their prior site visit. The units remaining to
                          be inspected are 604, 605, 702, 802, 804, 805, 1002, 1203, 1404, 1501, 1505,
                          1703, 1704, 1803, 2005, 2304, 2402, 2405, 2604, 2702, 2801, 2903, and 3002.
                       2. We are requesting all drawings that your public adjuster has indicated that they
                          are in possession of no later than 2/19/18.
                       3. We are requesting all records pertaining to prior maintenance and repair of the
                          aluminum window and sliding glass door units.
                       4. We are requesting copies of all meeting minutes for the Association for the last
                          5 years, dating back to 2013.
                       5. We are requesting the date and name of the painting contractor who last
                          painted the building exterior.

       Our evaluation of your claim is continuing, and Rockhill therefore continues to reserve all of its
       rights under all terms, conditions, limitations, and exclusions in the policy. Any action or
       inaction taken by Rockhill in the investigation of the claim does not constitute an admission of
       liability or admission of insurance coverage (including but not limited to claims and/or
       underwriting). To the contrary, consistent with its position throughout the pendency of this
       claim, Rockhill insists upon your full compliance with the policy. As you may know, a failure to
       comply with contract provisions relating to your cooperation and the production of documents
       related to this claim may void the policy and/or bar the claim. Furthermore, any action taken by
       Rockhill in connection with this matter should not be construed as a waiver or estoppel of any of
       Rockhill’s rights under the policy, at law, or in equity.

       It is possible there are additional reasons (other than those cited above) why coverage may not
       apply. In light of these coverage questions, we will proceed to investigate this claim. However,
       neither this letter nor any act, past or future, by any representative of Rockhill should be
       construed to be a waiver or estoppel of any of the policy’s terms, conditions, limitations and/or
       exclusions; on the contrary, we specifically reserve our right to rely on the policy language,
       supplement this reservation of rights and/or to deny coverage for any valid reason that may
       appear.

       Should you have any questions about this letter, feel free to call me.

       Respectfully,


       Michael R. Myers
       Senior Claim Examiner
       513.846.6863
       mike.myers@stateauto.com
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    12/21/20189

    Sent via Certified #70142120000160083201,
    Electronic, and Regular U.S. Mail
    Return Receipt Requested

    St. Louis Condominium Association, Inc.
    c/o Siegfried Rivera, et al.
    Attn: Susan Odess, Esq.
    201 Alhambra Cir, 11th Floor
    Coral Gables, Florida 33134

                   Company:               Rockhill Insurance Company
                   Insured:               St. Louis Condominium Association, Inc.
                   Policy Number:         CPW 001437-00
                   Insured Property:      800 Claughton Island Drive Miami, FL 33131
                   Date of Loss:          9/10/2017
                   Rock Hill Claim:       PR-186072

    Dear Mrs. Odess:

            As you are aware, your legal client and our Insured, St. Louis Condominium Association,
    Inc. (the "Insured" or the "Association") had submitted a claim for damages reportedly sustained
    on September 10, 2017, during Hurricane Irma, under Policy No. CPW 001437-00 (the "Policy").
    Rockhill Insurance Company (“Rockhill” or "we") issued the Policy to the Association for the
    effective dates from December 31, 2016 to December 31, 2017. The Policy provided coverage,
    according to its provisions, limitations and exclusions, for the Thirty-One (31) story waterfront
    condominium tower on Brickell Key located at 800 Claughton Island Drive, Miami, Florida 33131
    (the "Insured Property"). We regret to inform the Association that at this time there is no
    coverage pursuant to the Policy for the Association’s claim for damages under the Policy.

           Rockhill arrived at the claim decision which is the subject of this correspondence based
    upon the language of the Policy quoted below and careful consideration of the information
    available to Rockhill which includes its investigation and the conduct of the Association and its
    representatives to date. In this letter, Rockhill will first provide a summary of the background of
    the claim including the most important information considered. Next, Rockhill will direct the
    Association's attention to the pertinent language of the Policy upon which Rockhill relies. Finally,
    Rockhill will identify the determinations which it made in order to reach its decision.

           The claim was first noticed to Rockhill by the Association's representative, public
    adjuster, Daniel Odess, President and Owner of Globalpro Recovery, Inc. ("Globalpro") on
    September 13, 2017. The initial claim documentation included the September 13, 2017 letter of
    Mr. Odess wherein he: (a) promised that information and documentation would be promptly
    submitted to Rockhill when it became available; and (b) offered to assist with the selection of an
    independent, fair and unbiased expert. It should also be noted that the Association, through
    Globalpro, initially reported this claim as due to flood from Hurricane Irma. This is significant
    because the provisions of the Policy identified below include a flood exclusion.

            Rockhill promptly began investigating the claim, retaining an independent adjuster from
    Engle Martin & Associates, Stephen Pesak, who inspected the Insured Property with one of the
    public adjusters from Globalpro, August Forte, on September 20, 2017. During the September



                                   EXHIBIT "8"
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    20, 2017 inspection, Mr. Forte showed Mr. Pesak: the roof, which was water-tight and sustained
    zero damage; twenty-two (22) units which sustained minor damage such as water staining; and
    minimal exterior damage to the Insured Property caused by debris.

           The Insured Property had a total insured value of $31,511,400.00. The Policy has a
    deductible of 3% of the total insured value or $945,342.00. The damages which the Association
    disclosed to Rockhill on September 20, 2017, were well below the Policy's deductible of
    $945,342.00. The public adjuster, Mr. Forte, represented to Mr. Pesak that further inspections
    by engineers would be required and that the Association would provide Rockhill with notice of
    them, raising the inference that the parties' consultants would work side-by-side to inspect
    damages at the Insured Property and expeditiously adjust the loss together.

            Neither the Association nor the public adjuster kept their promises to share information
    and coordinate inspections. Mr. Pesak made several phone calls to Globalpro, none of which
    were returned. Globalpro similarly failed to respond to Mr. Pesak's November 14, 2017 emails to
    two (2) separate public adjusters, Daniel Odess and August Forte, regarding the Association's
    desire to pursue the claim, given the reality that the damages which the Association showed Mr.
    Pesak during the September 20, 2017 inspection were less than the Policy's deductible.

           The Association, through one (1) of its public adjusters from Globalpro, a licensed
    attorney named Allison Freidin, first began providing information concerning its claimed
    damages on or after January 4, 2018. More specifically, by electronic correspondence dated
    January 4, 2018, Ms. Freidin provided Mr. Pesak with two (2) documents. First, she provided
    the October 27, 2017 Building Restoration Estimate Summary of general contractor and
    developer, Hector Torres, of DLT Building Advisors, which represented that damages to the
    Insured Property totaled over $16,000,000.00 of which almost $9,000,000.00 was complete
    replacement of window glass, glazing, doors and hardware. Second, Ms. Freidin provided the
    November 21, 2017 Post Hurricane Irma Engineering Evaluation of the Falcon Group, wherein
    an engineer named William J. Pyznar represented that the sliding glass doors and windows of
    the Insured Property had been racked requiring complete replacement. Both Mr. Torres and Mr.
    Pyznar suggested that the building envelope had been compromised.

            These reports were dated months earlier and revealed inspections which had occurred
    only one week after Mr. Pesak had been shown the alleged damaged to the Insured Property.
    Although January 4, 2018 was first notice to Rockhill of these alleged damages, Mr. Freidin
    wrote: "Please advise when the insured can expect to receive payment as it has been over 90
    days since the date of loss."

            The Association, through the public adjuster and attorneys at Globalpro, initially gave
    Rockhill only until January 31, 2018 to complete any requested inspections. This was
    unreasonable for two (2) reasons. First, the Association had only provided information
    concerning its claimed damages on January 4, 2018. Second, given the magnitude of the
    damages sought, Rockhill required the time to retain building and engineering consultants to
    inspect the Insured Property. The logistics of this project was difficult because construction-
    related professionals were busy after Hurricane Irma and the schedules of multiple individuals
    needed to be coordinated.

           Rockhill's building consultants, including structural engineer, Bert Davis, and general
    contractor, Paul Millard, who partially inspected the Insured Property on January 31, 2018.
    However, two (2) additional days would ultimately be required for them to complete their
    inspection.
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           While Rockhill attempted to negotiate further inspection of the Insured Property with
    Globalpro and the Association, Mr. Odess, by electronic correspondence dated February 13,
    2018, provided Mr. Pesak with the Insured's February 7, 2018 unsolicited Sworn Statement in
    Proof of Loss claiming damages of $16,113,648.88 minus the $945,342.00 deductible for a total
    of $15,168.306.88 plus over $75,000.00 in repair bills dating back to September of 2017 which
    had also been withheld from Rockhill by the Association. Neither the Association nor Globalpro
    has ever acknowledged that any of the provisions of the Policy may limit the Association's
    recovery, except for the deductible, even though the claim was initially presented as a flood
    claim and both flood damages and pre-existing conditions are excluded under the Policy.

             By letter to Mr. Odess dated February 20, 2018 (the "February 20, 2018 Reservation of
    Rights Letter"), Rockhill expressly reserved its rights under potentially applicable Policy
    defenses, requested documentation relevant to the assessment of the claim and requested
    access to particular units which allegedly sustained damages during Hurricane Irma. The
    Association, through Globalpro, was specifically requested by Rockhill to produce information
    and documentation however the Association did not produce or submit including but not limited
    to: (a) all records pertaining to prior maintenance and repair of the aluminum window and sliding
    glass door units; (b) copies of all meeting minutes for the Association for the last 5 years, dating
    back to 2013; and (c) the date and name of the painting contractor who last painted the building
    exterior. Incomplete meeting minutes were not provided until December 10, 2018, after the fact
    witness discovery cut-off and eight (8) months of litigation.

           Rockhill's consultants continued their January 31, 2018 inspection of the Insured
    Property on February 28, 2018 and March 1, 2018, with representatives of Globalpro and the
    Association. As a result of the inspection, it became apparent that additional inspections would
    be warranted by a consultant who specialized in windows and sliding glass doors in order to
    consider the Association's request for almost $9,000,000.00 in damages which the Association
    claimed for windows, glass, glazing and doors and hardware.

           Unbeknownst to Rockhill, on March 5, 2018, the Association filed suit against Rockhill.
    When Mr. Ambrose called Mr. Odess on March 9, 2018, in order to confirm a March 20, 2018
    inspection of the Insured Property by a window and sliding glass door specialist, Mr. Odess did
    not permit the requested inspection. Instead, Mr. Odess represented, incorrectly, that the
    February 20, 2018 letter Reservation of Rights Letter was a denial letter. Mr. Odess further
    advised that the claim was in litigation. Consequently, the Association filed suit before
    complying with Rockhill's request for information contained in the February 20, 2018
    Reservation of Rights Letter, before permitting Rockhill to complete its inspection of the Insured
    Property and, as such, before complying with all of the requirements of the Policy.

            Throughout the litigation, the Association continued to argue against Rockhill's right to
    have a suitable consultant with expertise in sliding glass doors and windows to inspect the
    alleged damages to the Insured Property which the Association estimates in the millions of
    dollars. The Association, through counsel, represented that it was an undue burden for the unit
    owners to permit further inspection of the units of the Insured Property. Finally, on October 12,
    2018, Rockhill obtained a ruling from the United States District Court granting the requested
    inspection over a three (3)-day time frame commencing on October 29, 2018 of the sliding glass
    doors and windows but limited to twenty percent (20%) of the units plus the common areas and
    the elevators. However, at the last minute, the Association refused to allow Rockhill’s
    consultants to utilize the three (3) days afforded to it but rather only two (2) and refused to
    permit Rockhill's consultant, Mr. Brian Warner, who was accompanied by Mr. Ambrose, to
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    inspect units which Rockhill requested. Instead, a Maintenance Supervisor-Building Engineer of
    the Condominium Association, selected the units to be inspected.

            Neither the report of Rockhill's sliding glass door and windows consultant, Brian Warner,
    who inspected the Insured Property in late October 2018, nor the reports of Rockhill's
    engineering and building consultants, Mr. Davis and Mr. Millard, who inspected the Insured
    Property on January 31, 2018, February 28, 2018 and March 1, 2018, found anywhere near the
    Sixteen Million Dollars ($16,000,000.00) in damages which the Association claimed. Indeed, the
    reports of Rockhill's consultants, which were shared with the Association in accordance with the
    timeline provided by the United States District Court, documented less than One Million Dollars
    in damages from Hurricane Irma, without accounting for the Policy's exclusions for, among other
    things, pre-existing conditions, flood-related damages and the deductible of $945,342.00.

             Furthermore, Rockhill took the depositions of the engineer who prepared the November
    21, 2017 Falcon Report, Mr. Pyznar, and the general contractor who prepared the October 27,
    2017 Building Restoration Estimate, Mr. Torres - the reports that the Association first shared
    with Rockhill on January 4, 2018. Their testimonies not only revealed significant speculation in
    their opinions, but also demonstrated reliance upon key assumptions of fact provided to them by
    the Association's Building Engineer-Maintenance Supervisor. Hence, the validity of the opinions
    of these consultants was tested at deposition and failed. Interestingly, the Insured deliberately
    failed to disclose the Association's Building Engineer-Maintenance Supervisor as a witness with
    pertinent knowledge of the facts of this case in its discovery responses or its mandatory
    disclosures to the United States District Court.

             The Insured's final expert, whose report was disclosed by the Insured during the
    litigation, Paul Beers of GCI Consulting, was deposed on December 10, 2018. The deposition
    testimony of Mr. Beers indicates that he personally only inspected six (6) or eight (8) units and
    his team apparently had unfettered access to the overwhelming majority of the units at the
    Insured Property in order to prepare his report for litigation. Thus, Mr. Beers' inspection was not
    deemed to be unduly burdensome by the Association. Through the deposition of Mr. Beers,
    Rockhill learned that Mr. Beers did not have an opinion of his own and relied on facts and
    photographs gathered by others and rather than identify actual physical damage to the windows
    and sliding glass doors, just included every single window and door regardless of whether it
    sustained damage as a result of Hurricane Irma.

           To further understand why coverage is being declined in this case, Rockhill directs the
    Association's attention to the pertinent language of the Policy as set forth below. Initially, the
    Condominium Association Coverage form (CP 00 17 10 12) provides:

                                                    ***

       A. Coverage
          We will pay for direct physical loss of or damage to Covered Property at the premises
          described in the Declarations caused by or resulting from any Covered Cause of Loss.

                                                   ***
           3. Covered Causes of Loss
              See applicable Causes of Loss Form as shown in the Declarations.

                                                   ***
       B. Exclusions and Limitations
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          See applicable Causes of Loss form as shown in the Declarations.

                                                   ***

           The Policy is endorsed with Causes of Loss – Windstorm or Hail form (CAT7007
    (01/16)), which states in pertinent part:

                                                   ***

                            CAUSES OF LOSS – WINDSTORM OR HAIL

       A. Covered Causes of Loss
          When Windstorm and Hail is shown in the Declarations, Covered Causes of Loss means
          the following:

          We cover risk of direct physical loss to covered property only when the direct physical
          loss is the result of windstorm or hail, but not including:
            1. Frost or Cold Weather;
            2. Ice (other than hail), snow, sleet or water, whether driven by wind or not, and
                accumulation, freezing, thawing, pressure or weight of hail, ice, snow, sleet, rain,
                water or any other form of precipitation; or
            3. Loss or damage to the interior of any building or structure, or the property inside
                the building or structure, caused by rain, snow, sand or dust, whether driven by
                wind or not, unless the building or structure first sustains wind or hail damage to its
                roof or walls through which rain, snow, sand or dust enters.

       B. Exclusions
          1. We will not pay for loss or damage which would not have occurred in the absence of
             one or more of the following excluded events. We do not insure for such loss
             regardless of : (a) the cause of the excluded event; or (b) other causes of the loss; or
             (c) whether other causes acted concurrently or in any sequence with the excluded
             event to produce the loss; or (d) whether the event occurs suddenly or gradually,
             involves isolated or widespread damage, arises from natural or external forces, or
             occurs as a result of any combination of these:

                                                         ***
              g. Water
                  (1) Flood, including, but not limited to, surface water, waves, tsunami, tides, tidal
                     water, tidal waves, storm surge, overflow of any body of water, or spray from
                     any of these, all whether driven by wind or not;
                 (2) Mudslide or mudflow;
                   (3) Water that backs up or overflows or is otherwise discharged from a sewer,
                      drain, sump, sump pump or related equipment;
                 (4) Water under the ground surface pressing on, or flowing or seeping through:
                      (a.) Foundations, walls, floors or paved surfaces;
                      (b.) Basements, whether paved or not; or
                      (c.) Doors, windows or other openings;
                  (5) Water or any other substance on the surface of the ground regardless of its
                      source; or
                  (6) Waterborne material carried or otherwise moved by any of the water related
                      causes referred to in Paragraph (1), (2), (3), (4) or (5).
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                                                ***
                 Exclusions B.1.a. through B.1.h. apply whether or not the loss event results in
                 widespread damage or affects a substantial area.

                                                    ***

         Next, we direct the Association's attention to the Common Policy Conditions form
   (CAT7011 (01/16)), which states in part:

                                  COMMON POLICY CONDITIONS

       5. CONCEALMENT, MISREPRESENTATION OR FRAUD
          This policy is void in any case of fraud by you at any time including fraud in any claim
          presented hereunder. It is also void if you or any other insured, at any time, intentionally
          conceal or misrepresent a material fact concerning:
          a. This Policy;
          b. The covered property or any Covered Property;
          c. Your interest in the Covered Property; or
          d. A claim under this policy.

       6. DUTIES OF THE NAMED INSURED IN THE EVENT OF LOSS OR DAMAGE
          You must see that the following are done in the event of loss or damage to covered
          property:
          a. Notify the police if a law may have been broken.
          b. Give us prompt notice of the loss or damage, including a description of the covered
             property involved.
          c. As soon as possible, give us a description of how, when and where the loss or
             damage occurred.
          d. Take all reasonable steps to protect the covered property from further damage.
          e. If feasible, set the damaged property aside and in the best possible order for
             examination. Also keep a record of your expenses for emergency and temporary
             repairs, for consideration in the settlement of the claim. This will not increase the
             Limit of Insurance.
          f. At our request, give us complete inventories of the damaged and undamaged
             property. Include quantities, costs, values and amount of loss claimed.
          g. Permit us to inspect the property and records proving the loss or damage. Also
             permit us to take samples of damaged and undamaged property for inspection,
             testing and analysis, and permit us to make copies from your books and records.
          h. If requested, permit us to question you under oath at such times as may be
             reasonably required about any matter relating to this insurance or your claim,
             including your books and records. In such event, your answers must be signed.
          i. Send us a signed, sworn statement in proof of loss containing the information we
             request to investigate the claim. You must do this within 60 days after our request.
             We will supply you with the necessary forms.
          j. Cooperate with us in the investigation or settlement of the claim.
          k. Resume all or part of your “operations” as quickly as possible…

                                               ***
       12. LEGAL ACTION AGAINST US
          No one may bring a legal action against us under this policy unless:
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           a. There has been full compliance with all of the terms of this policy;

                                                           ***

       22. POLICY PERIOD, COVERAGE TERRITORY
           Under this policy:
           a. We cover loss or damage commencing:
              1) During the policy period shown in the Declarations and
              2) Within the coverage territory

                                                   ***

         We further refer the Association to the Policy's Pre-Existing Damage Endorsement form
   (CAT7022 (07/16)), which states:

                                                   ***

                                 Pre-Existing Damage Endorsement

           It is understood and agreed that this policy shall exclude any loss or damage
           directly or indirectly caused by, resulting from or contributed to by any pre-
           existing damage to any covered property, at the time of the loss.

                                                     ***

            We also refer the Association to the Policy's EIFS or DryVit exclusion form, (CAT7015
   (07/16)), which states:

                                                     ***

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                    EIFS or DRYVIT EXCLUSION

   It is agreed that the above policy is hereby amended as follows:
   This Policy does not cover loss or damage including cost or expense caused by or resulting from
   the design, manufacture, installation or use of EIFS (External Insulation and Finish System) or
   Synthetic Stucco, Dryvit, Synergy or Parex.

   Any such loss described above is excluded regardless of any other cause or event that
   contributed concurrently or in any sequence to the loss.

                                                     ***

         Furthermore, we direct the Association's attention to the Policy's Flood Exclusion,
   (CAT7035 (01/16)), which states:

                                                     ***

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY
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                                          FLOOD EXCLUSION

   The following exclusion is added to the policy:

   We will not pay for loss or damage caused directly or indirectly by any of the following. Such
   loss or damage is excluded regardless of any other cause or event that contributes concurrently
   or in any sequence to the loss.

   Flood

   (a) Flood, including but not limited to: surface water, waves, tides, tidal waves, storm surge,
       overflow of any body of water, or their spray, all whether driven by wind or not.
   (b) Mudslide or mudflow;
   (c) Water that backs up or overflows from a sewer, drain or sump; or
   (d) Water under the ground surface pressing on, or flowing or seeping through:
       (1) Foundations, walls, floors or paved surfaces;
       (2) Basements, whether paved or not; or
       (3) Doors, windows or other openings.

    But if Water, as described in (a) through (d) above, results in fire, explosion or sprinkler leakage,
    we will pay for the loss or damage caused by that fire, explosion or sprinkler leakage.

    All other terms, conditions and exclusions remain unchanged.

                                                     ***

           Moreover, we refer the Association to the Florida Changes – Residential Condominium
   Associations form, (CP 01 91 02 10), which states in part:

                                                       ***

              FLORIDA CHANGES – RESIDENTIAL CONDOMINIUM ASSOCIATIONS

   This endorsement modifies insurance provided under the following:

   CONDOMINIUM ASSOCIATION COVERAGE FORM

   A. Building section is replaced by the following:
      2. But Building does not include:
           a. Any personal property within individual units or limited common elements except as
           provided in Paragraph A.1.f. of this endorsement;
          b. Floor coverings, wall coverings and ceiling coverings within individual units or limited
           common elements;
          c. Electrical fixtures, water heaters, water filters, window treatments, including curtains,
           drapes, blinds, hardware and similar window treatment components, and built-in
           cabinets and countertops which are located within an individual unit or limited common
           elements;
         d. Any of the following types of property contained inside individual units:
              (1) Fixtures, installations, additions, improvements and alterations that are a part of
               the building or structure; and
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                      (2) Appliances, such as those used for refrigerating, ventilating, cooking,
                dishwashing, laundering, security or housekeeping;
             e. Improvements or additions to the condominium property that benefit fewer than all
            unit-owners, unless otherwise endorsed to the policy.

                                                        ***

           We also refer the Association to the Policy's Hurricane or Hail Deductible endorsement
    form (CAT7068 (01/16)), which states in part:

                                                        ***

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 HURRICANE OR HAIL DEDUCTIBLE

   Hurricane Deductible Amount: 3% of Total Insured Values per building, per Calendar Year,
   subject to a minimum $25,000 per occurrence.

   The Hurricane Deductible, as shown above, applies to direct physical damage or loss to
   covered property by a Hurricane, regardless of any other cause or event that contributes
   concurrently or in any consequence to the damage or loss.

   Deductible Clause:

   A deductible amount is calculated and applied based on the amount or percentage as shown
   above.

                                                   ***

      C. If the deductible is on a TIV basis, the deductible is applied to the Total Insured Values,
         as contained in the Statement of Values on file with the Company.

   In any one occurrence of loss or damage (hereinafter referred to as loss), we will first reduce the
   amount of loss if required by the Coinsurance Condition or the Agreed Value Optional Coverage.
   If the adjusted amount of loss is less than or equal to the Deductible, we will not pay for that loss.
   If the adjusted amount of loss exceeds the Deductible, we will then subtract the Deductible from
   the adjusted amount of loss, and will pay the resulting amount or the Limit of Insurance,
   whichever is less.

                                                  ***

             The September 20, 2018 report of structural engineer, Bert Davis, which has been
   provided to the Association, indicated that there was no significant damage to the exterior of the
   Insured Property. The only cumulative damage observed was to the window balances which was
   a consequence of wear and tear over time and for which maintenance was required. Likewise,
   the minor cracking of the stucco system which was observable was not caused by the Hurricane
   Irma - it was caused by normally weathering of a stucco system over time. As to the windows in
   all the units identified by the Association through the November 21, 2017 Falcon Report, Mr.
   Davis observed no significant window or door issues with many of the units, others required
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   adjustment to balancers and some did not appear to operate properly. These items appeared
   repairable. Finally, the roof membrane did not sustain visible damage.

            The November 14, 2018 report of Facade expert, Brian Warner, who specializes in
   sliding glass doors and windows, indicates that there was no evidence of damage to windows or
   sliding glass doors due to Hurricane Irma. Mr. Warner pointed to numerous instances of wear
   and tear, and lack of proper maintenance, such as aged bulb gaskets having lost elasticity,
   window latch lock springs were missing or not in the proper position, channel balances had been
   disengaged from the operating sash window, locking hardware latches were broken and dirt was
   observed on floor tracks of sliding glass doors. Mr. Warner reasoned that water infiltration will
   occur at the single hung windows due to gaskets which are not the correct length, spring latch
   locks that are missing or not located in the correct locations and channel balance brackets which
   were not attached correctly. Proper servicing would correct all these deficiencies and prevent
   further water infiltration.

            The September 24, 2018 report of General Contractor, Paul Millard, is an estimate to
   prepare or replace each and every aspect of the Insured Property and the individual units based
   on observable damages, regardless of applicable coverage and deductible. Mr. Millard's estimate
   of damages is less than one/sixteenth of the estimate of Mr. Torres. It also includes damages to
   each of the forty (40) units which he inspected, much of which is the responsibility of the
   individual unit owners and not recoverable under the Policy.

            Based on the reports of Mr. Davis and Mr. Warner, the exterior of the Insured Property
   did not sustain substantial direct physical loss as a result of windstorm or hail. There was no
   evidence of wind damage, racked windows or damage building envelope. The reports of Mr.
   Davis and Mr. Warner further establish that there is no evidence that the Insured Property first
   sustained any wind damage to its roof or walls through which rain was able to enter the building.
   The water intrusion and correspondence damage to the interior of the building, and units
   identified in the Falcon Report, would therefore not be covered under the Policy's Covered
   Causes of Loss. Such damages would likewise be excluded by the water exclusion contained in
   the Policy's Covered Causes of Loss and the separate Flood Exclusion. Other damages to the
   Insured Property due to flooding, in the form of storm surge or otherwise, is similarly excluded by
   the Policy's Flood Exclusion.

            The same water intrusion damages, to the extent they exist, were caused and/or
   contributed to by conditions identified by Mr. Warner and Mr. Davis which pre-existed Hurricane
   Irma and were preventable by proper maintenance to the sliding glass doors and windows.
   These damages are excluded by the Policy's Pre-existing Conditions Exclusion. Furthermore,
   damages to the interior of individual units of the Insured Property are not recoverable under the
   Policy's Florida Condominium Association Coverage Form.

           When the excluded damages are omitted from the estimate of Mr. Millard, the damages
   which remain are significantly less than the $945,342.00 minimum required by the Policy's
   Hurricane or Hail Deductible. Therefore, no benefits under the Policy are payable.

             Rockhill is also denying the claim based on the Association's breach of the conditions of
   the Policy regarding: Duties of the Named Insured in the Event of Loss or Damage;
   Concealment, Misrepresentation or Fraud; and Legal Action Against Us. As set forth above, the
   Association failed to comply with Rockhill's information requests, requests for inspection of the
   Insured Property and concealed material information in order to gain a tactical advantage going
   into this litigation. The Association's intentional concealment of material information continues to
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   date with the failure to disclose the Building Engineer/Maintenance Supervisor, who provided
   information to Mr. Torres, Mr. Beers and Mr. Pyznar pertinent to the Association's inflated
   damages claim.

           It is possible there are reasons, in addition to those cited above, why coverage may not
    apply. In light of these coverage questions, Rockhill may continue to investigate this claim.
    However, neither this letter nor any act, past or future, by any representative of Rockhill should
    be construed to be a waiver or estoppel of any of the Policy’s terms, conditions, limitations
    and/or exclusions. On the contrary, Rockhill specifically reserves its rights to rely on the
    language of the Policy and, supplement this reservation of rights and/or to deny coverage for
    any valid reason that may appear. Should you have any questions about this letter, feel free to
    contact counsel for Rockhill Insurance Company.

    Very Truly Yours,


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